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EXPEDITED PROCESSING

This request seeks expedited processing as there is both an urgency to inform the public and it
relates to a matter of widespread public interest and actual government activity. For nearly two
years, the Office of Special Counsel Robert Mueller has been conducting an investigation into
any ties between the Russian government and individuals associated with the campaign of
President Donald Trump. This investigation has already resulted in the guilty pleas of more than
three dozen individuals and charges and leveled against other people. The investigation, Mr.
Mueller and his team, have been the subject of harsh criticism by President Trump on a near
daily basis over Twitter and by numerous other people working for the president and who
retain an official role in his cabinet. They have referred to this investigation as a “witch hunt”
and President Trump has referred to the Office of Special Counsel prosecutors as “angry
Democrats.” In other words, President Trump has said the investigation is purely partisan. It is
crucial that this report be released expeditiously as it would provide the public with insight into
whether they can have confidence that the president can satisfactorily execute the duties of his
office and would set the record straight as to whether the Trump Campaign had colluded with
the Russian government during the presidential campaign.

INSTRUCTIONS REGARDING SEARCH

1. Request for Public Records:
Please search for any records even if they are already publicly available.
2. Request for Electronic and Paper/Manual Searches:
I request that searches of all electronic and paper/manual indices, filing systems, and locations
for any and all records relating or referring to the subject of my request be conducted. I further
request that the agencies conduct a search of its “soft files” as well as files in its locked
cabinets.
3. Request regarding Photographs and other Visual Materials:
I request that any photographs or other visual materials responsive to my request be released
to me in their original or comparable forms, quality, and resolution. For example, if a
photograph was taken digitally, or if the agencies maintains a photograph digitally, I request
disclosure of the original digital image file, not a reduced resolution version of that image file
nor a printout and scan of that image file. Likewise, if a photograph was originally taken as a
color photograph, I request disclosure of that photograph as a color image, not a black and
white image. Please contact me for any clarification on this point.
4. Request for Duplicate Pages:
I request disclosure of any and all supposedly “duplicate” pages. Scholars analyze records not
only for the information available on any given page, but also for the relationships between
that information and information on pages surrounding it. As such, though certain pages may
have been previously released to me, the existence of those pages within new context renders
them functionally new pages. As such, the only way to properly analyze released information is
to analyze that information within its proper context. Therefore, I request disclosure of all
“duplicate” pages.
5. Request to Search Emails:
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Please search for emails relating to the subject matter of my request.
6. Request for Search of Records Transferred to Other Agencies:
I request that in conducting its search, the agencies disclose releasable records even if they are
available publicly through other sources outside the agencies, such as NARA.

FORMAT
I request that any releases stemming from this request be provided to me in digital format
(soft-copy) on a compact disk or other like media.

FEE CATEGORY AND REQUEST FOR A FEE WAIVER

I am the senior investigative reporter for BuzzFeed News and formerly senior investigative
reporter and on-air correspondent for VICE News. Additionally, my reporting has been
published in The Guardian, The Wall Street Journal, The Financial Times, Salon, CBS
Marketwatch, The Los Angeles Times, The Nation, Truthout, Al Jazeera English and Al Jazeera
America.

I request a complete waiver of all search and duplication fees. If my request for a waiver is
denied, I request that I be considered a member of the news media for fee purposes.

Under 5 U.S.C. §552(a)(4)(A)(iii), “Documents shall be furnished without any charge ... if
disclosure of the information is in the public interest because it is likely to contribute
significantly to public understanding of the operations or activities of the government and is not
primarily in the commercial interest of the requester.” Disclosure in this case meets the
statutory criteria, as the records sought detail the operations and activities of government. This
request is also not primarily in my commercial request, as I am seeking the records as a
journalist to analyze and freely release to members of the public.

If I am not granted a complete fee waiver, I request to be considered a member of the news
media for fee purposes. I am willing to pay all reasonable duplication expenses incurred in
processing this FOIA request.

I will appeal any denial of my request for a waiver administratively and to the courts if
necessary.
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                Exhibit C
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                                                            U.S. Department of Justice
                                                            Office of Information Policy
                                                            Suite 11050
                                                            1425 New York Avenue, NW
                                                            Washington, DC 20530-0001

Telephone: (202) 514-3642

                                                                   May 6, 2019

Enid Zhou
Electronic Privacy Information Center
1718 Connecticut Avenue, NW
Suite 200                                           Re:     DOJ-2018-000676 (OIP)
Washington, DC 20009                                        No. 19-cv-810 (D.D.C.)
FOIA@epic.org                                               VRB:JMB:BRB

Dear Enid Zhou:

       This responds to item (1)(a) of your Freedom of Information Act (FOIA) request, dated
and received in this Office on November 5, 2018, for various records pertaining to Special
Counsel Robert S. Mueller III’s investigation into Russian interference with the 2016 U.S.
presidential election and other related matters. Item (1)(a) seeks reports and closing
documentation prepared under 28 C.F.R. § 600.8(c).

       The Office of Information Policy (OIP) has completed FOIA processing of the "Report
On The Investigation Into Russian Interference In The 2016 Presidential Election" ("the
Report"). The FOIA-processed Report has now been made available in OIP’s online FOIA
Library, at https://www.justice.gov/oip/available-documents-oip (under the “FOIA-Processed
Documents” heading). I have determined that the Report is appropriate for release with
excisions made pursuant to Exemptions 3, 5, 6, 7(A), 7(B), 7(C), and 7(E) of the FOIA,
5 U.S.C. § 552(b)(3), (b)(5), (b)(6), (b)(7)(A), (b)(7)(B), (b)(7)(C), and (b)(7)(E).

         Exemption 3 pertains to information specifically exempted from release by statute other
than the FOIA (in this instance, the National Security Act of 1947, 50 U.S.C. § 3024(i)(1),
which pertains to intelligence sources and methods, and Rule 6(e) of the Federal Rules of
Criminal Procedure, which pertains to the secrecy of grand jury proceedings). Exemption 5
pertains to certain inter- and intra-agency records protected by the deliberative process
privilege. Exemption 6 pertains to information the release of which would constitute a clearly
unwarranted invasion of personal privacy. Exemption 7(A) pertains to records or information
compiled for law enforcement purposes, the release of which could reasonably be expected to
interfere with enforcement proceedings. Exemption 7(B) pertains to records or information
compiled for law enforcement purposes, the release of which would deprive a person of a right
to a fair trial or an impartial adjudication. Exemption 7(C) pertains to records or information
compiled for law enforcement purposes, the release of which could reasonably be expected to
constitute an unwarranted invasion of personal privacy. Exemption 7(E) pertains to records or
information compiled for law enforcement purposes, the release of which would disclose
techniques or procedures for law enforcement investigations or prosecutions.
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        Additionally, please be advised that some information contained in the Report is also
subject to a court order prohibiting counsel for the parties from making statements to the media
or in public settings that pose a substantial likelihood of material prejudice to the case. See
United States v. Roger J. Stone, Jr., Criminal No. 19-cr-18-ABJ (D.D.C.).

        For your information, Congress excluded three discrete categories of law enforcement
and national security records from the requirements of the FOIA. See 5 U.S.C. § 552(c) (2012
& Supp. V 2017). This response is limited to those records that are subject to the requirements
of the FOIA. This is a standard notification that is given to all our requesters and should not be
taken as an indication that excluded records do, or do not, exist.

       If you have any questions regarding this response, please contact Courtney D. Enlow of
the Department’s Civil Division, Federal Programs Branch at 202-616-8467.

                                                             Sincerely,



                                                             Vanessa R. Brinkmann
                                                             Senior Counsel
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or in public settings that pose a substantial likelihood of material prejudice to the case. See
United States v. Roger J. Stone, Jr., Criminal No. 19-cr-18-ABJ (D.D.C.).

        For your information, Congress excluded three discrete categories of law enforcement
and national security records from the requirements of the FOIA. See 5 U.S.C. § 552(c) (2012
& Supp. V 2017). This response is limited to those records that are subject to the requirements
of the FOIA. This is a standard notification that is given to all our requesters and should not be
taken as an indication that excluded records do, or do not, exist.

       If you have any questions regarding this response, please contact Courtney D. Enlow of
the Department’s Civil Division, Federal Programs Branch at 202-616-8467.

                                                              Sincerely,



                                                              Vanessa R. Brinkmann
                                                              Senior Counsel
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                Exhibit D
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                       Electronic Privacy Information Center v. U.S. Department of Justice
                                       Civil Action No. 19-cv-810 (RBW)
                        Jason Leopold, Buzzfeed, Inc. v. U.S. Department of Justice, et al.
                                       Civil Action No. 19-cv-957 (RBW)
                                 U.S. District Court for the District of Columbia

                                               OIP Coded Report

To facilitate the explanation of the FOIA exemptions applied to the Special Counsel’s Report on the
Investigation into Russian Interference in the 2016 Presidential Election (“the Report”), and in an effort to
provide as much information as possible about the basis for protecting the information underlying each
redaction, OIP has added coding in the margins of the FOIA-processed Report, in addition to the
exemption labels already placed within each FOIA redaction box.1 These codes further categorize the
withheld information to more readily illustrate the bases for protection under the FOIA. The attached
coded Report is intended to be read in tandem with OIP’s June 3, 2019 Declaration, which narratively
describes the content of the information withheld under each category.

The exemptions and corresponding coded categories are as follows:

      EXEMPTIONS AND                                     CATEGORY DESCRIPTION
     CODED CATEGORIES

    Exemption (b)(3)                  Information protected by statute
                           (b)(3)-1   Federal grand jury information, prohibited from disclosure by Rule
                                      6(e) of the Federal Rules of Criminal Procedure
                           (b)(3)-2   Intelligence sources and methods, prohibited from disclosure by the
                                      National Security Act of 1947, 50 U.S.C. § 3024(i)(1)
    Exemption (b)(5)                  Information withheld pursuant to the deliberative process privilege
                           (b)(5)-1   Deliberations about application of law to specific factual scenarios
                           (b)(5)-2   Deliberations about charging decisions not to prosecute
    Exemption (b)(7)(A)               Pending law enforcement proceedings
    Exemption (b)(7)(B)               Information which would deprive a person of a right to a fair trial or
                                      impartial adjudication
    Exemptions (b)(6) and             Unwarranted invasions of personal privacy
    (b)(7)(C)
               (b)(6)/(b)(7)(C)-1 Names, social media account information, and other contact
                                  information of unwitting third parties
               (b)(6)/(b)(7)(C)-2 Names and personally-identifiable information about individuals not
                                  charged by the SCO
               (b)(6)/(b)(7)(C)-3 Information concerning a subject of the investigation by the SCO
               (b)(6)/(b)(7)(C)-4 Names, social media account information, contact information, and
                                  other personally-identifiable information of individuals merely
                                  mentioned in the Report
    Exemption (b)(7)(E)           Investigative techniques and procedures
                      (b)(7)(E)-1 Information that would reveal techniques authorized for and used in
                                  national security investigations
                      (b)(7)(E)-2 Details about techniques and procedures that would reveal
                                  investigative focus and scope, and circumstances, methods and fruits
                                  of investigative operations

1
 Redactions made pursuant to FOIA Exemptions (7)(A) and (7)(B) have not been divided into coded
categories.
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    Report On The Investigation Into
      Russian Interference In The
       2016 Presidential Election
                                Volume I of II


                 Special Counsel Robert S. Mueller, III
                    Submitted Pursuant to 28 C.F.R. § 600.8(c)




                                Washington, D.C.

                                   March 2019
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        This report is submitted to the Attorney General pursuant to 28 C.F.R. § 600.8(c), which
states that, “[a]t the conclusion of the Special Counsel’s work, he . . . shall provide the Attorney
General a confidential report explaining the prosecution or declination decisions [the Special
Counsel] reached.”

        The Russian government interfered in the 2016 presidential election in sweeping and
systematic fashion. Evidence of Russian government operations began to surface in mid-2016. In
June, the Democratic National Committee and its cyber response team publicly announced that
Russian hackers had compromised its computer network. Releases of hacked materials—hacks
that public reporting soon attributed to the Russian government—began that same month.
Additional releases followed in July through the organization WikiLeaks, with further releases in
October and November.

       In late July 2016, soon after WikiLeaks’s first release of stolen documents, a foreign
government contacted the FBI about a May 2016 encounter with Trump Campaign foreign policy
advisor George Papadopoulos. Papadopoulos had suggested to a representative of that foreign
government that the Trump Campaign had received indications from the Russian government that
it could assist the Campaign through the anonymous release of information damaging to
Democratic presidential candidate Hillary Clinton. That information prompted the FBI on July
31, 2016, to open an investigation into whether individuals associated with the Trump Campaign
were coordinating with the Russian government in its interference activities.

       That fall, two federal agencies jointly announced that the Russian government “directed
recent compromises of e-mails from US persons and institutions, including US political
organizations,” and, “[t]hese thefts and disclosures are intended to interfere with the US election
process.” After the election, in late December 2016, the United States imposed sanctions on Russia
for having interfered in the election. By early 2017, several congressional committees were
examining Russia’s interference in the election.

       Within the Executive Branch, these investigatory efforts ultimately led to the May 2017
appointment of Special Counsel Robert S. Mueller, III. The order appointing the Special Counsel
authorized him to investigate “the Russian government’s efforts to interfere in the 2016
presidential election,” including any links or coordination between the Russian government and
individuals associated with the Trump Campaign.

        As set forth in detail in this report, the Special Counsel’s investigation established that
Russia interfered in the 2016 presidential election principally through two operations. First, a
Russian entity carried out a social media campaign that favored presidential candidate Donald J.
Trump and disparaged presidential candidate Hillary Clinton. Second, a Russian intelligence
service conducted computer-intrusion operations against entities, employees, and volunteers
working on the Clinton Campaign and then released stolen documents. The investigation also
identified numerous links between the Russian government and the Trump Campaign. Although
the investigation established that the Russian government perceived it would benefit from a Trump
presidency and worked to secure that outcome, and that the Campaign expected it would benefit

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electorally from information stolen and released through Russian efforts, the investigation did not
establish that members of the Trump Campaign conspired or coordinated with the Russian
government in its election interference activities.

                                               * * *

        Below we describe the evidentiary considerations underpinning statements about the
results of our investigation and the Special Counsel’s charging decisions, and we then provide an
overview of the two volumes of our report.

       The report describes actions and events that the Special Counsel’s Office found to be
supported by the evidence collected in our investigation. In some instances, the report points out
the absence of evidence or conflicts in the evidence about a particular fact or event. In other
instances, when substantial, credible evidence enabled the Office to reach a conclusion with
confidence, the report states that the investigation established that certain actions or events
occurred. A statement that the investigation did not establish particular facts does not mean there
was no evidence of those facts.

        In evaluating whether evidence about collective action of multiple individuals constituted
a crime, we applied the framework of conspiracy law, not the concept of “collusion.” In so doing,
the Office recognized that the word “collud[e]” was used in communications with the Acting
Attorney General confirming certain aspects of the investigation’s scope and that the term has
frequently been invoked in public reporting about the investigation. But collusion is not a specific
offense or theory of liability found in the United States Code, nor is it a term of art in federal
criminal law. For those reasons, the Office’s focus in analyzing questions of joint criminal liability
was on conspiracy as defined in federal law. In connection with that analysis, we addressed the
factual question whether members of the Trump Campaign “coordinat[ed]”—a term that appears
in the appointment order—with Russian election interference activities. Like collusion,
“coordination” does not have a settled definition in federal criminal law. We understood
coordination to require an agreement—tacit or express—between the Trump Campaign and the
Russian government on election interference. That requires more than the two parties taking
actions that were informed by or responsive to the other’s actions or interests. We applied the term
coordination in that sense when stating in the report that the investigation did not establish that the
Trump Campaign coordinated with the Russian government in its election interference activities.

                                               * * *

       The report on our investigation consists of two volumes:

        Volume I describes the factual results of the Special Counsel’s investigation of Russia’s
interference in the 2016 presidential election and its interactions with the Trump Campaign.
Section I describes the scope of the investigation. Sections II and III describe the principal ways
Russia interfered in the 2016 presidential election. Section IV describes links between the Russian



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government and individuals associated with the Trump Campaign. Section V sets forth the Special
Counsel’s charging decisions.

        Volume II addresses the President’s actions towards the FBI’s investigation into Russia’s
interference in the 2016 presidential election and related matters, and his actions towards the
Special Counsel’s investigation. Volume II separately states its framework and the considerations
that guided that investigation.




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of emails. One week later, in the first week of May 2016, Papadopoulos suggested to a
representative of a foreign government that the Trump Campaign had received indications from
the Russian government that it could assist the Campaign through the anonymous release of
information damaging to candidate Clinton. Throughout that period of time and for several months
thereafter, Papadopoulos worked with Mifsud and two Russian nationals to arrange a meeting
between the Campaign and the Russian government. No meeting took place.

       Summer 2016. Russian outreach to the Trump Campaign continued into the summer of
2016, as candidate Trump was becoming the presumptive Republican nominee for President. On
June 9, 2016, for example, a Russian lawyer met with senior Trump Campaign officials Donald
Trump Jr., Jared Kushner, and campaign chairman Paul Manafort to deliver what the email
proposing the meeting had described as “official documents and information that would
incriminate Hillary.” The materials were offered to Trump Jr. as “part of Russia and its
government’s support for Mr. Trump.” The written communications setting up the meeting
showed that the Campaign anticipated receiving information from Russia that could assist
candidate Trump’s electoral prospects, but the Russian lawyer’s presentation did not provide such
information.

       Days after the June 9 meeting, on June 14, 2016, a cybersecurity firm and the DNC
announced that Russian government hackers had infiltrated the DNC and obtained access to
opposition research on candidate Trump, among other documents.

       In July 2016, Campaign foreign policy advisor Carter Page traveled in his personal capacity
to Moscow and gave the keynote address at the New Economic School. Page had lived and worked
in Russia between 2003 and 2007. After returning to the United States, Page became acquainted
with at least two Russian intelligence officers, one of whom was later charged in 2015 with
conspiracy to act as an unregistered agent of Russia. Page’s July 2016 trip to Moscow and his
advocacy for pro-Russian foreign policy drew media attention. The Campaign then distanced itself
from Page and, by late September 2016, removed him from the Campaign.

        July 2016 was also the month WikiLeaks first released emails stolen by the GRU from the
DNC. On July 22, 2016, WikiLeaks posted thousands of internal DNC documents revealing
information about the Clinton Campaign. Within days, there was public reporting that U.S.
intelligence agencies had “high confidence” that the Russian government was behind the theft of
emails and documents from the DNC. And within a week of the release, a foreign government
informed the FBI about its May 2016 interaction with Papadopoulos and his statement that the
Russian government could assist the Trump Campaign. On July 31, 2016, based on the foreign
government reporting, the FBI opened an investigation into potential coordination between the
Russian government and individuals associated with the Trump Campaign.

       Separately, on August 2, 2016, Trump campaign chairman Paul Manafort met in New York
City with his long-time business associate Konstantin Kilimnik, who the FBI assesses to have ties
to Russian intelligence. Kilimnik requested the meeting to deliver in person a peace plan for
Ukraine that Manafort acknowledged to the Special Counsel’s Office was a “backdoor” way for
Russia to control part of eastern Ukraine; both men believed the plan would require candidate
Trump’s assent to succeed (were he to be elected President). They also discussed the status of the

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Trump Campaign and Manafort’s strategy for winning Democratic votes in Midwestern states.
Months before that meeting, Manafort had caused internal polling data to be shared with Kilimnik,
and the sharing continued for some period of time after their August meeting.

        Fall 2016. On October 7, 2016, the media released video of candidate Trump speaking in
graphic terms about women years earlier, which was considered damaging to his candidacy. Less
than an hour later, WikiLeaks made its second release: thousands of John Podesta’s emails that
had been stolen by the GRU in late March 2016. The FBI and other U.S. government institutions
were at the time continuing their investigation of suspected Russian government efforts to interfere
in the presidential election. That same day, October 7, the Department of Homeland Security and
the Office of the Director of National Intelligence issued a joint public statement “that the Russian
Government directed the recent compromises of e-mails from US persons and institutions,
including from US political organizations.” Those “thefts” and the “disclosures” of the hacked
materials through online platforms such as WikiLeaks, the statement continued, “are intended to
interfere with the US election process.”

        Post-2016 Election. Immediately after the November 8 election, Russian government
officials and prominent Russian businessmen began trying to make inroads into the new
administration. The most senior levels of the Russian government encouraged these efforts. The
Russian Embassy made contact hours after the election to congratulate the President-Elect and to
arrange a call with President Putin. Several Russian businessmen picked up the effort from there.

       Kirill Dmitriev, the chief executive officer of Russia’s sovereign wealth fund, was among
the Russians who tried to make contact with the incoming administration. In early December, a
business associate steered Dmitriev to Erik Prince, a supporter of the Trump Campaign and an
associate of senior Trump advisor Steve Bannon. Dmitriev and Prince later met face-to-face in
January 2017 in the Seychelles and discussed U.S.-Russia relations. During the same period,
another business associate introduced Dmitriev to a friend of Jared Kushner who had not served
on the Campaign or the Transition Team. Dmitriev and Kushner’s friend collaborated on a short
written reconciliation plan for the United States and Russia, which Dmitriev implied had been
cleared through Putin. The friend gave that proposal to Kushner before the inauguration, and
Kushner later gave copies to Bannon and incoming Secretary of State Rex Tillerson.

        On December 29, 2016, then-President Obama imposed sanctions on Russia for having
interfered in the election. Incoming National Security Advisor Michael Flynn called Russian
Ambassador Sergey Kislyak and asked Russia not to escalate the situation in response to the
sanctions. The following day, Putin announced that Russia would not take retaliatory measures in
response to the sanctions at that time. Hours later, President-Elect Trump tweeted, “Great move
on delay (by V. Putin).” The next day, on December 31, 2016, Kislyak called Flynn and told him
the request had been received at the highest levels and Russia had chosen not to retaliate as a result
of Flynn’s request.

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        On January 6, 2017, members of the intelligence community briefed President-Elect Trump
on a joint assessment—drafted and coordinated among the Central Intelligence Agency, FBI, and

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National Security Agency—that concluded with high confidence that Russia had intervened in the
election through a variety of means to assist Trump’s candidacy and harm Clinton’s. A
declassified version of the assessment was publicly released that same day.

        Between mid-January 2017 and early February 2017, three congressional committees—the
House Permanent Select Committee on Intelligence (HPSCI), the Senate Select Committee on
Intelligence (SSCI), and the Senate Judiciary Committee (SJC)—announced that they would
conduct inquiries, or had already been conducting inquiries, into Russian interference in the
election. Then-FBI Director James Comey later confirmed to Congress the existence of the FBI’s
investigation into Russian interference that had begun before the election. On March 20, 2017, in
open-session testimony before HPSCI, Comey stated:

       I have been authorized by the Department of Justice to confirm that the FBI, as part
       of our counterintelligence mission, is investigating the Russian government’s efforts
       to interfere in the 2016 presidential election, and that includes investigating the
       nature of any links between individuals associated with the Trump campaign and
       the Russian government and whether there was any coordination between the
       campaign and Russia’s efforts. . . . As with any counterintelligence investigation,
       this will also include an assessment of whether any crimes were committed.

The investigation continued under then-Director Comey for the next seven weeks until May 9,
2017, when President Trump fired Comey as FBI Director—an action which is analyzed in
Volume II of the report.

        On May 17, 2017, Acting Attorney General Rod Rosenstein appointed the Special Counsel
and authorized him to conduct the investigation that Comey had confirmed in his congressional
testimony, as well as matters arising directly from the investigation, and any other matters within
the scope of 28 C.F.R. § 600.4(a), which generally covers efforts to interfere with or obstruct the
investigation.

        President Trump reacted negatively to the Special Counsel’s appointment. He told advisors
that it was the end of his presidency, sought to have Attorney General Jefferson (Jeff) Sessions
unrecuse from the Russia investigation and to have the Special Counsel removed, and engaged in
efforts to curtail the Special Counsel’s investigation and prevent the disclosure of evidence to it,
including through public and private contacts with potential witnesses. Those and related actions
are described and analyzed in Volume II of the report.

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       In reaching the charging decisions described in Volume I of the report, the Office
determined whether the conduct it found amounted to a violation of federal criminal law
chargeable under the Principles of Federal Prosecution. See Justice Manual § 9-27.000 et seq.
(2018). The standard set forth in the Justice Manual is whether the conduct constitutes a crime; if
so, whether admissible evidence would probably be sufficient to obtain and sustain a conviction;

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Manafort lied to the Office and the grand jury concerning his interactions and communications
with Konstantin Kilimnik about Trump Campaign polling data and a peace plan for Ukraine.

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        The Office investigated several other events that have been publicly reported to involve
potential Russia-related contacts. For example, the investigation established that interactions
between Russian Ambassador Kislyak and Trump Campaign officials both at the candidate’s April
2016 foreign policy speech in Washington, D.C., and during the week of the Republican National
Convention were brief, public, and non-substantive. And the investigation did not establish that
one Campaign official’s efforts to dilute a portion of the Republican Party platform on providing
assistance to Ukraine were undertaken at the behest of candidate Trump or Russia. The
investigation also did not establish that a meeting between Kislyak and Sessions in September
2016 at Sessions’s Senate office included any more than a passing mention of the presidential
campaign.

        The investigation did not always yield admissible information or testimony, or a complete
picture of the activities undertaken by subjects of the investigation. Some individuals invoked
their Fifth Amendment right against compelled self-incrimination and were not, in the Office’s
judgment, appropriate candidates for grants of immunity. The Office limited its pursuit of other
witnesses and information—such as information known to attorneys or individuals claiming to be
members of the media—in light of internal Department of Justice policies. See, e.g., Justice
Manual §§ 9-13.400, 13.410. Some of the information obtained via court process, moreover, was
presumptively covered by legal privilege and was screened from investigators by a filter (or
“taint”) team. Even when individuals testified or agreed to be interviewed, they sometimes
provided information that was false or incomplete, leading to some of the false-statements charges
described above. And the Office faced practical limits on its ability to access relevant evidence as
well—numerous witnesses and subjects lived abroad, and documents were held outside the United
States.

       Further, the Office learned that some of the individuals we interviewed or whose conduct
we investigated—including some associated with the Trump Campaign—deleted relevant
communications or communicated during the relevant period using applications that feature
encryption or that do not provide for long-term retention of data or communications records. In
such cases, the Office was not able to corroborate witness statements through comparison to
contemporaneous communications or fully question witnesses about statements that appeared
inconsistent with other known facts.

        Accordingly, while this report embodies factual and legal determinations that the Office
believes to be accurate and complete to the greatest extent possible, given these identified gaps,
the Office cannot rule out the possibility that the unavailable information would shed additional
light on (or cast in a new light) the events described in the report.




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        On May 17, 2017, Deputy Attorney General Rod J. Rosenstein—then serving as Acting
Attorney General for the Russia investigation following the recusal of former Attorney General
Jeff Sessions on March 2, 2016—appointed the Special Counsel “to investigate Russian
interference with the 2016 presidential election and related matters.” Office of the Deputy Att’y
Gen., Order No. 3915-2017, Appointment of Special Counsel to Investigate Russian Interference
with the 2016 Presidential Election and Related Matters, May 17, 2017) (“Appointment Order”).
Relying on “the authority vested” in the Acting Attorney General, “including 28 U.S.C. §§ 509,
510, and 515,” the Acting Attorney General ordered the appointment of a Special Counsel “in
order to discharge [the Acting Attorney General’s] responsibility to provide supervision and
management of the Department of Justice, and to ensure a full and thorough investigation of the
Russian government’s efforts to interfere in the 2016 presidential election.” Appointment Order
(introduction). “The Special Counsel,” the Order stated, “is authorized to conduct the investigation
confirmed by then-FBI Director James B. Comey in testimony before the House Permanent Select
Committee on Intelligence on March 20, 2017,” including:

       (i) any links and/or coordination between the Russian government and individuals
           associated with the campaign of President Donald Trump; and

       (ii) any matters that arose or may arise directly from the investigation; and

       (iii) any other matters within the scope of 28 C.F.R. § 600.4(a).

Appointment Order ¶ (b). Section 600.4 affords the Special Counsel “the authority to investigate
and prosecute federal crimes committed in the course of, and with intent to interfere with, the
Special Counsel’s investigation, such as perjury, obstruction of justice, destruction of evidence,
and intimidation of witnesses.” 28 C.F.R. § 600.4(a). The authority to investigate “any matters
that arose . . . directly from the investigation,” Appointment Order ¶ (b)(ii), covers similar crimes
that may have occurred during the course of the FBI’s confirmed investigation before the Special
Counsel’s appointment. “If the Special Counsel believes it is necessary and appropriate,” the
Order further provided, “the Special Counsel is authorized to prosecute federal crimes arising from
the investigation of these matters.” Id. ¶ (c). Finally, the Acting Attorney General made applicable
“Sections 600.4 through 600.10 of Title 28 of the Code of Federal Regulations.” Id. ¶ (d).

        The Acting Attorney General further clarified the scope of the Special Counsel’s
investigatory authority in two subsequent memoranda. A memorandum dated August 2, 2017,
explained that the Appointment Order had been “worded categorically in order to permit its public
release without confirming specific investigations involving specific individuals.” It then
confirmed that the Special Counsel had been authorized since his appointment to investigate
allegations that three Trump campaign officials—Carter Page, Paul Manafort, and George
Papadopoulos—“committed a crime or crimes by colluding with Russian government officials
with respect to the Russian government’s efforts to interfere with the 2016 presidential election.”
The memorandum also confirmed the Special Counsel’s authority to investigate certain other
matters, including two additional sets of allegations involving Manafort (crimes arising from
payments he received from the Ukrainian government and crimes arising from his receipt of loans

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from a bank whose CEO was then seeking a position in the Trump Administration); allegations
that Papadopoulos committed a crime or crimes by acting as an unregistered agent of the Israeli
government; and four sets of allegations involving Michael Flynn, the former National Security
Advisor to President Trump.

        On October 20, 2017, the Acting Attorney General confirmed in a memorandum the
Special Counsel’s investigative authority as to several individuals and entities. First, “as part of a
full and thorough investigation of the Russian government’s efforts to interfere in the 2016
presidential election,” the Special Counsel was authorized to investigate “the pertinent activities E  
of Michael Cohen, Richard Gates, (b)(5), (b) (6), (b) (7)(C) Roger Stone, and (b)(5), (b) (6), (b) (7)(C) E  
      “Confirmation of the authorization to investigate such individuals,” the memorandum E  & 
stressed, “does not suggest that the Special Counsel has made a determination that any of them has
committed a crime.” Second, with respect to Michael Cohen, the memorandum recognized the
Special Counsel’s authority to investigate “leads relate[d] to Cohen’s establishment and use of
Essential Consultants LLC to, inter alia, receive funds from Russian-backed entities.” Third, the
memorandum memorialized the Special Counsel’s authority to investigate individuals and entities
who were possibly engaged in “jointly undertaken activity” with existing subjects of the
investigation, including Paul Manafort. Finally, the memorandum described an FBI investigation
opened before the Special Counsel’s appointment into “allegations that [then-Attorney General
Jeff Sessions] made false statements to the United States Senate[,]” and confirmed the Special
Counsel’s authority to investigate that matter.

        The Special Counsel structured the investigation in view of his power and authority “to
exercise all investigative and prosecutorial functions of any United States Attorney.” 28 C.F.R.
§ 600.6. Like a U.S. Attorney’s Office, the Special Counsel’s Office considered a range of
classified and unclassified information available to the FBI in the course of the Office’s Russia
investigation, and the Office structured that work around evidence for possible use in prosecutions
of federal crimes (assuming that one or more crimes were identified that warranted prosecution).
There was substantial evidence immediately available to the Special Counsel at the inception of
the investigation in May 2017 because the FBI had, by that time, already investigated Russian
election interference for nearly 10 months. The Special Counsel’s Office exercised its judgment
regarding what to investigate and did not, for instance, investigate every public report of a contact
between the Trump Campaign and Russian-affiliated individuals and entities.

        The Office has concluded its investigation into links and coordination between the Russian
government and individuals associated with the Trump Campaign. Certain proceedings associated
with the Office’s work remain ongoing. After consultation with the Office of the Deputy Attorney
General, the Office has transferred responsibility for those remaining issues to other components
of the Department of Justice and FBI. Appendix D lists those transfers.

        Two district courts confirmed the breadth of the Special Counsel’s authority to investigate
Russia election interference and links and/or coordination with the Trump Campaign. See United
States v. Manafort, 312 F. Supp. 3d 60, 79-83 (D.D.C. 2018); United States v. Manafort, 321 F.
Supp. 3d 640, 650-655 (E.D. Va. 2018). In the course of conducting that investigation, the Office
periodically identified evidence of potential criminal activity that was outside the scope of the
Special Counsel’s authority established by the Acting Attorney General. After consultation with

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the Office of the Deputy Attorney General, the Office referred that evidence to appropriate law
enforcement authorities, principally other components of the Department of Justice and to the FBI.
Appendix D summarizes those referrals.
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       To carry out the investigation and prosecution of the matters assigned to him, the Special
Counsel assembled a team that at its high point included 19 attorneys—five of whom joined the
Office from private practice and 14 on detail or assigned from other Department of Justice
components. These attorneys were assisted by a filter team of Department lawyers and FBI
personnel who screened materials obtained via court process for privileged information before
turning those materials over to investigators; a support staff of three paralegals on detail from the
Department’s Antitrust Division; and an administrative staff of nine responsible for budget,
finance, purchasing, human resources, records, facilities, security, information technology, and
administrative support. The Special Counsel attorneys and support staff were co-located with and
worked alongside approximately 40 FBI agents, intelligence analysts, forensic accountants, a
paralegal, and professional staff assigned by the FBI to assist the Special Counsel’s investigation.
Those “assigned” FBI employees remained under FBI supervision at all times; the matters on
which they assisted were supervised by the Special Counsel.1

       During its investigation the Office issued more than 2,800 subpoenas under the auspices of
a grand jury sitting in the District of Columbia; executed nearly 500 search-and-seizure warrants;
obtained more than 230 orders for communications records under 18 U.S.C. § 2703(d); obtained
almost 50 orders authorizing use of pen registers; made 13 requests to foreign governments
pursuant to Mutual Legal Assistance Treaties; and interviewed approximately 500 witnesses,
including almost 80 before a grand jury.
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        From its inception, the Office recognized that its investigation could identify foreign
intelligence and counterintelligence information relevant to the FBI’s broader national security
mission. FBI personnel who assisted the Office established procedures to identify and convey
such information to the FBI. The FBI’s Counterintelligence Division met with the Office regularly
for that purpose for most of the Office’s tenure. For more than the past year, the FBI also
embedded personnel at the Office who did not work on the Special Counsel’s investigation, but
whose purpose was to review the results of the investigation and to send—in writing—summaries
of foreign intelligence and counterintelligence information to FBIHQ and FBI Field Offices.
Those communications and other correspondence between the Office and the FBI contain
information derived from the investigation, not all of which is contained in this Volume. This
Volume is a summary. It contains, in the Office’s judgment, that information necessary to account
for the Special Counsel’s prosecution and declination decisions and to describe the investigation’s
main factual results.

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          FBI personnel assigned to the Special Counsel’s Office were required to adhere to all applicable
federal law and all Department and FBI regulations, guidelines, and policies. An FBI attorney worked on
FBI-related matters for the Office, such as FBI compliance with all FBI policies and procedures, including
the FBI’s Domestic Investigations and Operations Guide (DIOG). That FBI attorney worked under FBI
legal supervision, not the Special Counsel’s supervision.

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(b) (7)(A), (b) (7)(E)                                                                      E  ( 




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       GRU officers operated a Facebook page under the DCLeaks moniker, which they primarily
used to promote releases of materials.141 The Facebook page was administered through a small
number of preexisting GRU-controlled Facebook accounts.142

        GRU officers also used the DCLeaks Facebook account, the Twitter account @dcleaks_,
and the email account dcleaksproject@gmail.com to communicate privately with reporters and
other U.S. persons. GRU officers using the DCLeaks persona gave certain reporters early access
to archives of leaked files by sending them links and passwords to pages on the dcleaks.com
website that had not yet become public. For example, on July 14, 2016, GRU officers operating
under the DCLeaks persona sent a link and password for a non-public DCLeaks webpage to a U.S.
reporter via the Facebook account.143 Similarly, on September 14, 2016, GRU officers sent
reporters Twitter direct messages from @dcleaks_, with a password to another non-public part of
the dcleaks.com website.144

       The DCLeaks.com website remained operational and public until March 2017.

                 2. Guccifer 2.0

        On June 14, 2016, the DNC and its cyber-response team announced the breach of the DNC
network and suspected theft of DNC documents. In the statements, the cyber-response team
alleged that Russian state-sponsored actors (which they referred to as “Fancy Bear”) were
responsible for the breach.145 Apparently in response to that announcement, on June 15, 2016,
GRU officers using the persona Guccifer 2.0 created a WordPress blog. In the hours leading up
to the launch of that WordPress blog, GRU officers logged into a Moscow-based server used and
managed by Unit 74455 and searched for a number of specific words and phrases in English,
including “some hundred sheets,” “illuminati,” and “worldwide known.” Approximately two
hours after the last of those searches, Guccifer 2.0 published its first post, attributing the DNC
server hack to a lone Romanian hacker and using several of the unique English words and phrases
that the GRU officers had searched for that day.146



Tennessee-based web-hosting company, called Smartech Corporation. William Bastone, RNC E-Mail Was,
In Fact, Hacked By Russians, The Smoking Gun (Dec. 13, 2016).
       141
             Netyksho Indictment ¶ 38.
       142
             See, e.g., Facebook Account 100008825623541 (Alice Donovan).
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       143
             7/14/16 Facebook Message, ID 793058100795341 (DC Leaks) to ID (b) (6), (b) (7)(C)            E  & 
       144
          See, e.g., 9/14/16 Twitter DM, @dcleaks_ to (b) (6), (b) (7)(C)         9/14/16 Twitter DM,
@dcleaks_ to (b) (6),  (b) (7)(C)              The messages read: “Hi https://t.co/QTvKUjQcOx pass: E  
KvFsg%*14@gPgu&amp; enjoy ;).”                                                                        E  & 
       145
           Dmitri Alperovitch, Bears in the Midst: Intrusion into the Democratic National Committee,
CrowdStrike Blog (June 14, 2016). CrowdStrike updated its post after the June 15, 2016 post by Guccifer
2.0 claiming responsibility for the intrusion.
       146
             Netyksho Indictment ¶¶ 41-42.

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       [W]e want this repository to become “the place” to search for background on hillary’s
       plotting at the state department during 2009-2013. . . . Firstly because its useful and will
       annoy Hillary, but secondly because we want to be seen to be a resource/player in the US
       election, because eit [sic] may en[]courage people to send us even more important leaks.158

                 b. WikiLeaks’s First Contact with Guccifer 2.0 and DCLeaks

        Shortly after the GRU’s first release of stolen documents through dcleaks.com in June
2016, GRU officers also used the DCLeaks persona to contact WikiLeaks about possible
coordination in the future release of stolen emails. On June 14, 2016, @dcleaks_ sent a direct
message to @WikiLeaks, noting, “You announced your organization was preparing to publish
more Hillary’s emails. We are ready to support you. We have some sensitive information too, in
particular, her financial documents. Let’s do it together. What do you think about publishing our
info at the same moment? Thank you.”159 (b) (7)(A), (b) (7)(E)                                    E  ( 


       Around the same time, WikiLeaks initiated communications with the GRU persona
Guccifer 2.0 shortly after it was used to release documents stolen from the DNC. On June 22,
2016, seven days after Guccifer 2.0’s first releases of stolen DNC documents, WikiLeaks used
Twitter’s direct message function to contact the Guccifer 2.0 Twitter account and suggest that
Guccifer 2.0 “[s]end any new material [stolen from the DNC] here for us to review and it will have
a much higher impact than what you are doing.”160

        On July 6, 2016, WikiLeaks again contacted Guccifer 2.0 through Twitter’s private
messaging function, writing, “if you have anything hillary related we want it in the next tweo [sic]
days prefable [sic] because the DNC is approaching and she will solidify bernie supporters behind
her after.” The Guccifer 2.0 persona responded, “ok . . . i see.” WikiLeaks also explained, “we
think trump has only a 25% chance of winning against hillary . . . so conflict between bernie and
hillary is interesting.”161

                 c. The GRU’s Transfer of Stolen Materials to WikiLeaks

        Both the GRU and WikiLeaks sought to hide their communications, which has limited the
Office’s ability to collect all of the communications between them. Thus, although it is clear that
the stolen DNC and Podesta documents were transferred from the GRU to WikiLeaks,                    E  ( 
(b) (7)(A), (b) (7)(E)



       158
           3/14/16 Twitter DM, @WikiLeaks to (b) (6), (b) (7)(C) Less than two weeks earlier, the same E  
account had been used to send a private message opposing the idea of Clinton “in whitehouse with her E  & 
bloodlutt and amitions [sic] of empire with hawkish liberal-interventionist appointees.” 11/19/15 Twitter
Group Chat, Group ID 594242937858486276, @WikiLeaks et al.
       159
             6/14/16 Twitter DM, @dcleaks_ to @WikiLeaks.
       160
             Netyksho Indictment ¶ 47(a).
       161
             7/6/16 Twitter DMs, @WikiLeaks & @guccifer_2.

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to Russia, PutinTrump.org.252 WikiLeaks publicly tweeted: “‘Let’s bomb Iraq’ Progress for
America PAC to launch “PutinTrump.org’ at 9:30am. Oops pw is ‘putintrump’ putintrump.org.”
Several hours later, WikiLeaks sent a Twitter direct message to Donald Trump Jr., “A PAC run
anti-Trump site putintrump.org is about to launch. The PAC is a recycled pro-Iraq war PAC. We
have guessed the password. It is ‘putintrump.’ See ‘About’ for who is behind it. Any
comments?”253

                      Several hours later, Trump Jr. emailed a variety of senior campaign staff:

                      Guys I got a weird Twitter DM from wikileaks. See below. I tried the password and it
                      works and the about section they reference contains the next pic in terms of who is behind
                      it. Not sure if this is anything but it seems like it’s really wikileaks asking me as I follow
                      them and it is a DM. Do you know the people mentioned and what the conspiracy they are
                      looking for could be? These are just screen shots but it’s a fully built out page claiming to
                      be a PAC let me know your thoughts and if we want to look into it.254

Trump Jr. attached a screenshot of the “About” page for the unlaunched site PutinTrump.org. The
next day (after the website had launched publicly), Trump Jr. sent a direct message to WikiLeaks:
“Off the record, I don’t know who that is but I’ll ask around. Thanks.”255

       On October 3, 2016, WikiLeaks sent another direct message to Trump Jr., asking “you
guys” to help disseminate a link alleging candidate Clinton had advocated using a drone to target
Julian Assange. Trump Jr. responded that he already “had done so,” and asked, “what’s behind
this Wednesday leak I keep reading about?”256 WikiLeaks did not respond.

        On October 12, 2016, WikiLeaks wrote again that it was “great to see you and your dad
talking about our publications. Strongly suggest your dad tweets this link if he mentions us
wlsearch.tk.”257 WikiLeaks wrote that the link would help Trump in “digging through” leaked
emails and stated, “we just released Podesta emails Part 4.”258 Two days later, Trump Jr. publicly
tweeted the wlsearch.tk link.259

                      252
            9/20/16 Twitter DM, @JasonFishbein to @WikiLeaks; see JF00587 (9/21/16 Messages,
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        @jabber.cryptoparty.is &(b) (6), (b) (7)(C) @jabber.cryptoparty.is); Fishbein 9/5/18 302, at 4. When
(b) (6), (b) (7)(C)

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interviewed by our Office, Fishbein produced what he claimed to be logs from a chatroom in which the
participants discussed U.S. politics; one of the other participants had posted the website and password that
Fishbein sent to WikiLeaks.
                      253
                            9/20/16 Twitter DM, @WikiLeaks to @DonaldJTrumpJr.
                      254
           TRUMPORG_28_000629-33 (9/21/16 Email, Trump Jr. to Conway et al. (subject
“Wikileaks”)).
                      255
                            9/21/16 Twitter DM, @DonaldJTrumpJr to @WikiLeaks.
                      256
                            10/3/16 Twitter DMs, @DonaldJTrumpJr & @WikiLeaks.
                      257
                            At the time, the link took users to a WikiLeaks archive of stolen Clinton Campaign documents.
                      258
                            10/12/16 Twitter DM, @WikiLeaks to @DonaldJTrumpJr.
                      259
                            @DonaldJTrumpJr 10/14/16 (6:34 a.m.) Tweet.

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                  2. Other Potential Campaign Interest in Russian Hacked Materials

        Throughout 2016, the Trump Campaign expressed interest in Hillary Clinton’s private
email server and whether approximately 30,000 emails from that server had in fact been
permanently destroyed, as reported by the media. Several individuals associated with the
Campaign were contacted in 2016 about various efforts to obtain the missing Clinton emails and
other stolen material in support of the Trump Campaign. Some of these contacts were met with
skepticism, and nothing came of them; others were pursued to some degree. The investigation did
not find evidence that the Trump Campaign recovered any such Clinton emails, or that these
contacts were part of a coordinated effort between Russia and the Trump Campaign.

                  a. Henry Oknyansky (a/k/a Henry Greenberg)

       In the spring of 2016, Trump Campaign advisor Michael Caputo learned through a Florida-
based Russian business partner that another Florida-based Russian, Henry Oknyansky (who also
went by the name Henry Greenberg), claimed to have information pertaining to Hillary Clinton.
Caputo notified Roger Stone and brokered communication between Stone and Oknyansky.
Oknyansky and Stone set up a May 2016 in-person meeting.260

        Oknyansky was accompanied to the meeting by Alexei Rasin, a Ukrainian associate
involved in Florida real estate. At the meeting, Rasin offered to sell Stone derogatory information
on Clinton that Rasin claimed to have obtained while working for Clinton. Rasin claimed to
possess financial statements demonstrating Clinton’s involvement in money laundering with
Rasin’s companies. According to Oknyansky, Stone asked if the amounts in question totaled
millions of dollars but was told it was closer to hundreds of thousands. Stone refused the offer,
stating that Trump would not pay for opposition research.261

        Oknyansky claimed to the Office that Rasin’s motivation was financial. According to
Oknyansky, Rasin had tried unsuccessfully to shop the Clinton information around to other
interested parties, and Oknyansky would receive a cut if the information was sold.262 Rasin is
noted in public source documents as the director and/or registered agent for a number of Florida
companies, none of which appears to be connected to Clinton. The Office found no other evidence
that Rasin worked for Clinton or any Clinton-related entities.

       In their statements to investigators, Oknyansky and Caputo had contradictory recollections
about the meeting. Oknyansky claimed that Caputo accompanied Stone to the meeting and
provided an introduction, whereas Caputo did not tell us that he had attended and claimed that he
was never told what information Oknyansky offered. Caputo also stated that he was unaware
Oknyansky sought to be paid for the information until Stone informed him after the fact.263

       260
             Caputo 5/2/18 302, at 4; Oknyansky 7/13/18 302, at 1.
       261
             Oknyansky 7/13/18 302, at 1-2.
       262
             Oknyansky 7/13/18 302, at 2.
       263
             Caputo 5/2/18 302, at 4; Oknyansky 7/13/18 302, at 1.

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        The Office did not locate Rasin in the United States, although the Office confirmed Rasin
had been issued a Florida driver’s license. The Office otherwise was unable to determine the
content and origin of the information he purportedly offered to Stone. Finally, the investigation
did not identify evidence of a connection between the outreach or the meeting and Russian
interference efforts.

                  b. Campaign Efforts to Obtain Deleted Clinton Emails

       After candidate Trump stated on July 27, 2016, that he hoped Russia would “find the
30,000 emails that are missing,” Trump asked individuals affiliated with his Campaign to find the
deleted Clinton emails.264 Michael Flynn—who would later serve as National Security Advisor in
the Trump Administration—recalled that Trump made this request repeatedly, and Flynn
subsequently contacted multiple people in an effort to obtain the emails.265

       Barbara Ledeen and Peter Smith were among the people contacted by Flynn. Ledeen, a
long-time Senate staffer who had previously sought the Clinton emails, provided updates to Flynn
about her efforts throughout the summer of 2016.266 Smith, an investment advisor who was active
in Republican politics, also attempted to locate and obtain the deleted Clinton emails.267

        Ledeen began her efforts to obtain the Clinton emails before Flynn’s request, as early as
December 2015.268 On December 3, 2015, she emailed Smith a proposal to obtain the emails,
stating, “Here is the proposal I briefly mentioned to you. The person I described to you would be
happy to talk with you either in person or over the phone. The person can get the emails which 1.
Were classified and 2. Were purloined by our enemies. That would demonstrate what needs to be
demonstrated.”269

         Attached to the email was a 25-page proposal stating that the “Clinton email server was, in
all likelihood, breached long ago,” and that the Chinese, Russian, and Iranian intelligence services
could “re-assemble the server’s email content.”270 The proposal called for a three-phase approach.
The first two phases consisted of open-source analysis. The third phase consisted of checking with
certain intelligence sources “that have access through liaison work with various foreign services”
to determine if any of those services had gotten to the server. The proposal noted, “Even if a
single email was recovered and the providence [sic] of that email was a foreign service, it would
be catastrophic to the Clinton campaign[.]” Smith forwarded the email to two colleagues and


       264
             Flynn 4/25/18 302, at 5-6; Flynn 5/1/18 302, at 1-3.
       265
             Flynn 5/1/18 302, at 1-3.
       266
             Flynn 4/25/18 302, at 7; Flynn 5/4/18 302, at 1-2; Flynn 11/29/17 302, at 7-8.
       267
             Flynn 11/29/17 302, at 7.
       268
             Szobocsan 3/29/17 302, at 1.
       269
             12/3/15 Email, Ledeen to Smith.
       270
             12/3/15 Email, Ledeen to Smith (attachment).

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wrote, “we can discuss to whom it should be referred.”271 On December 16, 2015, Smith informed
Ledeen that he declined to participate in her “initiative.” According to one of Smith’s business
associates, Smith believed Ledeen’s initiative was not viable at that time.272

        Just weeks after Trump’s July 2016 request to find the Clinton emails, however, Smith
tried to locate and obtain the emails himself. He created a company, raised tens of thousands of
dollars, and recruited security experts and business associates. Smith made claims to others
involved in the effort (and those from whom he sought funding) that he was in contact with hackers
with “ties and affiliations to Russia” who had access to the emails, and that his efforts were
coordinated with the Trump Campaign.273

        On August 28, 2016, Smith sent an email from an encrypted account with the subject “Sec.
Clinton’s unsecured private email server” to an undisclosed list of recipients, including Campaign
co-chairman Sam Clovis. The email stated that Smith was “[j]ust finishing two days of sensitive
meetings here in DC with involved groups to poke and probe on the above. It is clear that the
Clinton’s home-based, unprotected server was hacked with ease by both State-related players, and
private mercenaries. Parties with varying interests, are circling to release ahead of the election.”274

        On September 2, 2016, Smith directed a business associate to establish KLS Research LLC
in furtherance of his search for the deleted Clinton emails.275 One of the purposes of KLS Research
was to manage the funds Smith raised in support of his initiative.276 KLS Research received over
$30,000 during the presidential campaign, although Smith represented that he raised even more
money.277

         Smith recruited multiple people for his initiative, including security experts to search for
and authenticate the emails.278 In early September 2016, as part of his recruitment and fundraising
effort, Smith circulated a document stating that his initiative was “in coordination” with the Trump
Campaign, “to the extent permitted as an independent expenditure organization.”279 The document
listed multiple individuals affiliated with the Trump Campaign, including Flynn, Clovis, Bannon,



          271
                12/3/15 Email, Smith to Szobocsan & Safron.
          272
                Szobocsan 3/29/18 302, at 1.
          273
                8/31/16 Email, Smith to Smith.
          274
                8/28/16 Email, Smith to Smith.
          Incorporation papers of KLS Research LLC, 7/26/17 (b) (3)
          275                                                                                             E  
Szobocsan 3/29/18 302, at 2.
          276
                Szobocsan 3/29/18 302, at 3.
          277
                Financial Institution Record of Peter Smith and KLS Research LLC, 10/31/17 (b) (3)        E  
(b) (3)                              10/11/16 Email, Smith to (b) (6), (b) (7)(C)                         E  
          278
                Tait 8/22/17 302, at 3; York 7/12/17 302, at 1-2; York 11/22/17 302, at 1.                E  & 
          279
           York 7/13/17 302 (attachment KLS Research, LLC, “Clinton Email Reconnaissance Initiative,”
Sept. 9, 2016).

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and Kellyanne Conway.280 The investigation established that Smith communicated with at least
Flynn and Clovis about his search for the deleted Clinton emails,281 but the Office did not identify
evidence that any of the listed individuals initiated or directed Smith’s efforts.

        In September 2016, Smith and Ledeen got back in touch with each other about their
respective efforts. Ledeen wrote to Smith, “wondering if you had some more detailed reports or
memos or other data you could share because we have come a long way in our efforts since we
last visited. . . . We would need as much technical discussion as possible so we could marry it
against the new data we have found and then could share it back to you ‘your eyes only.’”282

        Ledeen claimed to have obtained a trove of emails (from what she described as the “dark
web”) that purported to be the deleted Clinton emails. Ledeen wanted to authenticate the emails
and solicited contributions to fund that effort. Erik Prince provided funding to hire a tech advisor
to ascertain the authenticity of the emails. According to Prince, the tech advisor determined that
the emails were not authentic.283

        A backup of Smith’s computer contained two files that had been downloaded from
WikiLeaks and that were originally attached to emails received by John Podesta. The files on
Smith’s computer had creation dates of October 2, 2016, which was prior to the date of their release
by WikiLeaks. Forensic examination, however, established that the creation date did not reflect
when the files were downloaded to Smith’s computer. (It appears the creation date was when
WikiLeaks staged the document for release, as discussed in Volume I, Section III.B.3.c, supra.284)
The investigation did not otherwise identify evidence that Smith obtained the files before their
release by WikiLeaks.

       Smith continued to send emails to an undisclosed recipient list about Clinton’s deleted
emails until shortly before the election. For example, on October 28, 2016, Smith wrote that there
was a “tug-of-war going on within WikiLeaks over its planned releases in the next few days,” and
that WikiLeaks “has maintained that it will save its best revelations for last, under the theory this
allows little time for response prior to the U.S. election November 8.”285 An attachment to the

        280
             The same recruitment document listed Jerome Corsi under “Independent
Groups/Organizations/Individuals,” and described him as an “established author and writer from the right
on President Obama and Sec. Clinton.”
        281
           Flynn 11/29/17 302, at 7-8; 10/15/16 Email, Smith to Flynn et al.; 8/28/16 Email, Smith to Smith
(bcc: Clovis et al.).
        282
              9/16/16 Email, Ledeen to Smith.
        283
              Prince 4/4/18 302, at 4-5.
        284
            The forensic analysis of Smith’s computer devices found that Smith used an older Apple
operating system that would have preserved that October 2, 2016 creation date when it was downloaded
(no matter what day it was in fact downloaded by Smith). See Volume I, Section III.B.3.c, supra. The
Office tested this theory in March 2019 by downloading the two files found on Smith’s computer from
WikiLeaks’s site using the same Apple operating system on Smith’s computer; both files were successfully
downloaded and retained the October 2, 2016 creation date. See SM-2284941, serial 62.
        285
              10/28/16 Email, Smith to Smith.

                                                      64
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        The Office identified multiple contacts—“links,” in the words of the Appointment Order—
between Trump Campaign officials and individuals with ties to the Russian government. The
Office investigated whether those contacts constituted a third avenue of attempted Russian
interference with or influence on the 2016 presidential election. In particular, the investigation
examined whether these contacts involved or resulted in coordination or a conspiracy with the
Trump Campaign and Russia, including with respect to Russia providing assistance to the
Campaign in exchange for any sort of favorable treatment in the future. Based on the available
information, the investigation did not establish such coordination.

        This Section describes the principal links between the Trump Campaign and individuals
with ties to the Russian government, including some contacts with Campaign officials or associates
that have been publicly reported to involve Russian contacts. Each subsection begins with an
overview of the Russian contact at issue and then describes in detail the relevant facts, which are
generally presented in chronological order, beginning with the early months of the Campaign and
extending through the post-election, transition period.

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        Russian-government-connected individuals and media entities began showing interest in
Trump’s campaign in the months after he announced his candidacy in June 2015.288 Because
Trump’s status as a public figure at the time was attributable in large part to his prior business and
entertainment dealings, this Office investigated whether a business contact with Russia-linked
individuals and entities during the campaign period—the Trump Tower Moscow project, see
Volume I, Section IV.A.1, infra—led to or involved coordination of election assistance.

       Outreach from individuals with ties to Russia continued in the spring and summer of 2016,
when Trump was moving toward—and eventually becoming—the Republican nominee for
President. As set forth below, the Office also evaluated a series of links during this period:
outreach to two of Trump’s then-recently named foreign policy advisors, including a
representation that Russia had “dirt” on Clinton in the form of thousands of emails (Volume I,
Sections IV.A.2 & IV.A.3); dealings with a D.C.-based think tank that specializes in Russia and
has connections with its government (Volume I, Section IV.A.4); a meeting at Trump Tower
between the Campaign and a Russian lawyer promising dirt on candidate Clinton that was “part of
Russia and its government’s support for [Trump]” (Volume I, Section IV.A.5); events at the
Republican National Convention (Volume I, Section IV.A.6); post-Convention contacts between
Trump Campaign officials and Russia’s ambassador to the United States (Volume I, Section
IV.A.7); and contacts through campaign chairman Paul Manafort, who had previously worked for
a Russian oligarch and a pro-Russian political party in Ukraine (Volume I, Section IV.A.8).

       288
           For example, on August 18, 2015, on behalf of the editor-in-chief of the internet newspaper
Vzglyad, Georgi Asatryan emailed campaign press secretary Hope Hicks asking for a phone or in-person
candidate interview. 8/18/15 Email, Asatryan to Hicks. One day earlier, the publication’s founder (and
former Russian parliamentarian) Konstantin Rykov had registered two Russian websites—Trump2016.ru
and DonaldTrump2016.ru. No interview took place.

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an agreement for the Trump Tower Moscow project.294 On December 23, 2013, after discussions
with Donald J. Trump, the Trump Organization agreed to accept an arrangement whereby the
organization received a flat 3.5% commission on all sales, with no licensing fees or incentives.295
The parties negotiated a letter of intent during January and February 2014.296

         From January 2014 through November 2014, the Trump Organization and Crocus Group
discussed development plans for the Moscow project. Some time before January 24, 2014, the
Crocus Group sent the Trump Organization a proposal for a 800-unit, 194-meter building to be
constructed at an Agalarov-owned site in Moscow called “Crocus City,” which had also been the
site of the Miss Universe pageant.297 In February 2014, Ivanka Trump met with Emin Agalarov
and toured the Crocus City site during a visit to Moscow.298 From March 2014 through July 2014,
the groups discussed “design standards” and other architectural elements.299 For example, in July
2014, members of the Trump Organization sent Crocus Group counterparties questions about the
“demographics of these prospective buyers” in the Crocus City area, the development of
neighboring parcels in Crocus City, and concepts for redesigning portions of the building.300 In
August 2014, the Trump Organization requested specifications for a competing Marriott-branded
tower being built in Crocus City.301

        Beginning in September 2014, the Trump Organization stopped responding in a timely
fashion to correspondence and proposals from the Crocus Group.302 Communications between the
two groups continued through November 2014 with decreasing frequency; what appears to be the
last communication is dated November 24, 2014.303 The project appears not to have developed
past the planning stage, and no construction occurred.



       294
             (b) (3)                                                                                   E  
       295
             OSC-KAV_00452 (12/23/13 Email, Trump Jr. to Kaveladze & E. Agalarov).
       296
        See, e.g., OSC-KAV_01158 (Letter agreement signed by Trump Jr. & E. Agalarov); OSC-
KAV_01147 (1/20/14 Email, Kaveladze to Trump Jr. et al.).
       297
           See, e.g., OSC-KAV_00972 (10/14/14 Email, McGee to Khoo et al.) (email from Crocus Group
contractor about specifications); OSC-KAV_00540 (1/24/14 Email, McGee to Trump Jr. et al.).
       298
          See OSC-KAV_00631 (2/5/14 Email, E. Agalarov to Ivanka Trump, Trump Jr. & Kaveladze);
Goldstone Facebook post, 2/4/14 (8:01 a.m.) (b) (7)(A), (b) (7)(E)                                      E  ( 
       299
          See, e.g., OSC-KAV_00791 (6/3/14 Email, Kaveladze to Trump Jr. et al.; OSC-KAV_00799
(6/10/14 Email, Trump Jr. to Kaveladze et al.); OSC-KAV_00817 (6/16/14 Email, Trump Jr. to Kaveladze
et al.).
       300
             OSC-KAV_00870 (7/17/14 Email, Khoo to McGee et al.).
       301
             OSC-KAV_00855 (8/4/14 Email, Khoo to McGee et al.).
       302
          OSC-KAV_00903 (9/29/14 Email, Tropea to McGee & Kaveladze (noting last response was on
August 26, 2014)); OSC-KAV_00906 (9/29/14 Email, Kaveladze to Tropea & McGee (suggesting silence
“proves my fear that those guys are bailing out of the project”)); OSC-KAV_00972 (10/14/14 Email,
McGee to Khoo et al.) (email from Crocus Group contractor about development specifications)).
       303
             OSC-KAV_01140 (11/24/14 Email, Khoo to McGee et al.).

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                  b. Communications with I.C. Expert Investment Company and Giorgi
                     Rtskhiladze (Summer and Fall 2015)

        In the late summer of 2015, the Trump Organization received a new inquiry about pursuing
a Trump Tower project in Moscow. In approximately September 2015, Felix Sater, a New York-
based real estate advisor, contacted Michael Cohen, then-executive vice president of the Trump
Organization and special counsel to Donald J. Trump.304 Sater had previously worked with the
Trump Organization and advised it on a number of domestic and international projects. Sater had
explored the possibility of a Trump Tower project in Moscow while working with the Trump
Organization and therefore knew of the organization’s general interest in completing a deal
there.305 Sater had also served as an informal agent of the Trump Organization in Moscow
previously and had accompanied Ivanka Trump and Donald Trump Jr. to Moscow in the mid-
2000s.306

        Sater contacted Cohen on behalf of I.C. Expert Investment Company (I.C. Expert), a
Russian real-estate development corporation controlled by Andrei Vladimirovich Rozov.307 Sater
had known Rozov since approximately 2007 and, in 2014, had served as an agent on behalf of
Rozov during Rozov’s purchase of a building in New York City.308 Sater later contacted Rozov
and proposed that I.C. Expert pursue a Trump Tower Moscow project in which I.C. Expert would
license the name and brand from the Trump Organization but construct the building on its own.
Sater worked on the deal with Rozov and another employee of I.C. Expert.309

         Cohen was the only Trump Organization representative to negotiate directly with I.C.
Expert or its agents. In approximately September 2015, Cohen obtained approval to negotiate with
I.C. Expert from candidate Trump, who was then president of the Trump Organization. Cohen
provided updates directly to Trump about the project throughout 2015 and into 2016, assuring him
the project was continuing.310 Cohen also discussed the Trump Moscow project with Ivanka
Trump as to design elements (such as possible architects to use for the project311) and Donald J.
Trump Jr. (about his experience in Moscow and possible involvement in the project312) during the
fall of 2015.




       304
           Sater provided information to our Office in two 2017 interviews conducted under a proffer
agreement,(b) (3)                                  E  
       305
             (b) (3)                                    E  
       306
             Sater 9/19/17 302, at 1-2, 5.
       307
             Sater 9/19/17 302, at 3.
       308
             Rozov 1/25/18 302, at 1.
       309
             Rozov 1/25/18 302, at 1; see also 11/2/15 Email, Cohen to Rozov et al. (sending letter of intent).
       310
             Cohen 9/12/18 302, at 1-2, 4-6.
       311
             Cohen 9/12/18 302, at 5.
       312
             Cohen 9/12/18 302, at 4-5.

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        Also during the fall of 2015, Cohen communicated about the Trump Moscow proposal with
Giorgi Rtskhiladze, a business executive who previously had been involved in a development deal
with the Trump Organization in Batumi, Georgia.313 Cohen stated that he spoke to Rtskhiladze in
part because Rtskhiladze had pursued business ventures in Moscow, including a licensing deal with
the Agalarov-owned Crocus Group.314 On September 22, 2015, Cohen forwarded a preliminary
design study for the Trump Moscow project to Rtskhiladze, adding “I look forward to your reply
about this spectacular project in Moscow.” Rtskhiladze forwarded Cohen’s email to an associate
and wrote, “[i]f we could organize the meeting in New York at the highest level of the Russian
Government and Mr. Trump this project would definitely receive the worldwide attention.”315

         On September 24, 2015, Rtskhiladze sent Cohen an attachment that he described as a
proposed “[l]etter to the Mayor of Moscow from Trump org,” explaining that “[w]e need to send
this letter to the Mayor of Moscow (second guy in Russia) he is aware of the potential project and
will pledge his support.”316 In a second email to Cohen sent the same day, Rtskhiladze provided a
translation of the letter, which described the Trump Moscow project as a “symbol of stronger
economic, business and cultural relationships between New York and Moscow and therefore
United States and the Russian Federation.”317 On September 27, 2015, Rtskhiladze sent another
email to Cohen, proposing that the Trump Organization partner on the Trump Moscow project with
“Global Development Group LLC,” which he described as being controlled by Michail Posikhin, a
Russian architect, and Simon Nizharadze.318 Cohen told the Office that he ultimately declined the
proposal and instead continued to work with I.C. Expert, the company represented by Felix Sater.319

                     c. Letter of Intent and Contacts to Russian Government (October 2015-January
                        2016)

                         i. Trump Signs the Letter of Intent on behalf of the Trump Organization

        Between approximately October 13, 2015 and November 2, 2015, the Trump Organization
(through its subsidiary Trump Acquisition, LLC) and I.C. Expert completed a letter of intent (LOI)
for a Trump Moscow property. The LOI, signed by Trump for the Trump Organization and Rozov
on behalf of I.C. Expert, was “intended to facilitate further discussions” in order to “attempt to


          313
           Rtskhiladze was a U.S.-based executive of the Georgian company Silk Road Group. In
approximately 2011, Silk Road Group and the Trump Organization entered into a licensing agreement to
build a Trump-branded property in Batumi, Georgia. Rtskhiladze was also involved in discussions for a
Trump-branded project in Astana, Kazakhstan. The Office twice interviewed Rtskhiladze,
(b) (3)                                                                                                 E  
          314
                Cohen 9/12/18 302, at 12; see also Rtskhiladze 5/10/18 302, at 1.
          315
                9/22/15 Email, Rtskhiladze to Nizharadze.
          316
                9/24/15 Email, Rtskhiladze to Cohen.
          317
                9/24/15 Email, Rtskhiladze to Cohen.
          318
                9/27/15 Email, Rtskhiladze to Cohen.
          319
                Cohen 9/12/18 302, at 12.

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enter into a mutually acceptable agreement” related to the Trump-branded project in Moscow.320
The LOI contemplated a development with residential, hotel, commercial, and office components,
and called for “[a]pproximately 250 first class, luxury residential condominiums,” as well as “[o]ne
first class, luxury hotel consisting of approximately 15 floors and containing not fewer than 150
hotel rooms.”321 For the residential and commercial portions of the project, the Trump
Organization would receive between 1% and 5% of all condominium sales,322 plus 3% of all rental
and other revenue.323 For the project’s hotel portion, the Trump Organization would receive a base
fee of 3% of gross operating revenues for the first five years and 4% thereafter, plus a separate
incentive fee of 20% of operating profit. 324 Under the LOI, the Trump Organization also would
receive a $4 million “up-front fee” prior to groundbreaking.325 Under these terms, the Trump
Organization stood to earn substantial sums over the lifetime of the project, without assuming
significant liabilities or financing commitments.326

       On November 3, 2015, the day after the Trump Organization transmitted the LOI, Sater
emailed Cohen suggesting that the Trump Moscow project could be used to increase candidate
Trump’s chances at being elected, writing:

        Buddy our boy can become President of the USA and we can engineer it. I will get all of
        Putins team to buy in on this, I will manage this process. . . . Michael, Putin gets on stage
        with Donald for a ribbon cutting for Trump Moscow, and Donald owns the republican
        nomination. And possibly beats Hillary and our boy is in. . . . We will manage this process
        better than anyone. You and I will get Donald and Vladimir on a stage together very
        shortly. That the game changer.327

Later that day, Sater followed up:

        Donald doesn’t stare down, he negotiates and understands the economic issues and Putin
        only want to deal with a pragmatic leader, and a successful business man is a good
        candidate for someone who knows how to negotiate. “Business, politics, whatever it all is
        the same for someone who knows how to deal”


        320
           11/2/15 Email, Cohen to Rozov et al. (attachment) (hereinafter “LOI”); see also 10/13/15 Email,
Sater to Cohen & Davis (attaching proposed letter of intent).
        321
              LOI, p. 2.
        322
           The LOI called for the Trump Organization to receive 5% of all gross sales up to $100 million;
4% of all gross sales from $100 million to $250 million; 3% of all gross sales from $250 million to $500
million; 2% of all gross sales from $500 million to $1 billion; and 1% of all gross sales over $1 billion.
LOI, Schedule 2.
        323
              LOI, Schedule 2.
        324
              LOI, Schedule 1.
        325
              LOI, Schedule 2.
        326
              Cohen 9/12/18 302, at 3.
        327
              11/3/15 Email, Sater to Cohen (12:14 p.m.).

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       I think I can get Putin to say that at the Trump Moscow press conference.
       If he says it we own this election. Americas most difficult adversary agreeing that Donald
       is a good guy to negotiate. . . .
       We can own this election.
       Michael my next steps are very sensitive with Putins very very close people, we can pull
       this off.
       Michael lets go. 2 boys from Brooklyn getting a USA president elected. This is good really
       good.328

        According to Cohen, he did not consider the political import of the Trump Moscow project
to the 2016 U.S. presidential election at the time. Cohen also did not recall candidate Trump or
anyone affiliated with the Trump Campaign discussing the political implications of the Trump
Moscow project with him. However, Cohen recalled conversations with Trump in which the
candidate suggested that his campaign would be a significant “infomercial” for Trump-branded
properties.329

                       ii. Post-LOI Contacts with Individuals in Russia

       Given the size of the Trump Moscow project, Sater and Cohen believed the project required
approval (whether express or implicit) from the Russian national government, including from the
Presidential Administration of Russia.330 Sater stated that he therefore began to contact the
Presidential Administration through another Russian business contact.331 In early negotiations
with the Trump Organization, Sater had alluded to the need for government approval and his
attempts to set up meetings with Russian officials. On October 12, 2015, for example, Sater wrote
to Cohen that “all we need is Putin on board and we are golden,” and that a “meeting with Putin
and top deputy is tentatively set for the 14th [of October].”332 (b) (3)                this meeting E  
was being coordinated by associates in Russia and that he had no direct interaction with the Russian
government.333

       Approximately a month later, after the LOI had been signed, Lana Erchova emailed Ivanka
Trump on behalf of Erchova’s then-husband Dmitry Klokov, to offer Klokov’s assistance to the
Trump Campaign.334 Klokov was at that time Director of External Communications for PJSC
Federal Grid Company of Unified Energy System, a large Russian electricity transmission

       328
             11/3/15 Email, Sater to Cohen (12:40 p.m.).
       329
             Cohen 9/12/18 302, at 3-4; Cohen 8/7/18 302, at 15.
       330
             (b) (3)                               Sater 12/15/17 302, at 2.                       E  
       331
             Sater 12/15/17 302, at 3-4.
       332
             10/12/15 Email, Sater to Cohen (8:07 a.m.).
       333
             (b) (3)                                                                                   E  
       334
          Ivanka Trump received an email from a woman who identified herself as “Lana E. Alexander,”
which said in part, “If you ask anyone who knows Russian to google my husband Dmitry Klokov, you’ll
see who he is close to and that he has done Putin’s political campaigns.” 11/16/15 Email, Erchova to
I. Trump.

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company, and had been previously employed as an aide and press secretary to Russia’s energy
minister. Ivanka Trump forwarded the email to Cohen.335 He told the Office that, after receiving
this inquiry, he had conducted an internet search for Klokov’s name and concluded (incorrectly)
that Klokov was a former Olympic weightlifter.336

        Between November 18 and 19, 2015, Klokov and Cohen had at least one telephone call
and exchanged several emails. Describing himself in emails to Cohen as a “trusted person” who
could offer the Campaign “political synergy” and “synergy on a government level,” Klokov
recommended that Cohen travel to Russia to speak with him and an unidentified intermediary.
Klokov said that those conversations could facilitate a later meeting in Russia between the
candidate and an individual Klokov described as “our person of interest.”337 In an email to the
Office, Erchova later identified the “person of interest” as Russian President Vladimir Putin.338

        In the telephone call and follow-on emails with Klokov, Cohen discussed his desire to use
a near-term trip to Russia to do site surveys and talk over the Trump Moscow project with local
developers. Cohen registered his willingness also to meet with Klokov and the unidentified
intermediary, but was emphatic that all meetings in Russia involving him or candidate Trump—
including a possible meeting between candidate Trump and Putin—would need to be “in
conjunction with the development and an official visit” with the Trump Organization receiving a
formal invitation to visit.339 (Klokov had written previously that “the visit [by candidate Trump
to Russia] has to be informal.”)340

        Klokov had also previously recommended to Cohen that he separate their negotiations over
a possible meeting between Trump and “the person of interest” from any existing business track.341
Re-emphasizing that his outreach was not done on behalf of any business, Klokov added in second
email to Cohen that, if publicized well, such a meeting could have “phenomenal” impact “in a
business dimension” and that the “person of interest[’s]” “most important support” could have
significant ramifications for the “level of projects and their capacity.” Klokov concluded by telling

        335
              11/16/15 Email, I. Trump to Cohen.
        336
           Cohen 8/7/18 302, at 17. During his interviews with the Office, Cohen still appeared to believe
that the Klokov he spoke with was that Olympian. The investigation, however, established that the email
address used to communicate with Cohen belongs to a different Dmitry Klokov, as described above.
        337
              11/18/15 Email, Klokov to Cohen (6:51 a.m.).
        338
            In July 2018, the Office received an unsolicited email purporting to be from Erchova, in which
she wrote that “[a]t the end of 2015 and beginning of 2016 I was asked by my ex-husband to contact Ivanka
Trump . . . and offer cooperation to Trump’s team on behalf of the Russian officials.” 7/27/18 Email,
Erchova to Special Counsel’s Office. The email claimed that the officials wanted to offer candidate Trump
“land in Crimea among other things and unofficial meeting with Putin.” Id. In order to vet the email’s
claims, the Office responded requesting more details. The Office did not receive any reply.
        339
              11/18/15 Email, Cohen to Klokov (7:15 a.m.).
        340
              11/18/15 Email, Klokov to Cohen (6:51 a.m.).
        341
          11/18/15 Email, Klokov to Cohen (6:51 a.m.) (“I would suggest separating your negotiations
and our proposal to meet. I assure you, after the meeting level of projects and their capacity can be
completely different, having the most important support.”).

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Cohen that there was “no bigger warranty in any project than [the] consent of the person of
interest.”342 Cohen rejected the proposal, saying that “[c]urrently our LOI developer is in talks
with VP’s Chief of Staff and arranging a formal invite for the two to meet.”343 This email appears
to be their final exchange, and the investigation did not identify evidence that Cohen brought
Klokov’s initial offer of assistance to the Campaign’s attention or that anyone associated with the
Trump Organization or the Campaign dealt with Klokov at a later date. Cohen explained that he
did not pursue the proposed meeting because he was already working on the Moscow Project with
Sater, who Cohen understood to have his own connections to the Russian government.344

        By late December 2015, however, Cohen was complaining that Sater had not been able to
use those connections to set up the promised meeting with Russian government officials. Cohen
told Sater that he was “setting up the meeting myself.”345 On January 11, 2016, Cohen emailed
the office of Dmitry Peskov, the Russian government’s press secretary, indicating that he desired
contact with Sergei Ivanov, Putin’s chief of staff. Cohen erroneously used the email address
“Pr_peskova@prpress.JRI.ru” instead of “Pr_peskova@prpress.JRY.ru,” so the email apparently
did not go through.346 On January 14, 2016, Cohen emailed a different address
(info@prpress.gov.ru) with the following message:

       Dear Mr. Peskov,
       Over the past few months, I have been working with a company based in Russia regarding
       the development of a Trump Tower-Moscow project in Moscow City.
       Without getting into lengthy specifics, the communication between our two sides has
       stalled. As this project is too important, I am hereby requesting your assistance.
       I respectfully request someone, preferably you; contact me so that I might discuss the
       specifics as well as arranging meetings with the appropriate individuals.
       I thank you in advance for your assistance and look forward to hearing from you soon.347

Two days later, Cohen sent an email to Pr_peskova@prpress.JRY.ru, repeating his request to speak
with Sergei Ivanov.348

       Cohen testified to Congress, and initially told the Office, that he did not recall receiving a
response to this email inquiry and that he decided to terminate any further work on the Trump
Moscow project as of January 2016. Cohen later admitted that these statements were false. In




       342
             11/19/15 Email, Klokov to Cohen (7:40 a.m.).
       343
             11/19/15 Email, Cohen to Klokov (12:56 p.m.).
       344
             Cohen 9/18/18 302, at 12.
       345
             FS00004 (12/30/15 Text Message, Cohen to Sater (6:17 p.m.)).
       346
             1/11/16 Email, Cohen to pr_peskova@prpress.gof.ru (9:12 a.m.).
       347
             1/14/16 Email, Cohen to info@prpress.gov.ru (9:21 a.m.).
       348
             1/16/16 Email, Cohen to pr_peskova@prpress.gov.ru (10:28 a.m.).

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fact, Cohen had received (and recalled receiving) a response to his inquiry, and he continued to
work on and update candidate Trump on the project through as late as June 2016.349

        On January 20, 2016, Cohen received an email from Elena Poliakova, Peskov’s personal
assistant. Writing from her personal email account, Poliakova stated that she had been trying to
reach Cohen and asked that he call her on the personal number that she provided.350 Shortly after
receiving Poliakova’s email, Cohen called and spoke to her for 20 minutes.351 Cohen described to
Poliakova his position at the Trump Organization and outlined the proposed Trump Moscow
project, including information about the Russian counterparty with which the Trump Organization
had partnered. Cohen requested assistance in moving the project forward, both in securing land to
build the project and with financing. According to Cohen, Poliakova asked detailed questions and
took notes, stating that she would need to follow up with others in Russia.352

        Cohen could not recall any direct follow-up from Poliakova or from any other
representative of the Russian government, nor did the Office identify any evidence of direct
follow-up. However, the day after Cohen’s call with Poliakova, Sater texted Cohen, asking him
to “[c]all me when you have a few minutes to chat . . . It’s about Putin they called today.”353 Sater
then sent a draft invitation for Cohen to visit Moscow to discuss the Trump Moscow project,354
along with a note to “[t]ell me if the letter is good as amended by me or make whatever changes
you want and send it back to me.”355 After a further round of edits, on January 25, 2016, Sater
sent Cohen an invitation—signed by Andrey Ryabinskiy of the company MHJ—to travel to
“Moscow for a working visit” about the “prospects of development and the construction business
in Russia,” “the various land plots available suited for construction of this enormous Tower,” and
“the opportunity to co-ordinate a follow up visit to Moscow by Mr. Donald Trump.”356 According




        349
             Cohen Information ¶¶ 4, 7. Cohen’s interactions with President Trump and the President’s
lawyers when preparing his congressional testimony are discussed further in Volume II. See Vol. II, Section
II.K.3, infra.
        350
           1/20/16 Email, Poliakova to Cohen (5:57 a.m.) (“Mr. Cohen[,] I can’t get through to both your
phones. Pls, call me.”).
        351
           Telephone records show a 20-minute call on January 20, 2016 between Cohen and the number
Poliakova provided in her email. Call Records of Michael Cohen (b) (3)                         After E  
the call, Cohen saved Poliakova’s contact information in his Trump Organization Outlook contact list.
1/20/16 Cohen Microsoft Outlook Entry (6:22 a.m.).
        352
              Cohen 9/12/18 302, at 2-3.
        353
              FS00011 (1/21/16 Text Messages, Sater to Cohen).
        354
           The invitation purported to be from Genbank, a Russian bank that was, according to Sater,
working at the behest of a larger bank, VTB, and would consider providing financing. FS00008 (12/31/15
Text Messages, Sater & Cohen). Additional information about Genbank can be found infra.
        355
           FS00011 (1/21/16 Text Message, Sater to Cohen (7:44 p.m.)); 1/21/16 Email, Sater to Cohen
(6:49 p.m.).
        356
              1/25/16 Email, Sater to Cohen (12:01 p.m.) (attachment).

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to Cohen, he elected not to travel at the time because of concerns about the lack of concrete
proposals about land plots that could be considered as options for the project.357

                    d. Discussions about Russia Travel by Michael Cohen or Candidate Trump
                        (December 2015-June 2016)

                        i. Sater’s Overtures to Cohen to Travel to Russia

        The late January communication was neither the first nor the last time that Cohen
contemplated visiting Russia in pursuit of the Trump Moscow project. Beginning in late 2015,
Sater repeatedly tried to arrange for Cohen and candidate Trump, as representatives of the Trump
Organization, to travel to Russia to meet with Russian government officials and possible financing
partners. In December 2015, Sater sent Cohen a number of emails about logistics for traveling to
Russia for meetings.358 On December 19, 2015, Sater wrote:

          Please call me I have Evgeney [Dvoskin] on the other line.[359] He needs a copy of your
          and Donald’s passports they need a scan of every page of the passports. Invitations &
          Visas will be issued this week by VTB Bank to discuss financing for Trump Tower
          Moscow. Politically neither Putins office nor Ministry of Foreign Affairs cannot issue
          invite, so they are inviting commercially/ business. VTB is Russia’s 2 biggest bank and
          VTB Bank CEO Andrey Kostin, will be at all meetings with Putin so that it is a business
          meeting not political. We will be invited to Russian consulate this week to receive invite
          & have visa issued.360

In response, Cohen texted Sater an image of his own passport.361 Cohen told the Office that at one
point he requested a copy of candidate Trump’s passport from Rhona Graff, Trump’s executive
assistant at the Trump Organization, and that Graff later brought Trump’s passport to Cohen’s




          357
                Cohen 9/12/18 302, at 6-7.
          358
           See, e.g., 12/1/15 Email, Sater to Cohen (12:41 p.m.) (“Please scan and send me a copy of your
passport for the Russian Ministry of Foreign Affairs.”).
          359
            Toll records show that Sater was speaking to Evgeny Dvoskin. Call Records of Felix Sater
(b) (3)                            Dvoskin is an executive of Genbank, a large bank with lending focused E  
in Crimea, Ukraine. At the time that Sater provided this financing letter to Cohen, Genbank was subject to
U.S. government sanctions, see Russia/Ukraine-related Sanctions and Identifications, Office of Foreign
Assets Control (Dec. 22, 2015), available at https://www.treasury.gov/resource-center/sanctions/OFAC-
Enforcement/Pages/20151222.aspx. Dvoskin, who had been deported from the United States in 2000 for
criminal activity, was under indictment in the United States for stock fraud under the aliases Eugene Slusker
and Gene Shustar. See United States v. Rizzo, et al., 2:03-cr-63 (E.D.N.Y. Feb. 6, 2003).
          360
           12/19/15 Email, Sater to Cohen (10:50 a.m.); FS00002 (12/19/15 Text Messages, Sater to
Cohen, (10:53 a.m.).
          361
         FS00004 (12/19/15 Text Message, Cohen to Sater); ERT_0198-256 (12/19/15 Text Messages,
Cohen & Sater).

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office.362 The investigation did not, however, establish that the passport was forwarded to Sater.363

       Into the spring of 2016, Sater and Cohen continued to discuss a trip to Moscow in
connection with the Trump Moscow project. On April 20, 2016, Sater wrote Cohen, “[t]he People
wanted to know when you are coming?”364 On May 4, 2016, Sater followed up:

       I had a chat with Moscow. ASSUMING the trip does happen the question is before or after
       the convention. I said I believe, but don't know for sure, that’s it’s probably after the
       convention. Obviously the pre-meeting trip (you only) can happen anytime you want but
       the 2 big guys where [sic] the question. I said I would confirm and revert. . . . Let me
       know about If I was right by saying I believe after Cleveland and also when you want to
       speak to them and possibly fly over.365

Cohen responded, “My trip before Cleveland. Trump once he becomes the nominee after the
convention.”366

        The day after this exchange, Sater tied Cohen’s travel to Russia to the St. Petersburg
International Economic Forum (“Forum”), an annual event attended by prominent Russian
politicians and businessmen. Sater told the Office that he was informed by a business associate
that Peskov wanted to invite Cohen to the Forum.367 On May 5, 2016, Sater wrote to Cohen:

       Peskov would like to invite you as his guest to the St. Petersburg Forum which is Russia’s
       Davos it’s June 16-19. He wants to meet there with you and possibly introduce you to
       either Putin or Medvedev, as they are not sure if 1 or both will be there.
       This is perfect. The entire business class of Russia will be there as well.
       He said anything you want to discuss including dates and subjects are on the table to
       discuss[.]368

The following day, Sater asked Cohen to confirm those dates would work for him to travel; Cohen
wrote back, “[w]orks for me.”369




       362
             Cohen 9/12/18 302, at 5.
       363
            On December 21, 2015, Sater sent Cohen a text message that read, “They need a copy of DJT
passport,” to which Cohen responded, “After I return from Moscow with you with a date for him.” FS00004
(12/21/15 Text Messages, Cohen & Sater).
       364
             FS00014 (4/20/16 Text Message, Sater to Cohen (9:06 p.m.)).
       365
             FS00015 (5/4/16 Text Message, Sater to Cohen (7:38 p.m.)).
       366
             FS00015 (5/4/16 Text Message, Cohen to Sater (8:03 p.m.)).
       367
             Sater 12/15/17 302, at 4.
       368
             FS00016 (5/5/16 Text Messages, Sater to Cohen (6:26 & 6:27 a.m.)).
       369
             FS00016 (5/6/16 Text Messages, Cohen & Sater).

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        On June 9, 2016, Sater sent Cohen a notice that he (Sater) was completing the badges for
the Forum, adding, “Putin is there on the 17th very strong chance you will meet him as well.”370
On June 13, 2016, Sater forwarded Cohen an invitation to the Forum signed by the Director of the
Roscongress Foundation, the Russian entity organizing the Forum.371 Sater also sent Cohen a
Russian visa application and asked him to send two passport photos.372 According to Cohen, the
invitation gave no indication that Peskov had been involved in inviting him. Cohen was concerned
that Russian officials were not actually involved or were not interested in meeting with him (as
Sater had alleged), and so he decided not to go to the Forum.373 On June 14, 2016, Cohen met
Sater in the lobby of the Trump Tower in New York and informed him that he would not be
traveling at that time.374

                      ii. Candidate Trump’s Opportunities to Travel to Russia

      The investigation identified evidence that, during the period the Trump Moscow project
was under consideration, the possibility of candidate Trump visiting Russia arose in two contexts.

        First, in interviews with the Office, Cohen stated that he discussed the subject of traveling
to Russia with Trump twice: once in late 2015; and again in spring 2016.375 According to Cohen,
Trump indicated a willingness to travel if it would assist the project significantly. On one occasion,
Trump told Cohen to speak with then-campaign manager Corey Lewandowski to coordinate the
candidate’s schedule. Cohen recalled that he spoke with Lewandowski, who suggested that they
speak again when Cohen had actual dates to evaluate. Cohen indicated, however, that he knew
that travel prior to the Republican National Convention would be impossible given the candidate’s
preexisting commitments to the Campaign.376

        Second, like Cohen, Trump received and turned down an invitation to the St. Petersburg
International Economic Forum. In late December 2015, Mira Duma—a contact of Ivanka Trump’s
from the fashion industry—first passed along invitations for Ivanka Trump and candidate Trump
from Sergei Prikhodko, a Deputy Prime Minister of the Russian Federation.377 On January 14,
2016, Rhona Graff sent an email to Duma stating that Trump was “honored to be asked to
participate in the highly prestigious” Forum event, but that he would “have to decline” the
invitation given his “very grueling and full travel schedule” as a presidential candidate.378 Graff

       370
             FS00018 (6/9/16 Text Messages, Sater & Cohen).
       371
             6/13/16 Email, Sater to Cohen (2:10 p.m.).
       372
             FS00018 (6/13/16 Text Message, Sater to Cohen (2:20 p.m.)); 6/13/16 Email, Sater to Cohen.
       373
             Cohen 9/12/18 302, at 6-8.
       374
             FS00019 (6/14/16 Text Messages, Cohen & Sater (12:06 and 2:50 p.m.)).
       375
             Cohen 9/12/18 302, at 2.
       376
             Cohen 9/12/18 302, at 7.
       377
          12/21/15 Email, Mira to Ivanka Trump (6:57 a.m.) (attachments); TRUMPORG_16_000057
(1/7/16 Email, I. Trump to Graff (9:18 a.m.)).
       378
             1/14/16 Email, Graff to Mira.

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asked Duma whether she recommended that Graff “send a formal note to the Deputy Prime
Minister” declining his invitation; Duma replied that a formal note would be “great.”379

        It does not appear that Graff prepared that note immediately. According to written answers
from President Trump,380 Graff received an email from Deputy Prime Minister Prikhodko on
March 17, 2016, again inviting Trump to participate in the 2016 Forum in St. Petersburg.381 Two
weeks later, on March 31, 2016, Graff prepared for Trump’s signature a two-paragraph letter
declining the invitation.382 The letter stated that Trump’s “schedule has become extremely
demanding” because of the presidential campaign, that he “already ha[d] several commitments in
the United States” for the time of the Forum, but that he otherwise “would have gladly given every
consideration to attending such an important event.”383 Graff forwarded the letter to another
executive assistant at the Trump Organization with instructions to print the document on letterhead
for Trump to sign.384

        At approximately the same time that the letter was being prepared, Robert Foresman—a
New York-based investment banker—began reaching out to Graff to secure an in-person meeting
with candidate Trump. According to Foresman, he had been asked by Anton Kobyakov, a Russian
presidential aide involved with the Roscongress Foundation, to see if Trump could speak at the
Forum.385 Foresman first emailed Graff on March 31, 2016, following a phone introduction
brokered through Trump business associate Mark Burnett (who produced the television show The
Apprentice). In his email, Foresman referenced his long-standing personal and professional
expertise in Russia and Ukraine, his work setting up an early “private channel” between Vladimir
Putin and former U.S. President George W. Bush, and an “approach” he had received from “senior
Kremlin officials” about the candidate. Foresman asked Graff for a meeting with the candidate,
Corey Lewandowski, or “another relevant person” to discuss this and other “concrete things”
Foresman felt uncomfortable discussing over “unsecure email.”386 On April 4, 2016, Graff
forwarded Foresman’s meeting request to Jessica Macchia, another executive assistant
to Trump.387

       379
             1/15/16 Email, Mira to Graff.
       380
            As explained in Volume II and Appendix C, on September 17, 2018, the Office sent written
questions to the President’s counsel. On November 20, 2018, the President provided written answers to
those questions through counsel.
       381
             Written Responses of Donald J. Trump (Nov. 20, 2018), at 17 (Response to Question IV,
Part (e)) (“[D]ocuments show that Ms. Graff prepared for my signature a brief response declining the
invitation.”).
       382
             Written Responses of Donald J. Trump (Nov. 20, 2018), at 17 (Response to Question IV, Part
(e)); see also TRUMPORG_16_000134 (unsigned letter dated March 31, 2016).
       383
             TRUMPORG_16_000134 (unsigned letter).
       384
             TRUMPORG_16_000133 (3/31/16 Email, Graff to Macchia).
       385
             Foresman 10/17/18 302, at 3-4.
       386
            See TRUMPORG_16_00136 (3/31/16 Email, Foresman to Graff); see also Foresman 10/17/18
302, at 3-4.
       387
             See TRUMPORG_16_00136 (4/4/16 Email, Graff to Macchia).

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        With no response forthcoming, Foresman twice sent reminders to Graff—first on April 26
and again on April 30, 2016.388 Graff sent an apology to Foresman and forwarded his April 26
email (as well as his initial March 2016 email) to Lewandowski.389 On May 2, 2016, Graff
forwarded Foresman’s April 30 email—which suggested an alternative meeting with Donald
Trump Jr. or Eric Trump so that Foresman could convey to them information that “should be
conveyed to [the candidate] personally or [to] someone [the candidate] absolutely trusts”—to
policy advisor Stephen Miller.390

        No communications or other evidence obtained by the Office indicate that the Trump
Campaign learned that Foresman was reaching out to invite the candidate to the Forum or that the
Campaign otherwise followed up with Foresman until after the election, when he interacted with
the Transition Team as he pursued a possible position in the incoming Administration.391 When
interviewed by the Office, Foresman denied that the specific “approach” from “senior Kremlin
officials” noted in his March 31, 2016 email was anything other than Kobyakov’s invitation to
Roscongress. According to Foresman, the “concrete things” he referenced in the same email were
a combination of the invitation itself, Foresman’s personal perspectives on the invitation and
Russia policy in general, and details of a Ukraine plan supported by a U.S. think tank (EastWest
Institute). Foresman told the Office that Kobyakov had extended similar invitations through him
to another Republican presidential candidate and one other politician. Foresman also said that
Kobyakov had asked Foresman to invite Trump to speak after that other presidential candidate
withdrew from the race and the other politician’s participation did not work out.392 Finally,
Foresman claimed to have no plans to establish a back channel involving Trump, stating the
reference to his involvement in the Bush-Putin back channel was meant to burnish his credentials
to the Campaign. Foresman commented that he had not recognized any of the experts announced
as Trump’s foreign policy team in March 2016, and wanted to secure an in-person meeting with
the candidate to share his professional background and policy views, including that Trump should
decline Kobyakov’s invitation to speak at the Forum.393

                 2. George Papadopoulos

       George Papadopoulos was a foreign policy advisor to the Trump Campaign from March



       388
           See TRUMPORG_16_00137 (4/26/16 Email, Foresman to Graff); TRUMPORG_16_00141
(4/30/16 Email, Foresman to Graff).
       389
           See TRUMPORG_16_00139 (4/27/16 Email, Graff to Foresman); TRUMPORG_16_00137
(4/27/16 Email, Graff to Lewandowski).
       390
          TRUMPORG_16_00142 (5/2/16 Email, Graff to S. Miller); see also TRUMPORG_16_00143
(5/2/16 Email, Graff to S. Miller) (forwarding March 2016 email from Foresman).
       391
            Foresman’s contacts during the transition period are discussed further in Volume I, Section
IV.B.3, infra.
       392
             Foresman 10/17/18 302, at 4.
       393
             Foresman 10/17/18 302, at 8-9.

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2016 to early October 2016.394 In late April 2016, Papadopoulos was told by London-based
professor Joseph Mifsud, immediately after Mifsud’s return from a trip to Moscow, that the
Russian government had obtained “dirt” on candidate Clinton in the form of thousands of emails.
One week later, on May 6, 2016, Papadopoulos suggested to a representative of a foreign
government that the Trump Campaign had received indications from the Russian government that
it could assist the Campaign through the anonymous release of information that would be
damaging to candidate Clinton.

        Papadopoulos shared information about Russian “dirt” with people outside of the
Campaign, and the Office investigated whether he also provided it to a Campaign official.
Papadopoulos and the Campaign officials with whom he interacted told the Office that they did
not recall that Papadopoulos passed them the information. Throughout the relevant period of time
and for several months thereafter, Papadopoulos worked with Mifsud and two Russian nationals
to arrange a meeting between the Campaign and the Russian government. That meeting never
came to pass.

                   a. Origins of Campaign Work

       In March 2016, Papadopoulos became a foreign policy advisor to the Trump Campaign.395
As early as the summer of 2015, he had sought a role as a policy advisor to the Campaign but, in
a September 30, 2015 email, he was told that the Campaign was not hiring policy advisors.396 In
late 2015, Papadopoulos obtained a paid position on the campaign of Republican presidential
candidate Ben Carson.397

        Although Carson remained in the presidential race until early March 2016, Papadopoulos
had stopped actively working for his campaign by early February 2016.398 At that time,
Papadopoulos reached out to a contact at the London Centre of International Law Practice
(LCILP), which billed itself as a “unique institution . . . comprising high-level professional
international law practitioners, dedicated to the advancement of global legal knowledge and the
practice of international law.”399 Papadopoulos said that he had finished his role with the Carson


        394
           Papadopoulos met with our Office for debriefings on several occasions in the summer and fall
of 2017, after he was arrested and charged in a sealed criminal complaint with making false statements in
a January 2017 FBI interview about, inter alia, the timing, extent, and nature of his interactions and
communications with Joseph Mifsud and two Russian nationals: Olga Polonskaya and Ivan Timofeev.
Papadopoulos later pleaded guilty, pursuant to a plea agreement, to an information charging him with
making false statements to the FBI, in violation of 18 U.S.C. § 1001(a).
        395
          A Transcript of Donald Trump’s Meeting with the Washington Post Editorial Board,
Washington Post (Mar. 21, 2016).
        396
          7/15/15 LinkedIn Message, Papadopoulos to Lewandowski (6:57 a.m.); 9/30/15 Email, Glassner
to Papadopoulos (7:42:21 a.m.).
        397
              Papadopoulos 8/10/17 302, at 2.
        398
              Papadopoulos 8/10/17 302, at 2; 2/4/16 Email, Papadopoulos to Idris.
        399
              London Centre of International Law Practice, at https://www.lcilp.org/ (via web.archive.org).

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campaign and asked if LCILP was hiring.400 In early February, Papadopoulos agreed to join
LCILP and arrived in London to begin work.401

        As he was taking his position at LCILP, Papadopoulos contacted Trump campaign manager
Corey Lewandowski via LinkedIn and emailed campaign official Michael Glassner about his
interest in joining the Trump Campaign.402 On March 2, 2016, Papadopoulos sent Glassner
another message reiterating his interest.403 Glassner passed along word of Papadopoulos’s interest
to another campaign official, Joy Lutes, who notified Papadopoulos by email that she had been
told by Glassner to introduce Papadopoulos to Sam Clovis, the Trump Campaign’s national co-
chair and chief policy advisor.404

        At the time of Papadopoulos’s March 2 email, the media was criticizing the Trump
Campaign for lack of experienced foreign policy or national security advisors within its ranks.405
To address that issue, senior Campaign officials asked Clovis to put a foreign policy team together
on short notice.406 After receiving Papadopoulos’s name from Lutes, Clovis performed a Google
search on Papadopoulos, learned that he had worked at the Hudson Institute, and believed that he
had credibility on energy issues.407 On March 3, 2016, Clovis arranged to speak with
Papadopoulos by phone to discuss Papadopoulos joining the Campaign as a foreign policy advisor,
and on March 6, 2016, the two spoke.408 Papadopoulos recalled that Russia was mentioned as a
topic, and he understood from the conversation that Russia would be an important aspect of the
Campaign’s foreign policy.409 At the end of the conversation, Clovis offered Papadopoulos a role
as a foreign policy advisor to the Campaign, and Papadopoulos accepted the offer.410

                   b. Initial Russia-Related Contacts

        Approximately a week after signing on as a foreign policy advisor, Papadopoulos traveled


        400
              2/4/16 Email, Papadopoulos to Idris.
        401
           2/5/16 Email, Idris to Papadopoulos (6:11:25 p.m.); 2/6/16 Email, Idris to Papadopoulos
(5:34:15 p.m.).
        402
          2/4/16 LinkedIn Message, Papadopoulos to Lewandowski (1:28 p.m.); 2/4/16 Email,
Papadopoulos to Glassner (2:10:36 p.m.).
        403
              3/2/16 Email, Papadopoulos to Glassner (11:17:23 a.m.).
        404
              3/2/16 Email, Lutes to Papadopoulos (10:08:15 p.m.).
        405
              Clovis 10/3/17 302 (1 of 2), at 4.
        406
              Clovis 10/3/17 302 (1 of 2), at 4.
        407
              (b) (3)                                     ; 3/3/16 Email, Lutes to Clovis & Papadopoulos   E  
(6:05:47 p.m.).
        408
              3/6/16 Email, Papadopoulos to Clovis (4:24:21 p.m.).
        409
          Statement of Offense ¶ 4, United States v. George Papadopoulos, 1:17-cr-182 (D.D.C. Oct. 5,
2017), Doc. 19 (“Papadopoulos Statement of Offense”).
        410
              Papadopoulos 8/10/17 302, at 2.

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                                                                                      (b)(3)-2, (b)(7)(E)-1
(b)(3)-2, (b)(7)(E)-1
                                                               (b)(7)(E)-2




                                                                                           (b)(7)(E)-2

(b)(7)(E)-2                                                          (b)(7)(E)-2
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        On March 17, 2016, Papadopoulos returned to London.420 Four days later, candidate
Trump publicly named him as a member of the foreign policy and national security advisory team
chaired by Senator Jeff Sessions, describing Papadopoulos as “an oil and energy consultant” and
an “[e]xcellent guy.”421

        On March 24, 2016, Papadopoulos met with Mifsud in London.422 Mifsud was
accompanied by a Russian female named Olga Polonskaya. Mifsud introduced Polonskaya as a
former student of his who had connections to Vladimir Putin.423 Papadopoulos understood at the
time that Polonskaya may have been Putin’s niece but later learned that this was not true.424 During
the meeting, Polonskaya offered to help Papadopoulos establish contacts in Russia and stated that
the Russian ambassador in London was a friend of hers.425 Based on this interaction, Papadopoulos
expected Mifsud and Polonskaya to introduce him to the Russian ambassador in London, but that
did not occur.426

       Following his meeting with Mifsud, Papadopoulos sent an email to members of the Trump
Campaign’s foreign policy advisory team. The subject line of the message was “Meeting with
Russian leadership--including Putin.”427 The message stated in pertinent part:

       I just finished a very productive lunch with a good friend of mine, Joseph Mifsud, the
       director of the London Academy of Diplomacy--who introduced me to both Putin’s niece
       and the Russian Ambassador in London--who also acts as the Deputy Foreign Minister.428

       The topic of the lunch was to arrange a meeting between us and the Russian leadership to
       discuss U.S.-Russia ties under President Trump. They are keen to host us in a “neutral”
       city, or directly in Moscow. They said the leadership, including Putin, is ready to meet with
       us and Mr. Trump should there be interest. Waiting for everyone’s thoughts on moving
       forward with this very important issue.429

       420
             Papadopoulos 8/10/17 302, at 2.
       421
          Phillip Rucker & Robert Costa, Trump Questions Need for NATO, Outlines Noninterventionist
Foreign Policy, Washington Post (Mar. 21, 2016).
       422
             Papadopoulos 8/10/17 302, at 3; 3/24/16 Text Messages, Mifsud & Papadopoulos.
       423
             Papadopoulos 8/10/17 302, at 3.
       424
            Papadopoulos 8/10/17 302, at 3; Papadopoulos 2/10/17 302, at 2-3; Papadopoulos Internet
Search History (3/24/16) (revealing late-morning and early-afternoon searches on March 24, 2016 for
“putin’s niece,” “olga putin,” and “russian president niece olga,” among other terms).
       425
             Papadopoulos 8/10/17 302, at 3.
       426
             Papadopoulos Statement of Offense ¶ 8 n.1.
       427
             3/24/16 Email, Papadopoulos to Page et al. (8:48:21 a.m.).
       428
           Papadopoulos’s statements to the Campaign were false. As noted above, the woman he met was
not Putin’s niece, he had not met the Russian Ambassador in London, and the Ambassador did not also
serve as Russia’s Deputy Foreign Minister.
       429
             3/24/16 Email, Papadopoulos to Page et al. (8:48:21 a.m.).

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       March 31, 2016 Meeting of Foreign Policy Team, with Papadopoulos (Fourth from Right of Candidate Trump)

         During the meeting, each of the newly announced foreign policy advisors introduced
themselves and briefly described their areas of experience or expertise.435 Papadopoulos spoke
about his previous work in the energy sector and then brought up a potential meeting with Russian
officials.436 Specifically, Papadopoulos told the group that he had learned through his contacts in
London that Putin wanted to meet with candidate Trump and that these connections could help
arrange that meeting.437

        Trump and Sessions both reacted to Papadopoulos’s statement. Papadopoulos and
Campaign advisor J.D. Gordon—who told investigators in an interview that he had a “crystal
clear” recollection of the meeting—have stated that Trump was interested in and receptive to the
idea of a meeting with Putin.438 Papadopoulos understood Sessions to be similarly supportive of
his efforts to arrange a meeting.439 Gordon and two other attendees, however, recall that Sessions
generally opposed the proposal, though they differ in their accounts of the concerns he voiced or
the strength of the opposition he expressed.440

                  d. George Papadopoulos Learns That Russia Has “Dirt” in the Form of Clinton
                     Emails

       Whatever Sessions’s precise words at the March 31 meeting, Papadopoulos did not
understand Sessions or anyone else in the Trump Campaign to have directed that he refrain from

       435
             Papadopoulos 8/10/17 302, at 4.
       436
             Papadopoulos 8/10/17 302, at 4.
       437
           Papadopoulos Statement of Offense ¶ 9; see Gordon 8/29/17 302, at 14; Carafano 9/12/17 302,
at 2; Hoskins 9/14/17 302, at 1.
       438
             Papadopoulos 8/10/17 302, at 4-5; Gordon 9/7/17 302, at 4-5.
       439
             Papadopoulos 8/10/17 302, at 5; Papadopoulos 8/11/17 302, at 3.
       440
           Sessions 1/17/18 302, at 17; Gordon 9/7/17 302, at 5; Hoskins 9/14/17 302, at 1; Carafano
9/12/17 302, at 2.

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making further efforts to arrange a meeting between the Campaign and the Russian government.
To the contrary, Papadopoulos told the Office that he understood the Campaign to be supportive
of his efforts to arrange such a meeting.441 Accordingly, when he returned to London,
Papadopoulos resumed those efforts.442

        Throughout April 2016, Papadopoulos continued to correspond with, meet with, and seek
Russia contacts through Mifsud and, at times, Polonskaya.443 For example, within a week of her
initial March 24 meeting with him, Polonskaya attempted to send Papadopoulos a text message—
which email exchanges show to have been drafted or edited by Mifsud—addressing
Papadopoulos’s “wish to engage with the Russian Federation.”444 When Papadopoulos learned
from Mifsud that Polonskaya had tried to message him, he sent her an email seeking another
meeting.445 Polonskaya responded the next day that she was “back in St. Petersburg” but “would
be very pleased to support [Papadopoulos’s] initiatives between our two countries” and “to meet
[him] again.”446 Papadopoulos stated in reply that he thought “a good step” would be to introduce
him to “the Russian Ambassador in London,” and that he would like to talk to the ambassador, “or
anyone else you recommend, about a potential foreign policy trip to Russia.”447

        Mifsud, who had been copied on the email exchanges, replied on the morning of April 11,
2016. He wrote, “This is already been agreed. I am flying to Moscow on the 18th for a Valdai
meeting, plus other meetings at the Duma. We will talk tomorrow.”448 The two bodies referenced
by Mifsud are part of or associated with the Russian government: the Duma is a Russian legislative
assembly,449 while “Valdai” refers to the Valdai Discussion Club, a Moscow-based group that “is
close to Russia’s foreign-policy establishment.”450 Papadopoulos thanked Mifsud and said that he
would see him “tomorrow.”451 For her part, Polonskaya responded that she had “already alerted
my personal links to our conversation and your request,” that “we are all very excited the
possibility of a good relationship with Mr. Trump,” and that “[t]he Russian Federation would love
to welcome him once his candidature would be officially announced.”452

          441
                Papadopoulos 8/10/17 302, at 4-5; Papadopoulos 8/11/17 302, at 3; Papadopoulos 9/20/17 302,
at 2.
          442
                Papadopoulos Statement of Offense ¶ 10.
          443
                Papadopoulos Statement of Offense ¶¶ 10-15.
          444
                3/29/16 Emails, Mifsud to Polonskaya (3:39 a.m. and 5:36 a.m.).
          445
                4/10/16 Email, Papadopoulos to Polonskaya (2:45:59 p.m.).
          446
                4/11/16 Email, Polonskaya to Papadopoulos (3:11:24 a.m.).
          447
                4/11/16 Email, Papadopoulos to Polonskaya (9:21:56 a.m.).
          448
                4/11/16 Email, Mifsud to Papadopoulos (11:43:53).
          449
                Papadopoulos Statement of Offense ¶ 10(c).
          450
           Anton Troianovski, Putin Ally Warns of Arms Race as Russia Considers Response to U.S.
Nuclear Stance, Washington Post (Feb. 10, 2018).
          451
                4/11/16 Email, Papadopoulos to Mifsud (11:51:53 a.m.).
          452
                4/12/16 Email, Polonskaya to Papadopoulos (4:47:06 a.m.).

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       Papadopoulos’s and Mifsud’s mentions of seeing each other “tomorrow” referenced a
meeting that the two had scheduled for the next morning, April 12, 2016, at the Andaz Hotel in
London. Papadopoulos acknowledged the meeting during interviews with the Office,453 and
records from Papadopoulos’s UK cellphone and his internet-search history all indicate that the
meeting took place.454

        Following the meeting, Mifsud traveled as planned to Moscow.455 On April 18, 2016,
while in Russia, Mifsud introduced Papadopoulos over email to Ivan Timofeev, a member of the
Russian International Affairs Council (RIAC).456 Mifsud had described Timofeev as having
connections with the Russian Ministry of Foreign Affairs (MFA),457 the executive entity in Russia
responsible for Russian foreign relations.458 Over the next several weeks, Papadopoulos and
Timofeev had multiple conversations over Skype and email about setting “the groundwork” for a
“potential” meeting between the Campaign and Russian government officials.459 Papadopoulos
told the Office that, on one Skype call, he believed that his conversation with Timofeev was being
monitored or supervised by an unknown third party, because Timofeev spoke in an official manner
and Papadopoulos heard odd noises on the line.460 Timofeev also told Papadopoulos in an April
25, 2016 email that he had just spoken “to Igor Ivanov[,] the President of RIAC and former Foreign
Minister of Russia,” and conveyed Ivanov’s advice about how best to arrange a “Moscow visit.”461

      After a stop in Rome, Mifsud returned to England on April 25, 2016.462 The next day,
Papadopoulos met Mifsud for breakfast at the Andaz Hotel (the same location as their last



        453
              Papadopoulos 9/19/17 302, at 7.
        454
           4/12/16 Email, Mifsud to Papadopoulos (5:44:39 a.m.) (forwarding Libya-related document);
4/12/16 Email, Mifsud to Papadopoulos & Obaid (10:28:20 a.m.); Papadopoulos Internet Search History
(Apr. 11, 2016 10:56:49 p.m.) (search for “andaz hotel liverpool street”); 4/12/16 Text Messages, Mifsud
& Papadopoulos.
        455
              See, e.g., 4/18/16 Email, Mifsud to Papadopoulos (8:04:54 a.m.).
        456
              Papadopoulos 8/10/17 302, at 5.
        457
              Papadopoulos Statement of Offense ¶ 11.
        458
             During the campaign period, Papadopoulos connected over LinkedIn with several MFA-
affiliated individuals in addition to Timofeev. On April 25, 2016, he connected with Dmitry Andreyko,
publicly identified as a First Secretary at the Russian Embassy in Ireland. In July 2016, he connected with
Yuriy Melnik, the spokesperson for the Russian Embassy in Washington and with Alexey Krasilnikov,
publicly identified as a counselor with the MFA. And on September 16, 2016, he connected with Sergei
Nalobin, also identified as an MFA official. See Papadopoulos LinkedIn Connections (b) (7)(A), (b) (7)(E) E  ( 

        459
              Papadopoulos Statement of Offense ¶ 11.
        460
              Papadopoulos 8/10/17 302, at 5; Papadopoulos 9/19/17 302, at 10.
        461
              4/25/16 Email, Timofeev to Papadopoulos (8:16:35 a.m.).
        462
              4/22/16 Email, Mifsud to Papadopoulos (12:41:01 a.m.).

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meeting).463 During that meeting, Mifsud told Papadopoulos that he had met with high-level
Russian government officials during his recent trip to Moscow. Mifsud also said that, on the trip,
he learned that the Russians had obtained “dirt” on candidate Hillary Clinton. As Papadopoulos
later stated to the FBI, Mifsud said that the “dirt” was in the form of “emails of Clinton,” and that
they “have thousands of emails.”464 On May 6, 2016, 10 days after that meeting with Mifsud,
Papadopoulos suggested to a representative of a foreign government that the Trump Campaign had
received indications from the Russian government that it could assist the Campaign through the
anonymous release of information that would be damaging to Hillary Clinton.465

                   e. Russia-Related Communications With The Campaign

         While he was discussing with his foreign contacts a potential meeting of campaign officials
with Russian government officials, Papadopoulos kept campaign officials apprised of his efforts.
On April 25, 2016, the day before Mifsud told Papadopoulos about the emails, Papadopoulos wrote
to senior policy advisor Stephen Miller that “[t]he Russian government has an open invitation by
Putin for Mr. Trump to meet him when he is ready,” and that “[t]he advantage of being in London
is that these governments tend to speak a bit more openly in ‘neutral’ cities.”466 On April 27, 2016,
after his meeting with Mifsud, Papadopoulos wrote a second message to Miller stating that “some
interesting messages [were] coming in from Moscow about a trip when the time is right.”467 The
same day, Papadopoulos sent a similar email to campaign manager Corey Lewandowski, telling
Lewandowski that Papadopoulos had “been receiving a lot of calls over the last month about Putin
wanting to host [Trump] and the team when the time is right.”468

       Papadopoulos’s Russia-related communications with Campaign officials continued
throughout the spring and summer of 2016. On May 4, 2016, he forwarded to Lewandowski an
email from Timofeev raising the possibility of a meeting in Moscow, asking Lewandowski
whether that was “something we want to move forward with.”469 The next day, Papadopoulos
forwarded the same Timofeev email to Sam Clovis, adding to the top of the email “Russia
update.”470 He included the same email in a May 21, 2016 message to senior Campaign official
Paul Manafort, under the subject line “Request from Russia to meet Mr. Trump,” stating that
“Russia has been eager to meet Mr. Trump for quite sometime and have been reaching out to me

        463
              Papadopoulos Statement of Offense ¶ 14; 4/25/16 Text Messages, Mifsud & Papadopoulos.
        464
              Papadopoulos Statement of Offense ¶ 14.
        465
            This information is contained in the FBI case-opening document and related materials. The
information is law-enforcement sensitive (LES) and must be treated accordingly in any external
dissemination. The foreign government conveyed this information to the U.S. government on July 26,
2016, a few days after WikiLeaks’s release of Clinton-related emails. The FBI opened its investigation of
potential coordination between Russia and the Trump Campaign a few days later based on the information.
        466
              4/25/16 Email, Papadopoulos to S. Miller (8:12:44 p.m.).
        467
              4/27/16 Email, Papadopoulos to S. Miller (6:55:58 p.m.).
        468
              4/27/16 Email, Papadopoulos to Lewandowski (7:15:14 p.m.).
        469
              5/4/16 Email, Papadopoulos to Lewandowski (8:14:49 a.m.).
        470
              5/5/16 Email, Papadopoulos to Clovis (7:15:21 p.m.).

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to discuss.”471 Manafort forwarded the message to another Campaign official, without including
Papadopoulos, and stated: “Let[’]s discuss. We need someone to communicate that [Trump] is
not doing these trips. It should be someone low level in the Campaign so as not to send
any signal.”472

       On June 1, 2016, Papadopoulos replied to an earlier email chain with Lewandowski about
a Russia visit, asking if Lewandowski “want[ed] to have a call about this topic” and whether “we
were following up with it.”473 After Lewandowski told Papadopoulos to “connect with” Clovis
because he was “running point,” Papadopoulos emailed Clovis that “the Russian MFA” was asking
him “if Mr. Trump is interested in visiting Russia at some point.”474 Papadopoulos wrote in an
email that he “[w]anted to pass this info along to you for you to decide what’s best to do with it
and what message I should send (or to ignore).”475

        After several email and Skype exchanges with Timofeev,476 Papadopoulos sent one more
email to Lewandowski on June 19, 2016, Lewandowski’s last day as campaign manager.477 The
email stated that “[t]he Russian ministry of foreign affairs” had contacted him and asked whether,
if Mr. Trump could not travel to Russia, a campaign representative such as Papadopoulos could
attend meetings.478 Papadopoulos told Lewandowski that he was “willing to make the trip off the
record if it’s in the interest of Mr. Trump and the campaign to meet specific people.”479

       Following Lewandowski’s departure from the Campaign, Papadopoulos communicated
with Clovis and Walid Phares, another member of the foreign policy advisory team, about an off-
the-record meeting between the Campaign and Russian government officials or with
Papadopoulos’s other Russia connections, Mifsud and Timofeev.480 Papadopoulos also interacted

       471
             5/21/16 Email, Papadopoulos to Manafort (2:30:14 p.m.).
       472
             Papadopoulos Statement of Offense ¶ 19 n.2.
       473
             6/1/16 Email, Papadopoulos to Lewandowski (3:08:18 p.m.).
       474
           6/1/16 Email, Lewandowski to Papadopoulos (3:20:03 p.m.); 6/1/16 Email, Papadopoulos to
Clovis (3:29:14 p.m.).
       475
            6/1/16 Email, Papadopoulos to Clovis (3:29:14 p.m.). Papadopoulos’s email coincided in time
with another message to Clovis suggesting a Trump-Putin meeting. First, on May 15, 2016, David Klein—
a distant relative of then-Trump Organization lawyer Jason Greenblatt—emailed Clovis about a potential
Campaign meeting with Berel Lazar, the Chief Rabbi of Russia. The email stated that Klein had contacted
Lazar in February about a possible Trump-Putin meeting and that Lazar was “a very close confidante of
Putin.” DJTFP00011547 (5/15/16 Email, Klein to Clovis (5:45:24 p.m.)). The investigation did not find
evidence that Clovis responded to Klein’s email or that any further contacts of significance came out of
Klein’s subsequent meeting with Greenblatt and Rabbi Lazar at Trump Tower. Klein 8/30/18 302, at 2.
       476
             Papadopoulos Statement of Offense ¶ 21(a).
       477
             (b) (3)                                                                                       E  
       478
             6/19/16 Email, Papadopoulos to Lewandowski (1:11:11 p.m.).
       479
             6/19/16 Email, Papadopoulos to Lewandowski (1:11:11 p.m.).
       480
           Papadopoulos Statement of Offense ¶ 21; 7/14/16 Email, Papadopoulos to Timofeev (11:57:24
p.m.); 7/15/16 Email, Papadopoulos to Mifsud; 7/27/16 Email, Papadopoulos to Mifsud (2:14:18 p.m.).

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directly with Clovis and Phares in connection with the summit of the Transatlantic Parliamentary
Group on Counterterrorism (TAG), a group for which Phares was co-secretary general.481 On July
16, 2016, Papadopoulos attended the TAG summit in Washington, D.C., where he sat next to
Clovis (as reflected in the photograph below).482




                         George Papadopoulos (far right) and Sam Clovis (second from right)

        Although Clovis claimed to have no recollection of attending the TAG summit,483
Papadopoulos remembered discussing Russia and a foreign policy trip with Clovis and Phares
during the event.484 Papadopoulos’s recollection is consistent with emails sent before and after
the TAG summit. The pre-summit messages included a July 11, 2016 email in which Phares
suggested meeting Papadopoulos the day after the summit to chat,485 and a July 12 message in the
same chain in which Phares advised Papadopoulos that other summit attendees “are very nervous
about Russia. So be aware.”486 Ten days after the summit, Papadopoulos sent an email to Mifsud
listing Phares and Clovis as other “participants” in a potential meeting at the London Academy of
Diplomacy.487

       Finally, Papadopoulos’s recollection is also consistent with handwritten notes from a


       481
           Papadopoulos 9/19/17 302, at 16-17; 9th TAG Summit in Washington DC, Transatlantic
Parliament Group on Counter Terrorism.
       482
             9th TAG Summit in Washington DC, Transatlantic Parliament Group on Counter Terrorism.
       483
             (b) (3)                                                                                 E  
       484
             Papadopoulos 9/19/17 302, at 16-17.
       485
             7/11/16 Email, Phares to Papadopoulos.
       486
             7/12/16 Email, Phares to Papadopoulos (14:52:29).
       487
             7/27/16 Email, Papadopoulos to Mifsud (14:14:18).

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outreach to Russian-Americans” because “too many articles” had already portrayed the Campaign,
then-campaign chairman Paul Manafort, and candidate Trump as “being pro-Russian.”508

        On August 23, 2016, Millian sent a Facebook message to Papadopoulos promising that he
would “share with you a disruptive technology that might be instrumental in your political work
for the campaign.”509 Papadopoulos claimed to have no recollection of this matter.510

        On November 9, 2016, shortly after the election, Papadopoulos arranged to meet Millian
in Chicago to discuss business opportunities, including potential work with Russian “billionaires
who are not under sanctions.”511 The meeting took place on November 14, 2016, at the Trump
Hotel and Tower in Chicago.512 According to Papadopoulos, the two men discussed partnering on
business deals, but Papadopoulos perceived that Millian’s attitude toward him changed when
Papadopoulos stated that he was only pursuing private-sector opportunities and was not interested
in a job in the Administration.513 The two remained in contact, however, and had extended online
discussions about possible business opportunities in Russia.514 The two also arranged to meet at a
Washington, D.C. bar when both attended Trump’s inauguration in late January 2017.515

                 3. Carter Page

        Carter Page worked for the Trump Campaign from January 2016 to September 2016. He
was formally and publicly announced as a foreign policy advisor by the candidate in March
2016.516 Page had lived and worked in Russia, and he had been approached by Russian intelligence
officers several years before he volunteered for the Trump Campaign. During his time with the
Campaign, Page advocated pro-Russia foreign policy positions and traveled to Moscow in his
personal capacity. Russian intelligence officials had formed relationships with Page in 2008 and
2013 and Russian officials may have focused on Page in 2016 because of his affiliation with the
Campaign. However, the investigation did not establish that Page coordinated with the Russian
government in its efforts to interfere with the 2016 presidential election.




       508
             7/31/16 Email, Denysyk to Papadopoulos (21:54:52).
       509
             8/23/16 Facebook Message, Millian to Papadopoulos (2:55:36 a.m.).
       510
             Papadopoulos 9/20/17 302, at 2.
       511
             11/10/16 Facebook Message, Millian to Papadopoulos (9:35:05 p.m.).
       512
             11/14/16 Facebook Message, Millian to Papadopoulos (1:32:11 a.m.).
       513
             Papadopoulos 9/19/17 302, at 19.
       514
          E.g., 11/29/16 Facebook Messages, Papadopoulos & Millian (5:09 - 5:11 p.m.); 12/7/16
Facebook Message, Millian to Papadopoulos (5:10:54 p.m.).
       515
             1/20/17 Facebook Messages, Papadopoulos & Millian (4:37-4:39 a.m.).
       516
           Page was interviewed by the FBI during five meetings in March 2017, before the Special
Counsel’s appointment. (b) (3)                                                                       E  

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Gazprom thinking that if they have a project, he could . . . rise up. Maybe he can. . . . [I]t’s obvious
that he wants to earn lots of money.”529 Podobnyy said that he had led Page on by “feed[ing] him
empty promises” that Podobnyy would use his Russian business connections to help Page.530
Podobnyy told the other intelligence officer that his method of recruiting foreign sources was to
promise them favors and then discard them once he obtained relevant information from them.531

        In 2015, Podobnyy and two other Russian intelligence officers were charged with
conspiracy to act as an unregistered agent of a foreign government.532 The criminal complaint
detailed Podobnyy’s interactions with and conversations about Page, who was identified only as
“Male-1.”533 Based on the criminal complaint’s description of the interactions, Page was aware
that he was the individual described as “Male-1.”534 Page later spoke with a Russian government
official at the United Nations General Assembly and identified himself so that the official would
understand he was “Male-1” from the Podobnyy complaint.535 Page told the official that he “didn’t
do anything” (b) (3)                                                        .536                           E  

        In interviews with the FBI before the Office’s opening, Page acknowledged that he
understood that the individuals he had associated with were members of the Russian intelligence
services, but he stated that he had only provided immaterial non-public information to them and
that he did not view this relationship as a backchannel.537 Page told investigating agents that “the
more immaterial non-public information I give them, the better for this country.”538

                  b. Origins of and Early Campaign Work

        In January 2016, Page began volunteering on an informal, unpaid basis for the Trump
Campaign after Ed Cox, a state Republican Party official, introduced Page to Trump Campaign
officials.539 Page told the Office that his goal in working on the Campaign was to help candidate
Trump improve relations with Russia.540 To that end, Page emailed Campaign officials offering
his thoughts on U.S.-Russia relations, prepared talking points and briefing memos on Russia, and

       529
             Buryakov Complaint.
       530
             Buryakov Complaint.
       531
             Buryakov Complaint.
       532
           See Buryakov Complaint; see also Indictment, United States v. Buryakov, 1:15-cr-73 (S.D.N.Y.
                                                                                                           E  
Feb. 9, 2015), Doc. 10; (b) (3)
       533
             Buryakov Complaint ¶¶ 32-34; (b) (3)                                  E  
       534
             (b) (3)                                      E  
       535
             Page 3/16/17 302, at 4; (b) (3)                                  E  
       536
             Page 3/16/17 302, at 4; (b) (3)                                 E  
       537
             Page 3/30/17 302, at 6; Page 3/31/17 302, at 1.
       538
             Page 3/31/17 302, at 1.
       539
             Page 3/16/17 302, at 1; (b) (3)                              E  
       540
             Page 3/10/17 302, at 2.

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New Economic School (NES) in Moscow.550 The NES commencement ceremony generally
featured high-profile speakers; for example, President Barack Obama delivered a commencement
address at the school in 2009.551 NES officials told the Office that the interest in inviting Page to
speak at NES was based entirely on his status as a Trump Campaign advisor who served as the
candidate’s Russia expert.552 Andrej Krickovic, an associate of Page’s and assistant professor at
the Higher School of Economics in Russia, recommended that NES rector Shlomo Weber invite
Page to give the commencement address based on his connection to the Trump Campaign.553
Denis Klimentov, an employee of NES, said that when Russians learned of Page’s involvement in
the Trump Campaign in March 2016, the excitement was palpable.554 Weber recalled that in
summer 2016 there was substantial interest in the Trump Campaign in Moscow, and he felt that
bringing a member of the Campaign to the school would be beneficial.555

        Page was eager to accept the invitation to speak at NES, and he sought approval from
Trump Campaign officials to make the trip to Russia.556 On May 16, 2016, while that request was
still under consideration, Page emailed Clovis, J.D. Gordon, and Walid Phares and suggested that
candidate Trump take his place speaking at the commencement ceremony in Moscow.557 On June
19, 2016, Page followed up again to request approval to speak at the NES event and to reiterate
that NES “would love to have Mr. Trump speak at this annual celebration” in Page’s place.558
Campaign manager Corey Lewandowski responded the same day, saying, “If you want to do this,
it would be out side [sic] of your role with the DJT for President campaign. I am certain Mr.
Trump will not be able to attend.”559

       In early July 2016, Page traveled to Russia for the NES events. On July 5, 2016, Denis
Klimentov, copying his brother, Dmitri Klimentov,560 emailed Maria Zakharova, the Director of
the Russian Ministry of Foreign Affairs’ Information and Press Department, about Page’s visit and
his connection to the Trump Campaign.561 Denis Klimentov said in the email that he wanted to
draw the Russian government’s attention to Page’s visit in Moscow.562 His message to Zakharova

          550
                Page 3/16/17 302, at 2-3; Page 3/10/17 302, at 3.
          551
                S. Weber 7/28/17 302, at 3.
          552
                Y. Weber 6/1/17 302, at 4-5; S. Weber 7/28/17 302, at 3.
          553
                See Y. Weber 6/1/17 302, at 4; S. Weber 7/28/17 302, at 3.
          554
                De. Klimentov 6/9/17 302, at 2.
          555
                S. Weber 7/28/17 302, at 3.
          556
                See 5/16/16 Email, Page to Phares et al. (referring to submission of a “campaign advisor request
form”).
          557
                (b) (3)                                 5/16/16 Email, Page to Phares et al.                       E  
          558
                6/19/16 Email, Page to Gordon et al.
          559
                6/19/16 Email, Lewandowski to Page et al.
          560
                Dmitri Klimentov is a New York-based public relations consultant.
          561
                7/5/16 Email, Klimentov to Zakharova (translated).
          562
                7/5/16 Email, Klimentov to Zakharova (translated).

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Peace.597 Simes personally has many contacts with current and former Russian government
officials,598 as does CNI collectively. As CNI stated when seeking a grant from the Carnegie
Corporation in 2015, CNI has “unparalleled access to Russian officials and politicians among
Washington think tanks,”599 in part because CNI has arranged for U.S. delegations to visit Russia
and for Russian delegations to visit the United States as part of so-called “Track II” diplomatic
efforts.600

        On March 14, 2016, CNI board member Richard Plepler organized a luncheon for CNI and
its honorary chairman, Henry Kissinger, at the Time Warner Building in New York.601 The idea
behind the event was to generate interest in CNI’s work and recruit new board members for CNI.602
Along with Simes, attendees at the event included Jared Kushner, son-in-law of candidate
Trump.603 Kushner told the Office that the event came at a time when the Trump Campaign was
having trouble securing support from experienced foreign policy professionals and that, as a result,
he decided to seek Simes’s assistance during the March 14 event.604

        Simes and Kushner spoke again on a March 24, 2016 telephone call,605 three days after
Trump had publicly named the team of foreign policy advisors that had been put together on short
notice.606 On March 31, 2016, Simes and Kushner had an in-person, one-on-one meeting in
Kushner’s New York office.607 During that meeting, Simes told Kushner that the best way to
handle foreign-policy issues for the Trump Campaign would be to organize an advisory group of
experts to meet with candidate Trump and develop a foreign policy approach that was consistent
with Trump’s voice.608 Simes believed that Kushner was receptive to that suggestion.609

       Simes also had contact with other individuals associated with the Trump Campaign
regarding the Campaign’s foreign policy positions. For example, on June 17, 2016, Simes sent
J.D. Gordon an email with a “memo to Senator Sessions that we discussed at our recent meeting”

       597
             Simes 3/8/18 302, at 1-2; Simes 3/27/18 302, at 19.
       598
             Simes 3/27/18 302, at 10-15.
       599
             C00011656 (Rethinking U.S.-Russia Relations, CNI (Apr. 18, 2015)).
       600
             Simes 3/8/18 302, at 5; Saunders 2/15/18 302, at 29-30; Zakheim 1/25/18 302, at 3.
       601
            Simes 3/8/18 302, at 6; C00006784 (3/11/16 Email, Gilbride to Saunders (3:43:12 p.m.); cf.
Zakheim 1/25/18 302, at 1 (Kissinger was CNI’s “Honorary Chairman of the Board”); Boyd 1/24/18 302,
at 2; P. Sanders 2/15/18 302, at 5.
       602
             Simes 3/8/18 302, at 5-6; Simes 3/27/18 302, at 2.
       603
             Simes 3/8/18 302, at 6; Kushner 4/11/18 302 at 2.
       604
             Kushner 4/11/18 302, at 2.
       605
             Simes 3/8/18 302, at 6-7.
       606
             (b) (3)                               see Volume I, Section IV.A.2, supra.
                                                                                                         E  
       607
             Simes 3/8/18 302, at 7-9.
       608
             Simes 3/8/18 302, at 7-8.
       609
             Simes 3/8/18 302, at 8; see also Boyd 1/24/18 302, at 2.

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and asked Gordon to both read it and share it with Sessions. The memorandum proposed building
a “small and carefully selected group of experts” to assist Sessions with the Campaign, operating
under the assumption “that Hillary Clinton is very vulnerable on national security and foreign
policy issues.” The memorandum outlined key issues for the Campaign, including a “new
beginning with Russia.”610

                   b. National Interest Hosts a Foreign Policy Speech at the Mayflower Hotel

        During both their March 24 phone call and their March 31 in-person meeting, Simes and
Kushner discussed the possibility of CNI hosting a foreign policy speech by candidate Trump.611
Following those conversations, Simes agreed that he and others associated with CNI would
provide behind-the-scenes input on the substance of the foreign-policy speech and that CNI
officials would coordinate the logistics of the speech with Sessions and his staff, including
Sessions’s chief of staff, Rick Dearborn.612

        In mid-April 2016, Kushner put Simes in contact with senior policy advisor Stephen Miller
and forwarded to Simes an outline of the foreign-policy speech that Miller had prepared.613 Simes
sent back to the Campaign bullet points with ideas for the speech that he had drafted with CNI
Executive Director Paul Saunders and board member Richard Burt.614 Simes received subsequent
draft outlines from Miller, and he and Saunders spoke to Miller by phone about substantive
changes to the speech.615 It is not clear, however, whether CNI officials received an actual draft
of the speech for comment; while Saunders recalled having received an actual draft, Simes did not,
and the emails that CNI produced to this Office do not contain such a draft.616

        After board members expressed concern to Simes that CNI’s hosting the speech could be
perceived as an endorsement of a particular candidate, CNI decided to have its publication, the
National Interest, serve as the host and to have the event at the National Press Club.617 Kushner
later requested that the event be moved to the Mayflower Hotel, which was another venue that
Simes had mentioned during initial discussions with the Campaign, in order to address concerns
about security and capacity.618


        610
              C00008187 (6/17/16 Email, Simes to Gordon (3:35:45 p.m.)).
        611
              Simes 3/8/18 302, at 7.
        612
              Simes 3/8/18 302, at 8-11; C00008923 (4/6/16 Email, Simes to Burt (2:22:28 p.m.)); Burt 2/9/18
302, at 7.
        613
           C00008551 (4/17/16 Email, Kushner to Simes (2:44:25 p.m.)); C00006759 (4/14/16 Email
Kushner to Simes & S. Miller (12:30 p.m.)).
        614
              Burt 2/9/18 302, at 7; Saunders 2/15/18 302, at 7-8.
        615
              Simes 3/8/18 302, at 13; Saunders 2/15/18 302, at 7-8.
        616
              Simes 3/8/18 302, at 13; Saunders 2/15/18 302, at 7-8.
        617
            Saunders 2/15/18 302, at 8; Simes 3/8/18 302, at 12; C00003834-43 (4/22/16 Email, Simes to
Boyd et al. (8:47 a.m.)).
        618
              Simes 3/8/18 302, at 12, 18; Saunders 2/15/18 302, at 11.

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       On April 25, 2016, Saunders booked event rooms at the Mayflower to host both the speech
and a VIP reception that was to be held beforehand.619 Saunders understood that the reception—
at which invitees would have the chance to meet candidate Trump—would be a small event.620
Saunders decided who would attend by looking at the list of CNI’s invitees to the speech itself and
then choosing a subset for the reception.621 CNI’s invitees to the reception included Sessions and
Kislyak.622 The week before the speech Simes had informed Kislyak that he would be invited to
the speech, and that he would have the opportunity to meet Trump.623

        When the pre-speech reception began on April 27, a receiving line was quickly organized
so that attendees could meet Trump.624 Sessions first stood next to Trump to introduce him to the
members of Congress who were in attendance.625 After those members had been introduced,
Simes stood next to Trump and introduced him to the CNI invitees in attendance, including
Kislyak.626 Simes perceived the introduction to be positive and friendly, but thought it clear that
Kislyak and Trump had just met for the first time.627 Kislyak also met Kushner during the pre-
speech reception. The two shook hands and chatted for a minute or two, during which Kushner
recalled Kislyak saying, “we like what your candidate is saying . . . it’s refreshing.”628

         Several public reports state that, in addition to speaking to Kushner at the pre-speech
reception, Kislyak also met or conversed with Sessions at that time.629 Sessions stated to
investigators, however, that he did not remember any such conversation.630 Nor did anyone else
affiliated with CNI or the National Interest specifically recall a conversation or meeting between
Sessions and Kislyak at the pre-speech reception.631 It appears that, if a conversation occurred at
the pre-speech reception, it was a brief one conducted in public view, similar to the exchange
between Kushner and Kislyak.

        619
              Saunders 2/15/18 302, at 11-12; C00006651-57 (Mayflower Group Sales Agreement).
        620
              Saunders 2/15/18 302, at 12-13.
        621
              Saunders 2/15/18 302, at 12.
        622
              C00002575 (Attendee List); C00008536 (4/25/16 Email, Simes to Kushner (4:53:45 p.m.)).
        623
              Simes 3/8/18 302, at 19-20.
        624
              Simes 3/8/18 302, at 21.
        625
              Simes 3/8/18 302, at 21.
        626
              Simes 3/8/18 302, at 21.
        627
              Simes 3/8/18 302, at 21.
        628
              Kushner 4/11/18 302, at 4.
        629
           See, e.g., Ken Dilanian, Did Trump, Kushner, Sessions Have an Undisclosed Meeting With
Russian?, NBC News (June 1, 2016); Julia Ioffe, Why Did Jeff Sessions Really Meet With Sergey Kislyak,
The Atlantic (June 13, 2017).
        630
              Sessions 1/17/18 302, at 22.
        631
           Simes 3/8/18 302, at 21; Saunders 2/15/18 302, at 14, 21; Boyd 1/24/18 302, at 3-4; Heilbrunn
2/1/18 302, at 6; Statement Regarding President Trump’s April 27, 2016 Foreign Policy Speech at the
Center for the National Interest, CNI (Mar. 8, 2017).

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        The Office found no evidence that Kislyak conversed with either Trump or Sessions after
the speech, or would have had the opportunity to do so. Simes, for example, did not recall seeing
Kislyak at the post-speech luncheon,632 and the only witness who accounted for Sessions’s
whereabouts stated that Sessions may have spoken to the press after the event but then departed
for Capitol Hill.633 Saunders recalled, based in part on a food-related request he received from a
Campaign staff member, that Trump left the hotel a few minutes after the speech to go to the
airport.634

                   c. Jeff Sessions’s Post-Speech Interactions with CNI

        In the wake of Sessions’s confirmation hearings as Attorney General, questions arose about
whether Sessions’s campaign-period interactions with CNI apart from the Mayflower speech
included any additional meetings with Ambassador Kislyak or involved Russian-related matters.
With respect to Kislyak contacts, on May 23, 2016, Sessions attended CNI’s Distinguished Service
Award dinner at the Four Seasons Hotel in Washington, D.C.635 Sessions attended a pre-dinner
reception and was seated at one of two head tables for the event.636 A seating chart prepared by
Saunders indicates that Sessions was scheduled to be seated next to Kislyak, who appears to have
responded to the invitation by indicating he would attend the event.637 Sessions, however, did not
remember seeing, speaking with, or sitting next to Kislyak at the dinner.638 Although CNI board
member Charles Boyd said he may have seen Kislyak at the dinner,639 Simes, Saunders, and Jacob
Heilbrunn—editor of the National Interest—all had no recollection of seeing Kislyak at the May
23 event.640 Kislyak also does not appear in any of the photos from the event that the Office
obtained.

         In the summer of 2016, CNI organized at least two dinners in Washington, D.C. for
Sessions to meet with experienced foreign policy professionals.641 The dinners included CNI-
affiliated individuals, such as Richard Burt and Zalmay Khalilzad, a former U.S. ambassador to
Afghanistan and Iraq and the person who had introduced Trump before the April 27, 2016 foreign-


        632
              Simes 3/8/18 302, at 22; Heilbrunn 2/1/18 302, at 7.
        633
              Luff 1/30/18 302, at 4.
        634
              Saunders 2/15/18 302, at 15.
        635
              Sessions 1/17/18 302, at 22; Saunders 2/15/18 302, at 17.
        636
           Saunders 2/15/18 302, at 17; C00004779-80 (5/23/16 Email, Cantelmo to Saunders & Hagberg
(9:30:12 a.m.); C00004362 (5/23/16 Email, Bauman to Cantelmo et al. (2:02:32 a.m.).
        637
              C00004362 (5/23/16 Email Bauman to Cantelmo et al. (2:02:32 a.m.).
        638
              Sessions 1/17/18 302, at 22.
        639
              Boyd 1/24/18 302, at 4.
        640
              Simes 3/8/18 302, at 23; Saunders 2/15/18 302, at 18; Heilbrunn 2/1/18 302, at 7.
        641
              Simes 3/8/18 302, at 31; Saunders 2/15/18 302, at 19; Burt 2/9/18 302, at 9-10; Khalilzad 1/9/18
302, at 5.

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policy speech.642 Khalilzad also met with Sessions one-on-one separately from the dinners.643 At
the dinners and in the meetings, the participants addressed U.S. relations with Russia, including
how U.S. relations with NATO and European countries affected U.S. policy toward Russia.644 But
the discussions were not exclusively focused on Russia.645 Khalilzad, for example, recalled
discussing “nation-building” and violent extremism with Sessions.646 In addition, Sessions asked
Saunders (of CNI) to draft two memoranda not specific to Russia: one on Hillary Clinton’s foreign
policy shortcomings and another on Egypt.647

                   d. Jared Kushner’s Continuing Contacts with Simes

        Between the April 2016 speech at the Mayflower Hotel and the presidential election, Jared
Kushner had periodic contacts with Simes.648 Those contacts consisted of both in-person meetings
and phone conversations, which concerned how to address issues relating to Russia in the
Campaign and how to move forward with the advisory group of foreign policy experts that Simes
had proposed.649 Simes recalled that he, not Kushner, initiated all conversations about Russia, and
that Kushner never asked him to set up back-channel conversations with Russians.650 According
to Simes, after the Mayflower speech in late April, Simes raised the issue of Russian contacts with
Kushner, advised that it was bad optics for the Campaign to develop hidden Russian contacts, and
told Kushner both that the Campaign should not highlight Russia as an issue and should handle
any contacts with Russians with care.651 Kushner generally provided a similar account of his
interactions with Simes.652

       Among the Kushner-Simes meetings was one held on August 17, 2016, at Simes’s request,
in Kushner’s New York office. The meeting was to address foreign policy advice that CNI was
providing and how to respond to the Clinton Campaign’s Russia-related attacks on candidate

        642
              Burt 2/9/18 302, at 9-10; Khalilzad 1/9/18 302, at 1-2, 5.
        643
              Khalilzad 1/9/18 302, at 5-6.
        644
              Simes 3/8/18 302, at 31; Burt 2/9/18 302, at 9-10; Khalilzad 1/9/18 302, at 5.
        645
              Saunders 2/15/18 302, at 20.
        646
              Khalilzad 1/9/18 302, at 6.
        647
              Saunders 2/15/18 302, at 19-20.
        648
              Simes 3/8/18 302, at 27.
        649
              Simes 3/8/18 302, at 27.
        650
              Simes 3/8/18 302, at 27.
        651
            Simes 3/8/18 302, at 27. During this period of time, the Campaign received a request for a high-
level Campaign official to meet with an officer at a Russian state-owned bank “to discuss an offer [that
officer] claims to be carrying from President Putin to meet with” candidate Trump. NOSC00005653
(5/17/16 Email, Dearborn to Kushner (8:12 a.m.)). Copying Manafort and Gates, Kushner responded, “Pass
on this. A lot of people come claiming to carry messages. Very few are able to verify. For now I think we
decline such meetings. Most likely these people go back home and claim they have special access to gain
importance for themselves. Be careful.” NOSC00005653 (5/17/16 Email, Kushner to Dearborn).
        652
              Kushner 4/11/18 302, at 11-13.

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reaction, Simes believed that he provided the same information at a small group meeting of foreign
policy experts that CNI organized for Sessions.663

                     5. June 9, 2016 Meeting at Trump Tower

        On June 9, 2016, senior representatives of the Trump Campaign met in Trump Tower with
a Russian attorney expecting to receive derogatory information about Hillary Clinton from the
Russian government. The meeting was proposed to Donald Trump Jr. in an email from Robert
Goldstone, at the request of his then-client Emin Agalarov, the son of Russian real-estate developer
Aras Agalarov. Goldstone relayed to Trump Jr. that the “Crown prosecutor of Russia . . . offered
to provide the Trump Campaign with some official documents and information that would
incriminate Hillary and her dealings with Russia” as “part of Russia and its government’s support
for Mr. Trump.” Trump Jr. immediately responded that “if it’s what you say I love it,” and arranged
the meeting through a series of emails and telephone calls.

        Trump Jr. invited campaign chairman Paul Manafort and senior advisor Jared Kushner to
attend the meeting, and both attended. Members of the Campaign discussed the meeting before it
occurred, and Michael Cohen recalled that Trump Jr. may have told candidate Trump about an
upcoming meeting to receive adverse information about Clinton, without linking the meeting to
Russia. According to written answers submitted by President Trump, he has no recollection of
learning of the meeting at the time, and the Office found no documentary evidence showing that he
was made aware of the meeting—or its Russian connection—before it occurred.

        The Russian attorney who spoke at the meeting, Natalia Veselnitskaya, had previously
worked for the Russian government and maintained a relationship with that government throughout
this period of time. She claimed that funds derived from illegal activities in Russia were provided
to Hillary Clinton and other Democrats. Trump Jr. requested evidence to support those claims, but
Veselnitskaya did not provide such information. She and her associates then turned to a critique of
the origins of the Magnitsky Act, a 2012 statute that imposed financial and travel sanctions on
Russian officials and that resulted in a retaliatory ban on adoptions of Russian children. Trump Jr.
suggested that the issue could be revisited when and if candidate Trump was elected. After the
election, Veselnitskaya made additional efforts to follow up on the meeting, but the Trump
Transition Team did not engage.

                     a. Setting Up the June 9 Meeting

                          i. Outreach to Donald Trump Jr.

       Aras Agalarov is a Russian real-estate developer with ties to Putin and other members of
the Russian government, including Russia’s Prosecutor General, Yuri Chaika.664 Aras Agalarov
is the president of the Crocus Group, a Russian enterprise that holds substantial Russian
government construction contracts and that—as discussed above, Volume I, Section IV.A.1, supra

          663
                Simes 3/8/18 302, at 30.
          664
                (b) (3)                                                        Goldstone 2/8/18 302, E  
at 4.

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(b) (3)                                                                                   675                  E  

        The (b) (3)                                 mentioned by Emin Agalarov was Natalia E  
               676
Veselnitskaya. From approximately 1998 until 2001, Veselnitskaya worked as a prosecutor for
the Central Administrative District of the Russian Prosecutor’s Office,677 and she continued to
perform government-related work and maintain ties to the Russian government following her
departure.678 She lobbied and testified about the Magnitsky Act, which imposed financial
sanctions and travel restrictions on Russian officials and which was named for a Russian tax
specialist who exposed a fraud and later died in a Russian prison.679 Putin called the statute “a
purely political, unfriendly act,” and Russia responded by barring a list of current and former U.S.
officials from entering Russia and by halting the adoption of Russian children by U.S. citizens.680
Veselnitskaya performed legal work for Denis Katsyv,681 the son of Russian businessman Peter
Katsyv, and for his company Prevezon Holdings Ltd., which was a defendant in a civil-forfeiture
action alleging the laundering of proceeds from the fraud exposed by Magnitsky.682 She also
          675
                (b) (3)                                                                                        E  
          676
           In December 2018, a grand jury in the Southern District of New York returned an indictment
charging Veselnitskaya with obstructing the Prevezon litigation discussed in the text above. See Indictment,
United States v. Natalia Vladimirovna Veselnitskaya, No. 18-cr-904 (S.D.N.Y.). The indictment alleges,
among other things, that Veselnitskaya lied to the district court about her relationship to the Russian
Prosecutor General’s Office and her involvement in responding to a U.S. document request sent to the
Russian government.
          677
                Veselnitskaya 11/20/17 Statement to the Senate Committee on the Judiciary, at 2; (b) (3)       E  

          678
           Testimony of Natalia Veselnitskaya Before the Senate Committee on Judiciary (Nov. 20, 2017)
at 33; Keir Simmons & Rachel Elbaum, Russian Lawyer Veselnitskaya Says She Didn’t Give Trump Jr.
Info on Clinton, NBC News (July 11, 2017); Maria Tsvetkova & Jack Stubbs, Moscow Lawyer Who Met
Trump Jr. Had Russian Spy Agency As Client, Reuters (July 21, 2017); Andrew E. Kramer & Sharon
LaFraniere, Lawyer Who Was Said to Have Dirt on Clinton Had Closer Ties to Kremlin than She Let On,
New York Times (Apr. 27, 2018).
          679
           See Pub. L. No. 112-208 §§ 402, 404(a)(1), 126 Stat. 1502, 1502-1506. Sergei Magnitsky was
a Russian tax specialist who worked for William Browder, a former investment fund manager in Russia.
Browder hired Magnitsky to investigate tax fraud by Russian officials, and Magnitsky was charged with
helping Browder embezzle money. After Magnitsky died in a Russian prison, Browder lobbied Congress
to pass the Magnitsky Act. See, e.g., Andrew E. Kramer, Turning Tables in Magnitsky Case, Russia
Accuses Nemesis of Murder, New York Times (Oct. 22, 2017); Testimony of Natalia Veselnitskaya Before
the Senate Committee on Judiciary (Nov. 20, 2017), Exhibits at 1-4; Rosie Gray, Bill Browder’s Testimony
to the Senate Judiciary Committee, The Atlantic (July 25, 2017).
          680
         Ellen Barry, Russia Bars 18 Americans After Sanctions by US, New York Times (Apr. 13, 2013);
Tom Porter, Supporters of the Magnitsky Act Claim They’ve Been Targets of Russian Assassination and
Kidnapping Bids, Newsweek (July 16, 2017).
          681
                Testimony of Natalia Veselnitskaya Before the Senate Committee on Judiciary (Nov. 20, 2017),
at 21.
          682
          See Veselnitskaya Decl., United States v. Prevezon Holdings, Ltd., No. 13-cv-6326 (S.D.N.Y.);
see Prevezon Holdings, Second Amended Complaint; Prevezon Holdings, Mem. and Order; Prevezon
Holdings, Deposition of Oleg Lurie.

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appears to have been involved in an April 2016 approach to a U.S. congressional delegation in
Moscow offering “confidential information” from “the Prosecutor General of Russia” about
“interactions between certain political forces in our two countries.”683

        Shortly after his June 3 call with Emin Agalarov, Goldstone emailed Trump Jr.684 The
email stated:




Within minutes of this email, Trump Jr. responded, emailing back: “Thanks Rob I appreciate that.
I am on the road at the moment but perhaps I just speak to Emin first. Seems we have some time
and if it’s what you say I love it especially later in the summer. Could we do a call first thing next
week when I am back?”685 Goldstone conveyed Trump Jr.’s interest to Emin Agalarov, emailing
that Trump Jr. “wants to speak personally on the issue.”686

       On June 6, 2016, Emin Agalarov asked Goldstone if there was “[a]ny news,” and Goldstone
explained that Trump Jr. was likely still traveling for the “final elections . . . where [T]rump will
be ‘crowned’ the official nominee.”687 On the same day, Goldstone again emailed Trump Jr. and
asked when Trump Jr. was “free to talk with Emin about this Hillary info.”688 Trump Jr. asked if




       683
           See Gribbin 8/31/17 302, at 1-2 & 1A (undated one-page document given to congressional
delegation). The Russian Prosecutor General is an official with broad national responsibilities in the
Russian legal system. See Federal Law on the Prosecutor’s Office of the Russian Federation (1992,
amended 2004).
       684
          RG000061 (6/3/16 Email, Goldstone to Trump Jr.); DJTJR00446 (6/3/16 Email, Goldstone to
Donald Trump Jr.); @DonaldJTrumpJr 07/11/17 (11:00) Tweet.
       685
         DJTJR00446 (6/3/16 Email, Trump Jr. to Goldstone); @DonaldJTrumpJr 07/11/17 (11:00)
Tweet; RG000061 (6/3/16 Email, Trump Jr. to Goldstone).
       686
             (b) (3)                              RG000062 (6/3/16 Email, Goldstone & Trump Jr.).        E  
       687
          RG000063 (6/6/16 Email, A. Agalarov to Goldstone); RG000064 (6/6/16 Email, Goldstone to
A. Agalarov).
       688
              RG000065 (6/6/16 Email, Goldstone to Trump Jr.); DJTJR00446 (6/6/16 Email, Goldstone to
Trump Jr.).

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meeting the following day with Trump Jr.699 Later that day, Trump Jr. forwarded the entirety of
his email correspondence regarding the meeting with Goldstone to Manafort and Kushner, under
the subject line “FW: Russia - Clinton – private and confidential,” adding a note that the “[m]eeting
got moved to 4 tomorrow at my offices.”700 Kushner then sent his assistant a second email,
informing her that the “[m]eeting with don jr is 4pm now.”701 Manafort responded, “See you
then. P.”702

        Rick Gates, who was the deputy campaign chairman, stated during interviews with the
Office that in the days before June 9, 2016 Trump Jr. announced at a regular morning meeting of
senior campaign staff and Trump family members that he had a lead on negative information about
the Clinton Foundation.703 Gates believed that Trump Jr. said the information was coming from a
group in Kyrgyzstan and that he was introduced to the group by a friend.704 Gates recalled that
the meeting was attended by Trump Jr., Eric Trump, Paul Manafort, Hope Hicks, and, joining late,
Ivanka Trump and Jared Kushner. According to Gates, Manafort warned the group that the
meeting likely would not yield vital information and they should be careful.705 Hicks denied any
knowledge of the June 9 meeting before 2017,706 and Kushner did not recall if the planned June 9
meeting came up at all earlier that week.707

        Michael Cohen recalled being in Donald J. Trump’s office on June 6 or 7 when Trump Jr.
told his father that a meeting to obtain adverse information about Clinton was going forward.708
Cohen did not recall Trump Jr. stating that the meeting was connected to Russia.709 From the tenor
of the conversation, Cohen believed that Trump Jr. had previously discussed the meeting with his
father, although Cohen was not involved in any such conversation.710 In an interview with the
Senate Judiciary Committee, however, Trump Jr. stated that he did not inform his father about the

        699
              NOSC0000007-08 (6/8/18 Email, Kushner to Vargas).
        700
          NOSC00000039-42 (6/8/16 Email, Trump Jr. to Kushner & Manafort); DJTJR00485 (6/8/16
Email, Trump Jr. to Kushner & Manafort).
        701
              NOSC0000004 (6/8/16 Email, Kushner to Vargas).
        702
              6/8/16 Email, Manafort to Trump Jr.
        703
            Gates 1/30/18 302, at 7; Gates 3/1/18 302, at 3-4. Although the March 1 302 refers to “June
19,” that is likely a typographical error; external emails indicate that a meeting with those participants
occurred on June 6. See NOSC00023603 (6/6/16 Email, Gates to Trump Jr. et al.).
        704
            Gates 1/30/18 302, at 7. Aras Agalarov is originally from Azerbaijan, and public reporting
indicates that his company, the Crocus Group, has done substantial work in Kyrgyzstan. See Neil
MacFarquhar, A Russian Developer Helps Out the Kremlin on Occasion. Was He a Conduit to Trump?,
New York Times (July 16, 2017).
        705
              Gates 3/1/18 302, at 3-4.
        706
              Hicks 12/7/17 302, at 6.
        707
              Kushner 4/11/18 302, at 8.
        708
              Cohen 8/7/18 302, at 4-6.
        709
              Cohen 8/7/18 302, at 4-5.
        710
              Cohen 9/12/18 302, at 15-16.

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emails or the upcoming meeting.711 Similarly, neither Manafort nor Kushner recalled anyone
informing candidate Trump of the meeting, including Trump Jr.712 President Trump has stated to
this Office, in written answers to questions, that he has “no recollection of learning at the time”
that his son, Manafort, or “Kushner was considering participating in a meeting in June 2016
concerning potentially negative information about Hillary Clinton.”713

                   b. The Events of June 9, 2016

                       i. Arrangements for the Meeting

        Veselnitskaya was in New York on June 9, 2016, for appellate proceedings in the Prevezon
civil forfeiture litigation.714 That day, Veselnitskaya called Rinat Akhmetshin, a Soviet-born U.S.
lobbyist, (b) (3)                        and when she learned that he was in New York, invited him E  
to lunch.715 Akhmetshin told the Office that he had worked on issues relating to the Magnitsky
Act and had worked on the Prevezon litigation.716 Kaveladze and Anatoli Samochornov, a

        711
              Interview of: Donald J. Trump, Jr., Senate Judiciary Committee, 115th Cong. 28-29, 84, 94-95
(Sept. 7, 2017). The Senate Judiciary Committee interview was not under oath, but Trump Jr. was advised
that it is a violation of 18 U.S.C. § 1001 to make materially false statements in a congressional investigation.
Id. at 10-11.
        712
              Manafort 9/11/18 302, at 3-4; Kushner 4/11/18 302, at 10.
        713
            Written Responses of Donald J. Trump (Nov. 20, 2018), at 8 (Response to Question I, Parts (a)-
(c)). We considered whether one sequence of events suggested that candidate Trump had contemporaneous
knowledge of the June 9 meeting. On June 7, 2016 Trump announced his intention to give “a major speech”
“probably Monday of next week”—which would have been June 13—about “all of the things that have
taken place with the Clintons.” See, e.g., Phillip Bump, What we know about the Trump Tower meeting,
Washington Post (Aug. 7, 2018). Following the June 9 meeting, Trump changed the subject of his planned
speech to national security. But the Office did not find evidence that the original idea for the speech was
connected to the anticipated June 9 meeting or that the change of topic was attributable to the failure of that
meeting to produce concrete evidence about Clinton. Other events, such as the Pulse nightclub shooting
on June 12, could well have caused the change. The President’s written answers to our questions state that
the speech’s focus was altered “[i]n light of” the Pulse nightclub shooting. See Written Responses, supra.
As for the original topic of the June 13 speech, Trump has said that “he expected to give a speech referencing
the publicly available, negative information about the Clintons,” and that the draft of the speech prepared
by Campaign staff “was based on publicly available material, including, in particular, information from the
book Clinton Cash by Peter Schweizer.” Written Responses, supra. In a later June 22 speech, Trump did
speak extensively about allegations that Clinton was corrupt, drawing from the Clinton Cash book. See
Full Transcript: Donald Trump NYC Speech on Stakes of the Election, politico.com (June 22, 2016).
        714
             Testimony of Natalia Veselnitskaya Before the Senate Committee on Judiciary (Nov. 20, 2017)
at 41, 42; Alison Frankel, How Did Russian Lawyer Veselnitskaya Get into U.S. for Trump Tower Meeting?
Reuters, (Nov. 6, 2017); Michael Kranish et al., Russian Lawyer who Met with Trump Jr. Has Long History
Fighting Sanctions, Washington Post (July 11, 2017); see OSC-KAV00113 (6/8/16 Email, Goldstone to
Kaveladze); RG000073 (6/8/16 Email, Goldstone to Trump Jr.); Lieberman 12/13/17 302, at 5; see also
Prevezon Holdings Order (Oct. 17, 2016).
         715
             (b) (3)                                             E  
        716
              Akhmetshin 11/14/17 302, at 4-6; (b) (3)                                              E  

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they call him to give him an excuse to leave.735 Samochornov recalled that Kushner departed the
meeting before it concluded; Veselnitskaya recalled the same when interviewed by the press in
July 2017.736

        Veselnitskaya’s press interviews and written statements to Congress differ materially from
other accounts. In a July 2017 press interview, Veselnitskaya claimed that she has no connection
to the Russian government and had not referred to any derogatory information concerning the
Clinton Campaign when she met with Trump Campaign officials.737 Veselnitskaya’s November
2017 written submission to the Senate Judiciary Committee stated that the purpose of the June 9
meeting was not to connect with “the Trump Campaign” but rather to have “a private meeting with
Donald Trump Jr.—a friend of my good acquaintance’s son on the matter of assisting me or my
colleagues in informing the Congress members as to the criminal nature of manipulation and
interference with the legislative activities of the US Congress.”738 In other words, Veselnitskaya
claimed her focus was on Congress and not the Campaign. No witness, however, recalled any
reference to Congress during the meeting. Veselnitskaya also maintained that she “attended the
meeting as a lawyer of Denis Katsyv,” the previously mentioned owner of Prevezon Holdings, but
she did not “introduce [her]self in this capacity.”739

         In a July 2017 television interview, Trump Jr. stated that while he had no way to gauge the
reliability, credibility, or accuracy of what Goldstone had stated was the purpose of the meeting,
if “someone has information on our opponent . . . maybe this is something. I should hear them
out.”740 Trump Jr. further stated in September 2017 congressional testimony that he thought he
should “listen to what Rob and his colleagues had to say.”741 Depending on what, if any,
information was provided, Trump Jr. stated he could then “consult with counsel to make an
informed decision as to whether to give it any further consideration.”742




          735
           NOSC00003992 (6/9/16 Text Message, Kushner to Manafort); Kushner 4/11/18 302, at 9;
Vargas 4/4/18 302, at 7; NOSC00000044 (6/9/16 Email, Kushner to Vargas); NOSC00000045 (6/9/16
Email, Kushner to Cain).
          736
            Samochornov 7/12/17 302, at 4; (b) (3)                                       Kushner 4/11/18 E  
302, at 9-10; see also Interview of: Donald J. Trump, Jr., Senate Judiciary Committee, 115th Cong. 48-49
(Sept. 7, 2017).
          737
            Russian Lawyer Veselnitskaya Says She Didn’t Give Trump Jr. Info on Clinton, NBC News
(July 11, 2017).
          738
        Testimony of Natalia Veselnitskaya before the United States Senate Committee on the Judiciary,
   th
115 Cong. 10 (Nov 20, 2017).
          739
        Testimony of Natalia Veselnitskaya before the United States Senate Committee on the Judiciary,
   th
115 Cong. 21 (Nov. 20, 2017).
          740
                Sean Hannity, Transcript-Donald Trump Jr, Fox News (July 11, 2017).
          741
                Interview of: Donald J. Trump, Jr, Senate Judiciary Committee, 115th Cong. 16 (Sept. 7, 2017).
          742
                Interview of: Donald J. Trump, Jr, Senate Judiciary Committee, 115th Cong. 16-17 (Sept. 7,
2017).

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himself.773 The individual who conveyed Veselnitskaya’s request to Samochornov stated that he
did not expressly condition payment on following Veselnitskaya’s answers but, in hindsight,
recognized that by sending the transcript, Samochornov could have interpreted the offer of
assistance to be conditioned on his not contradicting Veselnitskaya’s account.774

       Volume II, Section II.G, infra, discusses interactions between President Trump, Trump Jr.,
and others in June and July 2017 regarding the June 9 meeting.

                  6. Events at the Republican National Convention

        Trump Campaign officials met with Russian Ambassador Sergey Kislyak during the week
of the Republican National Convention. The evidence indicates that those interactions were brief
and non-substantive. During platform committee meetings immediately before the Convention,
J.D. Gordon, a senior Campaign advisor on policy and national security, diluted a proposed
amendment to the Republican Party platform expressing support for providing “lethal” assistance
to Ukraine in response to Russian aggression. Gordon requested that platform committee
personnel revise the proposed amendment to state that only “appropriate” assistance be provided
to Ukraine. The original sponsor of the “lethal” assistance amendment stated that Gordon told her
(the sponsor) that he was on the phone with candidate Trump in connection with his request to
dilute the language. Gordon denied making that statement to the sponsor, although he
acknowledged it was possible he mentioned having previously spoken to the candidate about the
subject matter. The investigation did not establish that Gordon spoke to or was directed by the
candidate to make that proposal. Gordon said that he sought the change because he believed the
proposed language was inconsistent with Trump’s position on Ukraine.

                  a. Ambassador Kislyak’s Encounters with Senator Sessions and J.D. Gordon the
                     Week of the RNC

        In July 2016, Senator Sessions and Gordon spoke at the Global Partners in Diplomacy
event, a conference co-sponsored by the State Department and the Heritage Foundation held in
Cleveland, Ohio the same week as the Republican National Convention (RNC or
“Convention”).775 Approximately 80 foreign ambassadors to the United States, including Kislyak,
were invited to the conference.776

        On July 20, 2016, Gordon and Sessions delivered their speeches at the conference.777 In
his speech, Gordon stated in pertinent part that the United States should have better relations with

       773
             Samochornov 7/13/17 302, at 1.
       774
             (b) (3)                                      E  
       775
           Gordon 8/29/17 302, at 9; Sessions 1/17/18 302, at 22; Allan Smith, We Now Know More About
why Jeff Sessions and a Russian Ambassador Crossed Paths at the Republican Convention, Business Insider
(Mar. 2, 2017).
       776
           Gordon 8/29/17 302, at 9; Laura DeMarco, Global Cleveland and Sen. Bob Corker Welcome
International Republican National Convention Guests, Cleveland Plain Dealer (July 20, 2016).
       777
             Gordon 8/29/17 302, at 9; Sessions 1/17/18 302, at 22.

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Russia.778 During Sessions’s speech, he took questions from the audience, one of which may have
been asked by Kislyak.779 When the speeches concluded, several ambassadors lined up to greet
the speakers.780 Gordon shook hands with Kislyak and reiterated that he had meant what he said
in the speech about improving U.S.-Russia relations.781 Sessions separately spoke with between
six and 12 ambassadors, including Kislyak.782 Although Sessions stated during interviews with
the Office that he had no specific recollection of what he discussed with Kislyak, he believed that
the two spoke for only a few minutes and that they would have exchanged pleasantries and said
some things about U.S.-Russia relations.783

       Later that evening, Gordon attended a reception as part of the conference.784 Gordon ran
into Kislyak as the two prepared plates of food, and they decided to sit at the same table to eat.785
They were joined at that table by the ambassadors from Azerbaijan and Kazakhstan, and by Trump
Campaign advisor Carter Page.786 As they ate, Gordon and Kislyak talked for what Gordon
estimated to have been three to five minutes, during which Gordon again mentioned that he meant
what he said in his speech about improving U.S.-Russia relations.787

                   b. Change to Republican Party Platform

        In preparation for the 2016 Convention, foreign policy advisors to the Trump Campaign,
working with the Republican National Committee, reviewed the 2012 Convention’s foreign policy
platform to identify divergence between the earlier platform and candidate Trump’s positions.788
The Campaign team discussed toning down language from the 2012 platform that identified Russia
as the country’s number one threat, given the candidate’s belief that there needed to be better U.S.
relations with Russia.789 The RNC Platform Committee sent the 2016 draft platform to the
National Security and Defense Platform Subcommittee on July 10, 2016, the evening before its



        778
              Gordon 8/29/17 302, at 9.
        779
              Sessions 1/17/18 302, at 22; Luff 1/30/18 302, at 3.
        780
              Gordon 8/29/17 302, at 9; Luff 1/30/18 302, at 3.
        781
              Gordon 8/29/17 302, at 9.
        782
           Sessions 1/17/18 302, at 22; Luff 1/30/18 302, at 3; see also Volume I, Section IV.A.4.b, supra
(explaining that Sessions and Kislyak may have met three months before this encounter during a reception
held on April 26, 2016, at the Mayflower Hotel).
        783
              Sessions 1/17/18 302, at 22.
        784
              Gordon 8/29/17 302, at 9-10.
        785
              Gordon 8/29/17 302, at 9-10.
        786
         Gordon 8/29/17 302, at 10; see also Volume I, Section IV.A.3.d, supra (explaining that Page
acknowledged meeting Kislyak at this event).
        787
              Gordon 8/29/17 302, at 10.
        788
              Gordon 8/29/17 302, at 10.
        789
              Gordon 8/29/17 302, at 10.

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first meeting to propose amendments.790

        Although only delegates could participate in formal discussions and vote on the platform,
the Trump Campaign could request changes, and members of the Trump Campaign attended
committee meetings.791 John Mashburn, the Campaign’s policy director, helped oversee the
Campaign’s involvement in the platform committee meetings.792 He told the Office that he
directed Campaign staff at the Convention, including J.D. Gordon, to take a hands-off approach
and only to challenge platform planks if they directly contradicted Trump’s wishes.793

        On July 11, 2016, delegate Diana Denman submitted a proposed platform amendment that
included provision of armed support for Ukraine.794 The amendment described Russia’s “ongoing
military aggression” in Ukraine and announced “support” for “maintaining (and, if warranted,
increasing) sanctions against Russia until Ukraine’s sovereignty and territorial integrity are fully
restored” and for “providing lethal defensive weapons to Ukraine’s armed forces and greater
coordination with NATO on defense planning.”795 Gordon reviewed the proposed platform
changes, including Denman’s.796 Gordon stated that he flagged this amendment because of
Trump’s stated position on Ukraine, which Gordon personally heard the candidate say at the March
31 foreign policy meeting—namely, that the Europeans should take primary responsibility for any
assistance to Ukraine, that there should be improved U.S.-Russia relations, and that he did not
want to start World War III over that region.797 Gordon told the Office that Trump’s statements
on the campaign trail following the March meeting underscored those positions to the point where
Gordon felt obliged to object to the proposed platform change and seek its dilution.798

        On July 11, 2016, at a meeting of the National Security and Defense Platform
Subcommittee, Denman offered her amendment.799 Gordon and another Campaign staffer, Matt
Miller, approached a committee co-chair and asked him to table the amendment to permit further
discussion.800 Gordon’s concern with the amendment was the language about providing “lethal



       790
             Gordon 8/29/17 302, at 10; Hoff 5/26/17 302, at 1-2.
       791
             Hoff 5/26/17 302, at 1; Gordon 9/7/17 302, at 10.
       792
             Mashburn 6/25/18 302, at 4; Manafort 9/20/18 302, at 7-8.
       793
             Mashburn 6/25/18 302, at 4; Gordon 8/29/17 302, at 10.
       794
         DENMAN 000001-02, DENMAN 000012, DENMAN 000021-22; Denman 12/4/17 302, at 1;
Denman 6/7/17 302, at 2.
       795
             DENMAN 000001-02, DENMAN 000012, DENMAN 000021-22.
       796
             Gordon 8/29/17 302, at 10-11.
       797
             Gordon 8/29/17 302, at 11; Gordon 9/7/17 302, at 11; Gordon 2/14/19 302, at 1-2, 5-6.
       798
             Gordon 2/14/19 302, at 5-6.
       799
             Denman 6/7/17 302, at 2; see DENMAN 000014.
       800
           Denman 6/7/17 302, at 2; Denman 12/4/17 302, at 2; Gordon 9/7/17 302, at 11-12; see Hoff
5/26/17 302, at 2.

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defensive weapons to Ukraine.”801 Miller did not have any independent basis to believe that this
language contradicted Trump’s views and relied on Gordon’s recollection of the candidate’s
views.802

        According to Denman, she spoke with Gordon and Matt Miller, and they told her that they
had to clear the language and that Gordon was “talking to New York.”803 Denman told others that
she was asked by the two Trump Campaign staffers to strike “lethal defense weapons” from the
proposal but that she refused.804 Denman recalled Gordon saying that he was on the phone with
candidate Trump, but she was skeptical whether that was true.805 Gordon denied having told
Denman that he was on the phone with Trump, although he acknowledged it was possible that he
mentioned having previously spoken to the candidate about the subject matter.806 Gordon’s phone
records reveal a call to Sessions’s office in Washington that afternoon, but do not include calls
directly to a number associated with Trump.807 And according to the President’s written answers
to the Office’s questions, he does not recall being involved in the change in language of the
platform amendment.808

        Gordon stated that he tried to reach Rick Dearborn, a senior foreign policy advisor, and
Mashburn, the Campaign policy director. Gordon stated that he connected with both of them (he
could not recall if by phone or in person) and apprised them of the language he took issue with in
the proposed amendment. Gordon recalled no objection by either Dearborn or Mashburn and that
all three Campaign advisors supported the alternative formulation (“appropriate assistance”).809
Dearborn recalled Gordon warning them about the amendment, but not weighing in because
Gordon was more familiar with the Campaign’s foreign policy stance.810 Mashburn stated that
Gordon reached him, and he told Gordon that Trump had not taken a stance on the issue and that
the Campaign should not intervene.811

      When the amendment came up again in the committee’s proceedings, the subcommittee
changed the amendment by striking the “lethal defense weapons” language and replacing it with


         801
               Denman 6/7/17 302, at 3.
         802
               M. Miller 10/25/17 302 at 3.
         803
               Denman 12/4/17 302, at 2; Denman 6/7/17 302, at 2.
         804
               Hoff 5/26/17 302, at 2.
         805
               Denman 6/7/17 302, at 2-3, 3-4; Denman 12/4/17 302, at 2.
         806
               Gordon 2/14/19 302, at 7.
         807
            Call Records of J.D. Gordon (b) (3)                           Gordon stated to the Office that   E  
his calls with Sessions were unrelated to the platform change. Gordon 2/14/19 302, at 7.
         808
               Written Responses of Donald J. Trump (Nov. 20, 2018), at 17 (Response to Question IV,
Part (f)).
         809
               Gordon 2/14/19 302, at 6-7; Gordon 9/7/17 302, at 11-12; see Gordon 8/29/17 302, at 11.
         810
               Dearborn 11/28/17 302, at 7-8.
         811
               Mashburn 6/25/18 302, at 4.

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“appropriate assistance.”812 Gordon stated that he and the subcommittee co-chair ultimately
agreed to replace the language about armed assistance with “appropriate assistance.”813 The
subcommittee accordingly approved Denman’s amendment but with the term “appropriate
assistance.”814 Gordon stated that, to his recollection, this was the only change sought by the
Campaign.815 Sam Clovis, the Campaign’s national co-chair and chief policy advisor, stated he
was surprised by the change and did not believe it was in line with Trump’s stance.816 Mashburn
stated that when he saw the word “appropriate assistance,” he believed that Gordon had violated
Mashburn’s directive not to intervene.817

                  7. Post-Convention Contacts with Kislyak

        Ambassador Kislyak continued his efforts to interact with Campaign officials with
responsibility for the foreign-policy portfolio—among them Sessions and Gordon—in the weeks
after the Convention. The Office did not identify evidence in those interactions of coordination
between the Campaign and the Russian government.

                  a. Ambassador Kislyak Invites J.D. Gordon to Breakfast at the Ambassador’s
                     Residence

         On August 3, 2016, an official from the Embassy of the Russian Federation in the United
States wrote to Gordon “[o]n behalf of” Ambassador Kislyak inviting Gordon “to have
breakfast/tea with the Ambassador at his residence” in Washington, D.C. the following week.818
Gordon responded five days later to decline the invitation. He wrote, “[t]hese days are not optimal
for us, as we are busily knocking down a constant stream of false media stories while also preparing
for the first debate with HRC. Hope to take a raincheck for another time when things quiet down
a bit. Please pass along my regards to the Ambassador.”819 The investigation did not identify
evidence that Gordon made any other arrangements to meet (or met) with Kislyak after this email.

                  b. Senator Sessions’s September 2016 Meeting with Ambassador Kislyak

        Also in August 2016, a representative of the Russian Embassy contacted Sessions’s Senate
office about setting up a meeting with Kislyak.820 At the time, Sessions was a member of the


       812
             Hoff 5/26/17 302, at 2-3; see Denman 12/4/17 302, at 2-3; Gordon 8/29/17 302, at 11.
       813
             Gordon 8/29/17 302, at 11; Gordon 9/7/17 302, at 12.
       814
             Hoff 5/26/17 302, at 2-3.
       815
             Gordon 2/14/19 302, at 6.
       816
             Clovis 10/3/17 302, at 10-11.
       817
             Mashburn 6/25/18 302, at 4.
       818
             DJTFP00004828 (8/3/16 Email, Pchelyakov [embassy@russianembassy.org] to Gordon).
       819
             DJTFP00004953 (8/8/16 Email, Gordon to embassy@russianembassy.org).
       820
             Luff 1/30/18 302, at 5.

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Senate Foreign Relations Committee and would meet with foreign officials in that capacity.821 But
Sessions’s staff reported, and Sessions himself acknowledged, that meeting requests from
ambassadors increased substantially in 2016, as Sessions assumed a prominent role in the Trump
Campaign and his name was mentioned for potential cabinet-level positions in a future
Trump Administration.822

        On September 8, 2016, Sessions met with Kislyak in his Senate office.823 Sessions said
that he believed he was doing the Campaign a service by meeting with foreign ambassadors,
including Kislyak.824 He was accompanied in the meeting by at least two of his Senate staff:
Sandra Luff, his legislative director; and Pete Landrum, who handled military affairs.825 The
meeting lasted less than 30 minutes.826 Sessions voiced concerns about Russia’s sale of a missile-
defense system to Iran, Russian planes buzzing U.S. military assets in the Middle East, and Russian
aggression in emerging democracies such as Ukraine and Moldova.827 Kislyak offered
explanations on these issues and complained about NATO land forces in former Soviet-bloc
countries that border Russia.828 Landrum recalled that Kislyak referred to the presidential
campaign as “an interesting campaign,”829 and Sessions also recalled Kislyak saying that the
Russian government was receptive to the overtures Trump had laid out during his campaign.830
None of the attendees, though, remembered any discussion of Russian election interference or any
request that Sessions convey information from the Russian government to the Trump Campaign.831

       During the meeting, Kislyak invited Sessions to further discuss U.S.-Russia relations with
him over a meal at the ambassador’s residence.832 Sessions was non-committal when Kislyak
extended the invitation. After the meeting ended, Luff advised Sessions against accepting the one-
on-one meeting with Kislyak, whom she assessed to be an “old school KGB guy.”833 Neither Luff
nor Landrum recalled that Sessions followed up on the invitation or made any further effort to dine


        821
              Sessions 1/17/18 302, at 23-24; Luff 1/30/18 302, at 5.
        822
              Sessions 1/17/18 302, at 23-24; Luff 1/30/18 302, at 5; Landrum 2/27/18 302, at 3-5.
        823
              Sessions 1/17/18 302, at 23.
        824
              Sessions 1/17/18 302, at 23.
        825
           Sessions 1/17/18 302, at 23; Luff 1/30/18 302, at 5-6; Landrum 2/27/18 302, at 4-5 (stating he
could not remember if election was discussed).
        826
              Luff 1/30/18 302, at 6; Landrum 2/27/18 302, at 5.
        827
              Luff 1/30/18 302, at 6; Landrum 2/27/18 302, at 4-5.
        828
              Luff 1/30/18 302, at 6; Landrum 2/27/18 302 at 4-5.
        829
              Landrum 2/27/18 302, at 5.
        830
          Sessions 1/17/18 302, at 23. Sessions also noted that ambassadors came to him for information
about Trump and hoped he would pass along information to Trump. Sessions 1/17/18 302, at 23-24.
        831
              Sessions 1/17/18 302, at 23; Luff 1/30/18 302, at 6; Landrum 2/27/18 302, at 5.
        832
              Luff 1/30/18 302, at 5; Landrum 2/27/18 302, at 4.
        833
              Luff 1/30/18 302, at 5.

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or meet with Kislyak before the November 2016 election.834 Sessions and Landrum recalled that,
after the election, some efforts were made to arrange a meeting between Sessions and Kislyak.835
According to Sessions, the request came through CNI and would have involved a meeting between
Sessions and Kislyak, two other ambassadors, and the Governor of Alabama.836 Sessions,
however, was in New York on the day of the anticipated meeting and was unable to attend.837 The
investigation did not identify evidence that the two men met at any point after their September 8
meeting.

                   8. Paul Manafort

       Paul Manafort served on the Trump Campaign, including a period as campaign chairman,
from March to August 2016.838 Manafort had connections to Russia through his prior work for
Russian oligarch Oleg Deripaska and later through his work for a pro-Russian regime in Ukraine.
Manafort stayed in touch with these contacts during the campaign period through Konstantin
Kilimnik, a longtime Manafort employee who previously ran Manafort’s office in Kiev and who
the FBI assesses to have ties to Russian intelligence.

        Manafort instructed Rick Gates, his deputy on the Campaign and a longtime employee,839
to provide Kilimnik with updates on the Trump Campaign—including internal polling data,
although Manafort claims not to recall that specific instruction. Manafort expected Kilimnik to
share that information with others in Ukraine and with Deripaska. Gates periodically sent such
polling data to Kilimnik during the campaign.

        834
              Luff 1/30/18 302, at 6; Landrum 2/27/18 302, at 4-5.
        835
              Sessions 1/17/18 302, at 23.
        836
              Sessions 1/17/18 302, at 23.
        837
              Sessions 1/17/18 302, at 23.
        838
            On August 21, 2018, Manafort was convicted in the Eastern District of Virginia on eight tax,
Foreign Bank Account Registration (FBAR), and bank fraud charges. On September 14, 2018, Manafort
pleaded guilty in the District of Columbia to (1) conspiracy to defraud the United States and conspiracy to
commit offenses against the United States (money laundering, tax fraud, FBAR, Foreign Agents
Registration Act (FARA), and FARA false statements), and (2) conspiracy to obstruct justice (witness
tampering). Manafort also admitted criminal conduct with which he had been charged in the Eastern
District of Virginia, but as to which the jury hung. The conduct at issue in both cases involved Manafort’s
work in Ukraine and the money he earned for that work, as well as crimes after the Ukraine work ended.
On March 7, 2019, Manafort was sentenced to 47 months of imprisonment in the Virginia prosecution. On
March 13, the district court in D.C. sentenced Manafort to a total term of 73 months: 60 months on the
Count 1 conspiracy (with 30 of those months to run concurrent to the Virginia sentence), and 13 months on
the Count 1 conspiracy, to be served consecutive to the other two sentences. The two sentences resulted in
a total term of 90 months.
        839
            As noted in Volume I, Section III.D.1.b, supra, Gates pleaded guilty to two criminal charges in
the District of Columbia, including making a false statement to the FBI, pursuant to a plea agreement. He
has provided information and in-court testimony that the Office has deemed to be reliable. See also
Transcript at 16, United States v. Paul J. Manafort, Jr., 1:17-cr-201 (D.D.C. Feb. 13, 2019), Doc. 514
(“Manafort 2/13/19 Transcript”) (court’s explanation of reasons to credit Gates’s statements in one
instance).

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be “good for business” and potentially a way to be made whole for work he previously completed
in the Ukraine. As to Deripaska, Manafort claimed that by sharing campaign information with
him, Deripaska might see value in their relationship and resolve a “disagreement”—a reference to
one or more outstanding lawsuits. Because of questions about Manafort’s credibility and our
limited ability to gather evidence on what happened to the polling data after it was sent to Kilimnik,
the Office could not assess what Kilimnik (or others he may have given it to) did with it. The
Office did not identify evidence of a connection between Manafort’s sharing polling data and
Russia’s interference in the election, which had already been reported by U.S. media outlets at the
time of the August 2 meeting. The investigation did not establish that Manafort otherwise
coordinated with the Russian government on its election-interference efforts.

                  a. Paul Manafort’s Ties to Russia and Ukraine

       Manafort’s Russian contacts during the campaign and transition periods stem from his
consulting work for Deripaska from approximately 2005 to 2009 and his separate political
consulting work in Ukraine from 2005 to 2015, including through his company DMP International
LLC (DMI). Kilimnik worked for Manafort in Kiev during this entire period and continued to
communicate with Manafort through at least June 2018. Kilimnik, who speaks and writes
Ukrainian and Russian, facilitated many of Manafort’s communications with Deripaska and
Ukrainian oligarchs.

                         i.   Oleg Deripaska Consulting Work
        In approximately 2005, Manafort began working for Deripaska, a Russian oligarch who
has a global empire involving aluminum and power companies and who is closely aligned with
Vladimir Putin.843 A memorandum describing work that Manafort performed for Deripaska in
2005 regarding the post-Soviet republics referenced the need to brief the Kremlin and the benefits
that the work could confer on “the Putin Government.”844 Gates described the work Manafort did
for Deripaska as “political risk insurance,” and explained that Deripaska used Manafort to install
friendly political officials in countries where Deripaska had business interests.845 Manafort’s
company earned tens of millions of dollars from its work for Deripaska and was loaned millions
of dollars by Deripaska as well.846

       In 2007, Deripaska invested through another entity in Pericles Emerging Market Partners
L.P. (“Pericles”), an investment fund created by Manafort and former Manafort business partner
Richard Davis. The Pericles fund was established to pursue investments in Eastern Europe.847
Deripaska was the sole investor.848 Gates stated in interviews with the Office that the venture led

       843
             Pinchuk et al., Russian Tycoon Deripaska in Putin Delegation to China, Reuters (June 8, 2018).
       844
             6/23/05 Memo, Manafort & Davis to Deripaska & Rothchild.
       845
             Gates 2/2/18 302, at 7.
       846
          Manafort 9/20/18 302, at 2-5; Manafort Income by Year, 2005 – 2015; Manafort Loans from
Wire Transfers, 2005 – 2015.
       847
             Gates 3/12/18 302, at 5.
       848
             Manafort 12/16/15 Dep., at 157:8-11.

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to a deterioration of the relationship between Manafort and Deripaska.849 In particular, when the
fund failed, litigation between Manafort and Deripaska ensued. Gates stated that, by 2009,
Manafort’s business relationship with Deripaska had “dried up.”850 According to Gates, various
interactions with Deripaska and his intermediaries over the past few years have involved trying to
resolve the legal dispute.851 As described below, in 2016, Manafort, Gates, Kilimnik, and others
engaged in efforts to revive the Deripaska relationship and resolve the litigation.

                         ii.   Political Consulting Work
        Through Deripaska, Manafort was introduced to Rinat Akhmetov, a Ukrainian oligarch
who hired Manafort as a political consultant.852 In 2005, Akhmetov hired Manafort to engage in
political work supporting the Party of Regions,853 a political party in Ukraine that was generally
understood to align with Russia. Manafort assisted the Party of Regions in regaining power, and
its candidate, Viktor Yanukovych, won the presidency in 2010. Manafort became a close and
trusted political advisor to Yanukovych during his time as President of Ukraine. Yanukovych
served in that role until 2014, when he fled to Russia amidst popular protests.854

                        iii.   Konstantin Kilimnik
        Kilimnik is a Russian national who has lived in both Russia and Ukraine and was a
longtime Manafort employee.855 Kilimnik had direct and close access to Yanukovych and his
senior entourage, and he facilitated communications between Manafort and his clients, including
Yanukovych and multiple Ukrainian oligarchs.856 Kilimnik also maintained a relationship with
Deripaska’s deputy, Viktor Boyarkin,857 a Russian national who previously served in the defense
attaché office of the Russian Embassy to the United States.858




        849
              Gates 2/2/18 302, at 9.
        850
              Gates 2/2/18 302, at 6.
        851
              Gates 2/2/18 302, at 9-10.
        852
              Manafort 7/30/14 302, at 1; Manafort 9/20/18 302, at 2.
        853
              Manafort 9/11/18 302, at 5-6.
        854
              Gates 3/16/18 302, at 1; Davis 2/8/18 302, at 9; Devine 7/6/18 302, at 2-3.
        855
          Patten 5/22/18 302, at 5; Gates 1/29/18 302, at 18-19; 10/28/97 Kilimnik Visa Record, U.S.
Department of State.
        856
            Gates 1/29/18 302, at 18-19; Patten 5/22/18 302, at 8; Gates 1/31/18 302, at 4-5; Gates 1/30/18
302, at 2; Gates 2/2/18 302, at 11.
        857
              Gates 1/29/18 302, at 18; Patten 5/22/18 302, at 8.
        858
              Boyarkin Visa Record, U.S. Department of State.

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        Manafort told the Office that he did not believe Kilimnik was working as a Russian
         859
“spy.”     The FBI, however, assesses that Kilimnik has ties to Russian intelligence.860 Several
pieces of the Office’s evidence—including witness interviews and emails obtained through court-
authorized search warrants—support that assessment:

    x     Kilimnik was born on April 27, 1970, in Dnipropetrovsk Oblast, then of the Soviet Union,
          and attended the Military Institute of the Ministry of Defense from 1987 until 1992.861 Sam
          Patten, a business partner to Kilimnik,862 stated that Kilimnik told him that he was a
          translator in the Russian army for seven years and that he later worked in the Russian
          armament industry selling arms and military equipment.863

    x     U.S. government visa records reveal that Kilimnik obtained a visa to travel to the United
          States with a Russian diplomatic passport in 1997.864

    x     Kilimnik worked for the International Republican Institute’s (IRI) Moscow office, where
          he did translation work and general office management from 1998 to 2005.865 While
          another official recalled the incident differently,866 one former associate of Kilimnik’s at
          IRI told the FBI that Kilimnik was fired from his post because his links to Russian
          intelligence were too strong. The same individual stated that it was well known at IRI that
          Kilimnik had links to the Russian government.867

    x     Jonathan Hawker, a British national who was a public relations consultant at FTI
          Consulting, worked with DMI on a public relations campaign for Yanukovych. After
          Hawker’s work for DMI ended, Kilimnik contacted Hawker about working for a Russian




          859
                Manafort 9/11/18 302, at 5.
          860
           The Office has noted Kilimnik’s assessed ties to Russian intelligence in public court filings.
E.g., Gov’t Opp. to Mot. to Modify, United States v. Paul J. Manafort, Jr., 1:17-cr-201 (D.D.C. Dec. 4,
2017), Doc. 73, at 2 (“Manafort (D.D.C.) Gov’t Opp. to Mot. to Modify”).
          861
                12/17/16 Kilimnik Visa Record, U.S. Department of State.
          862
            In August 2018, Patten pleaded guilty pursuant to a plea agreement to violating the Foreign
Agents Registration Act, and admitted in his Statement of Offense that he also misled and withheld
documents from the Senate Select Committee on Intelligence in the course of its investigation of Russian
election interference. Plea Agreement, United States v. W. Samuel Patten, 1:18-cr-260 (D.D.C. Aug. 31,
2018), Doc. 6; Statement of Offense, United States v. W. Samuel Patten, 1:18-cr-260 (D.D.C. Aug. 31,
2018), Doc. 7.
          863
                Patten 5/22/18 302, at 5-6.
          864
                10/28/97 Kilimnik Visa Record, U.S. Department of State.
          865
                Nix 3/30/18 302, at 1-2.
          866
                Nix 3/30/18 302, at 2.
          867
                Lenzi 1/30/18 302, at 2.

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          government entity on a public-relations project that would promote, in Western and
          Ukrainian media, Russia’s position on its 2014 invasion of Crimea.868

    x   Gates suspected that Kilimnik was a “spy,” a view that he shared with Manafort, Hawker,
        and Alexander van der Zwaan,869 an attorney who had worked with DMI on a report for
        the Ukrainian Ministry of Foreign Affairs.870
                                                                                              E  
(b) (3), (b) (7)(A), (b) (7)(E)
                                                                                              E  ( 
                     b. Contacts during Paul Manafort’s Time with the Trump Campaign

                         i. Paul Manafort Joins the Campaign

        Manafort served on the Trump Campaign from late March to August 19, 2016. On March
29, 2016, the Campaign announced that Manafort would serve as the Campaign’s “Convention
Manager.”871 On May 19, 2016, Manafort was promoted to campaign chairman and chief
strategist, and Gates, who had been assisting Manafort on the Campaign, was appointed deputy
campaign chairman.872

       Thomas Barrack and Roger Stone both recommended Manafort to candidate Trump.873 In
early 2016, at Manafort’s request, Barrack suggested to Trump that Manafort join the Campaign
to manage the Republican Convention.874 Stone had worked with Manafort from approximately
1980 until the mid-1990s through various consulting and lobbying firms. Manafort met Trump in
1982 when Trump hired the Black, Manafort, Stone and Kelly lobbying firm.875 Over the years,
Manafort saw Trump at political and social events in New York City and at Stone’s wedding, and
Trump requested VIP status at the 1988 and 1996 Republican conventions worked by Manafort.876



          868
                Hawker 1/9/18 302, at 13; 3/18/14 Email, Hawker & Tulukbaev.
          869
            van der Zwaan pleaded guilty in the U.S. District Court for the District of Columbia to making
false statements to the Special Counsel’s Office. Plea Agreement, United States v. Alex van der Zwaan,
1:18-cr-31 (D.D.C. Feb. 20, 2018), Doc. 8.
          870
           Hawker 6/9/18 302, at 4; van der Zwaan 11/3/17 302, at 22. Manafort said in an interview that
Gates had joked with Kilimnik about Kilimnik’s going to meet with his KGB handler. Manafort 10/16/18
302, at 7.
          871
         Press Release – Donald J. Trump Announces Campaign Convention Manager Paul J. Manafort,
The American Presidency Project – U.C. Santa Barbara (Mar. 29, 2016).
          872
        Gates 1/29/18 302, at 8; Meghan Keneally, Timeline of Manafort’s role in the Trump Campaign,
ABC News (Oct. 20, 2017).
          873
                Gates 1/29/18 302, at 7-8; Manafort 9/11/18 302, at 1-2; Barrack 12/12/17 302, at 3.
          874
                Barrack 12/12/17 302, at 3; Gates 1/29/18 302, at 7-8.
          875
                Manafort 10/16/18 302, at 6.
          876
                Manafort 10/16/18 302, at 6.

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       According to Gates, in March 2016, Manafort traveled to Trump’s Mar-a-Lago estate in
Florida to meet with Trump. Trump hired him at that time.877 Manafort agreed to work on the
Campaign without pay. Manafort had no meaningful income at this point in time, but resuscitating
his domestic political campaign career could be financially beneficial in the future. Gates reported
that Manafort intended, if Trump won the Presidency, to remain outside the Administration and
monetize his relationship with the Administration.878

                      ii. Paul Manafort’s Campaign-Period Contacts

        Immediately upon joining the Campaign, Manafort directed Gates to prepare for his review
separate memoranda addressed to Deripaska, Akhmetov, Serhiy Lyovochkin, and Boris
Kolesnikov,879 the last three being Ukrainian oligarchs who were senior Opposition Bloc
officials.880 The memoranda described Manafort’s appointment to the Trump Campaign and
indicated his willingness to consult on Ukrainian politics in the future. On March 30, 2016, Gates
emailed the memoranda and a press release announcing Manafort’s appointment to Kilimnik for
translation and dissemination.881 Manafort later followed up with Kilimnik to ensure his messages
had been delivered, emailing on April 11, 2016 to ask whether Kilimnik had shown “our friends”
the media coverage of his new role.882 Kilimnik replied, “Absolutely. Every article.” Manafort
further asked: “How do we use to get whole. Has Ovd [Oleg Vladimirovich Deripaska] operation
seen?” Kilimnik wrote back the same day, “Yes, I have been sending everything to Victor
[Boyarkin, Deripaska’s deputy], who has been forwarding the coverage directly to OVD.”883

        Gates reported that Manafort said that being hired on the Campaign would be “good for
business” and increase the likelihood that Manafort would be paid the approximately $2 million
he was owed for previous political consulting work in Ukraine.884 Gates also explained to the
Office that Manafort thought his role on the Campaign could help “confirm” that Deripaska had
dropped the Pericles lawsuit, and that Gates believed Manafort sent polling data to Deripaska (as

       877
             Gates 2/2/18 302, at 10.
       878
             Gates 1/30/18 302, at 4.
       879
             Gates 2/2/18 302, at 11.
       880
             See Sharon LaFraniere, Manafort’s Trial Isn’t About Russia, but It Will Be in the Air, New York
Times (July 30, 2018); Tierney Sneed, Prosecutors Believe Manafort Made $60 Million Consulting in
Ukraine, Talking Points Memo (July 30, 2018); Mykola Vorobiov, How Pro-Russian Forces Will Take
Revenge on Ukraine, Atlantic Council (Sept. 23, 2018); Sergii Leshchenko, Ukraine’s Oligarchs Are Still
Calling the Shots, Foreign Policy (Aug. 14, 2014); Interfax-Ukraine, Kolesnikov: Inevitability of
Punishment Needed for Real Fight Against Smuggling in Ukraine, Kyiv Post (June 23, 2018); Igor Kossov,
Kyiv Hotel Industry Makes Room for New Entrants, Kyiv Post (Mar. 7, 2019); Markian Kuzmowycz, How
the Kremlin Can Win Ukraine’s Elections, Atlantic Council (Nov. 19, 2018). The Opposition Bloc is a
Ukraine political party that largely reconstituted the Party of Regions.
       881
             3/30/16 Email, Gates to Kilimnik.
       882
             4/11/16 Email, Manafort & Kilimnik.
       883
             4/11/16 Email, Manafort & Kilimnik.
       884
             Gates 2/2/18 302, at 10.

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                       iii. Paul Manafort’s Two Campaign-Period Meetings with Konstantin Kilimnik
                             in the United States

        Manafort twice met with Kilimnik in person during the campaign period—once in May
and again in August 2016. The first meeting took place on May 7, 2016, in New York City.905 In
the days leading to the meeting, Kilimnik had been working to gather information about the
political situation in Ukraine. That included information gleaned from a trip that former Party of
Regions official Yuriy Boyko had recently taken to Moscow—a trip that likely included meetings
between Boyko and high-ranking Russian officials.906 Kilimnik then traveled to Washington, D.C.
on or about May 5, 2016; while in Washington, Kilimnik had pre-arranged meetings with State
Department employees.907

        Late on the evening of May 6, Gates arranged for Kilimnik to take a 3:00 a.m. train to meet
Manafort in New York for breakfast on May 7.908 According to Manafort, during the meeting, he
and Kilimnik talked about events in Ukraine, and Manafort briefed Kilimnik on the Trump
Campaign, expecting Kilimnik to pass the information back to individuals in Ukraine and
elsewhere.909 Manafort stated that Opposition Bloc members recognized Manafort’s position on
the Campaign was an opportunity, but Kilimnik did not ask for anything.910 Kilimnik spoke about
a plan of Boyko to boost election participation in the eastern zone of Ukraine, which was the base
for the Opposition Bloc.911 Kilimnik returned to Washington, D.C. right after the meeting with
Manafort.

        Manafort met with Kilimnik a second time at the Grand Havana Club in New York City
on the evening of August 2, 2016. The events leading to the meeting are as follows. On July 28,
2016, Kilimnik flew from Kiev to Moscow.912 The next day, Kilimnik wrote to Manafort
requesting that they meet, using coded language about a conversation he had that day.913 In an
email with a subject line “Black Caviar,” Kilimnik wrote:

        I met today with the guy who gave you your biggest black caviar jar several years ago. We
        spent about 5 hours talking about his story, and I have several important messages from
        him to you. He asked me to go and brief you on our conversation. I said I have to run it
        by you first, but in principle I am prepared to do it. . . . It has to do about the future of his

        905
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              (b) (7)(A), (b) (7)(E)
        906
           4/26/16 Email, Kilimnik to Purcell, at 2; Gates 2/2/18 302, at 12; Patten 5/22/18 302, at 6-7;
Gates 11/7/18 302, at 3.
        907
              5/7/16 Email, Kilimnik to Charap & Kimmage; 5/7/16 Email, Kasanof to Kilimnik.
        908
              5/6/16 Email, Manafort to Gates; 5/6/16 Email, Gates to Kilimnik.
        909
              Manafort 10/11/18 302, at 1.
        910
              Manafort 10/11/18 302, at 1.
        911
              Manafort 10/11/18 302, at 1.
        912
              7/25/16 Email, Kilimnik to katrin@yana.kiev.ua (2:17:34 a.m.).
        913
              7/29/16 Email, Kilimnik to Manafort (10:51 a.m.).

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        country, and is quite interesting.914

Manafort identified “the guy who gave you your biggest black caviar jar” as Yanukovych. He
explained that, in 2010, he and Yanukovych had lunch to celebrate the recent presidential election.
Yanukovych gave Manafort a large jar of black caviar that was worth approximately $30,000 to
$40,000.915 Manafort’s identification of Yanukovych as “the guy who gave you your biggest black
caviar jar” is consistent with Kilimnik being in Moscow—where Yanukovych resided—when
Kilimnik wrote “I met today with the guy,” and with a December 2016 email in which Kilimnik
referred to Yanukovych as “BG,” (b) (3)                 916
                                                            Manafort replied to Kilimnik’s July 29            E  
email, “Tuesday [August 2] is best . . . Tues or weds in NYC.”917

        Three days later, on July 31, 2016, Kilimnik flew back to Kiev from Moscow, and on that
same day, wrote to Manafort that he needed “about 2 hours” for their meeting “because it is a long
caviar story to tell.”918 Kilimnik wrote that he would arrive at JFK on August 2 at 7:30 p.m., and
he and Manafort agreed to a late dinner that night.919 Documentary evidence—including flight,
phone, and hotel records, and the timing of text messages exchanged920—confirms the dinner took
place as planned on August 2.921

         As to the contents of the meeting itself, the accounts of Manafort and Gates—who arrived
late to the dinner—differ in certain respects. But their versions of events, when assessed alongside
available documentary evidence and what Kilimnik told business associate Sam Patten, indicate
that at least three principal topics were discussed.

       First, Manafort and Kilimnik discussed a plan to resolve the ongoing political problems in
Ukraine by creating an autonomous republic in its more industrialized eastern region of Donbas,922
        914
              7/29/16 Email, Kilimnik to Manafort (10:51 a.m.).
        915
              Manafort 9/12/18 302, at 3.
        916
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              7/29/16 Email, Manafort to Kilimnik; (b) (7)(A), (b) (7)(E)            ; (b) (3)
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        917
              7/29/16 Email, Manafort to Kilimnik.
        918
              7/31/16 Email, Manafort to Kilimnik.
        919
              7/31/16 Email, Manafort to Kilimnik.
        920
           Kilimnik 8/2/16 CBP Record; Call Records of Konstantin Kilimnik(b) (3)                            E  
      Call Records of Rick Gates (b) (3)                       ; 8/2-3/16, Kilimnik Park Lane Hotel
Receipt.
        921
           Deripaska’s private plane also flew to Teterboro Airport in New Jersey on the evening of August
2, 2016. According to Customs and Border Protection records, the only passengers on the plane were
Deripaska’s wife, daughter, mother, and father-in-law, and separate records obtained by our Office confirm
that Kilimnik flew on a commercial flight to New York.
        922
           The Luhansk and Donetsk People’s Republics, which are located in the Donbas region of
Ukraine, declared themselves independent in response to the popular unrest in 2014 that removed President
Yanukovych from power. Pro-Russian Ukrainian militia forces, with backing from the Russian military,
have occupied the region since 2014. Under the Yanukovych-backed plan, Russia would assist in
withdrawing the military, and Donbas would become an autonomous region within Ukraine with its own

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        Third, according to Gates and what Kilimnik told Patten, Manafort and Kilimnik discussed
two sets of financial disputes related to Manafort’s previous work in the region. Those consisted
of the unresolved Deripaska lawsuit and the funds that the Opposition Bloc owed to Manafort for
his political consulting work and how Manafort might be able to obtain payment.933

       After the meeting, Gates and Manafort both stated that they left separately from Kilimnik
because they knew the media was tracking Manafort and wanted to avoid media reporting on his
connections to Kilimnik.934

                  c. Post-Resignation Activities

        Manafort resigned from the Trump Campaign in mid-August 2016, approximately two
weeks after his second meeting with Kilimnik, amidst negative media reporting about his political
consulting work for the pro-Russian Party of Regions in Ukraine. Despite his resignation,
Manafort continued to offer advice to various Campaign officials through the November election.
Manafort told Gates that he still spoke with Kushner, Bannon, and candidate Trump,935 and some
of those post-resignation contacts are documented in emails. For example, on October 21, 2016,
Manafort sent Kushner an email and attached a strategy memorandum proposing that the
Campaign make the case against Clinton “as the failed and corrupt champion of the establishment”
and that “Wikileaks provides the Trump campaign the ability to make the case in a very credible
way – by using the words of Clinton, its campaign officials and DNC members.”936 Later, in a
November 5, 2016 email to Kushner entitled “Securing the Victory,” Manafort stated that he was
“really feeling good about our prospects on Tuesday and focusing on preserving the victory,” and
that he was concerned the Clinton Campaign would respond to a loss by “mov[ing] immediately
to discredit the [Trump] victory and claim voter fraud and cyber-fraud, including the claim that
the Russians have hacked into the voting machines and tampered with the results.”937

        Trump was elected President on November 8, 2016. Manafort told the Office that, in the
wake of Trump’s victory, he was not interested in an Administration job. Manafort instead
preferred to stay on the “outside,” and monetize his campaign position to generate business given
his familiarity and relationship with Trump and the incoming Administration.938 Manafort
appeared to follow that plan, as he traveled to the Middle East, Cuba, South Korea, Japan, and
China and was paid to explain what a Trump presidency would entail.939

       Manafort’s activities in early 2017 included meetings relating to Ukraine and Russia. The

       933
             Gates 1/30/18 302, at 2-4; Patten 5/22/18 302, at 7.
       934
             Gates 1/30/18 302, at 5; Manafort 9/11/18 302, at 5.
       935
             Gates 2/12/18 302, at 12.
       936
             NOSC00021517-20 (10/21/16 Email, Manafort to Kushner).
       937
             NOSC00021573-75 (11/5/16 Email, Manafort to Kushner).
       938
             Manafort 9/12/18 302, at 1, 4-5; Gates 1/30/18 302, at 4.
       939
             Manafort 9/12/18 302, at 1.

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first meeting, which took place in Madrid, Spain in January 2017, was with Georgiy Oganov.
Oganov, who had previously worked at the Russian Embassy in the United States, was a senior
executive at a Deripaska company and was believed to report directly to Deripaska.940 Manafort
initially denied attending the meeting. When he later acknowledged it, he claimed that the meeting
had been arranged by his lawyers and concerned only the Pericles lawsuit.941 Other evidence,
however, provides reason to doubt Manafort’s statement that the sole topic of the meeting was the
Pericles lawsuit. In particular, text messages to Manafort from a number associated with Kilimnik
suggest that Kilimnik and Boyarkin—not Manafort’s counsel—had arranged the meeting between
Manafort and Oganov.942 Kilimnik’s message states that the meeting was supposed to be “not
about money or Pericles” but instead “about recreating [the] old friendship”—ostensibly between
Manafort and Deripaska—“and talking about global politics.”943 Manafort also replied by text that
he “need[s] this finished before Jan. 20,”944 which appears to be a reference to resolving Pericles
before the inauguration.

        On January 15, 2017, three days after his return from Madrid, Manafort emailed K.T.
McFarland, who was at that time designated to be Deputy National Security Advisor and was
formally appointed to that position on January 20, 2017.945 Manafort’s January 15 email to
McFarland stated: “I have some important information I want to share that I picked up on my
travels over the last month.”946 Manafort told the Office that the email referred to an issue
regarding Cuba, not Russia or Ukraine, and Manafort had traveled to Cuba in the past month.947
Either way, McFarland—who was advised by Flynn not to respond to the Manafort inquiry—
appears not to have responded to Manafort.948

       Manafort told the Office that around the time of the Presidential Inauguration in January,
he met with Kilimnik and Ukrainian oligarch Serhiy Lyovochkin at the Westin Hotel in
Alexandria, Virginia.949 During this meeting, Kilimnik again discussed the Yanukovych peace
plan that he had broached at the August 2 meeting and in a detailed December 8, 2016 message
found in Kilimnik’s DMP email account.950 In that December 8 email, which Manafort

       940
           Kalashnikova 5/17/18 302, at 4; Gary Lee, Soviet Embassy’s Identity Crisis, Washington Post
(Dec. 20, 1991); Georgy S. Oganov Executive Profile & Biography, Bloomberg (Mar. 12, 2019).
       941
             Manafort 9/11/18 302, at 7.
       942
             Text Message, Manafort & Kilimnik.
       943
             Text Message, Manafort & Kilimnik; Manafort 9/12/18 302, at 5.
       944
             Text Message, Manafort & Kilimnik.
       945
             1/15/17 Email, Manafort, McFarland, & Flynn.
       946
             1/15/17 Email, Manafort, McFarland, & Flynn.
       947
             Manafort 9/11/18 302, at 7.
       948
             1/15/17 Email, Manafort, McFarland, & Flynn; McFarland 12/22/17 302, at 18-19.
       949
             (b) (3)                                   Manafort 9/11/18 302, at 7; Manafort 9/21/18      E  
302, at 3; 1/19/17 & 1/22/17 Kilimnik CBP Records, Jan. 19 and 22, 2017; 2016-17 Text Messages,
Kilimnik & Patten, at 1-2.
       950
             (b) (7)(A), (b) (7)(E)                   E  ( 

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                  a. Outreach from the Russian Government

        At approximately 3 a.m. on election night, Trump Campaign press secretary Hope Hicks
received a telephone call on her personal cell phone from a person who sounded foreign but was
calling from a number with a DC area code.964 Although Hicks had a hard time understanding the
person, she could make out the words “Putin call.”965 Hicks told the caller to send her an email.966

       The following morning, on November 9, 2016, Sergey Kuznetsov, an official at the Russian
Embassy to the United States, emailed Hicks from his Gmail address with the subject line,
“Message from Putin.”967 Attached to the email was a message from Putin, in both English and
Russian, which Kuznetsov asked Hicks to convey to the President-Elect.968 In the message, Putin
offered his congratulations to Trump for his electoral victory, stating he “look[ed] forward to
working with [Trump] on leading Russian-American relations out of crisis.”969

        Hicks forwarded the email to Kushner, asking, “Can you look into this? Don’t want to get
duped but don’t want to blow off Putin!”970 Kushner stated in Congressional testimony that he
believed that it would be possible to verify the authenticity of the forwarded email through the
Russian Ambassador, whom Kushner had previously met in April 2016.971 Unable to recall the
Russian Ambassador’s name, Kushner emailed Dimitri Simes of CNI, whom he had consulted
previously about Russia, see Volume I, Section IV.A.4, supra, and asked, “What is the name of
Russian ambassador?”972 Kushner forwarded Simes’s response—which identified Kislyak by
name—to Hicks.973 After checking with Kushner to see what he had learned, Hicks conveyed
Putin’s letter to transition officials.974 Five days later, on November 14, 2016, Trump and Putin
spoke by phone in the presence of Transition Team members, including incoming National
Security Advisor Michael Flynn.975



       964
             Hicks 12/8/17 302, at 3.
       965
             Hicks 12/8/17 302, at 3.
       966
             Hicks 12/8/17 302, at 3.
       967
             NOSC00044381 (11/9/16 Email, Kuznetsov to Hicks (5:27 a.m.)).
       968
             NOSC00044381-82 (11/9/16 Email, Kuznetsov to Hicks (5:27 a.m.)).
       969
             NOSC00044382 (11/9/16 Letter from Putin to President-Elect Trump (Nov. 9, 2016)
(translation)).
       970
             NOSC00044381 (11/9/16 Email, Hicks to Kushner (10:26 a.m.)).
       971
             Statement of Jared C. Kushner to Congressional Committees, at 4 (Jul. 24, 2017).
       972
          NOSC00000058 (11/9/16 Email, Kushner to Simes (10:28 a.m.)); Statement of Jared Kushner
to Congressional Committees, at 4 (Jul. 24, 2017).
       973
             NOSC00000058 (11/9/16 Email, Kushner to Hicks (11:05:44 a.m.)).
       974
             Hicks 12/8/17 302, at 3-4.
       975
           Flynn 11/16/17 302, at 8-10; see Doug G. Ware, Trump, Russia’s Putin Talk about Syria, Icy
Relations in Phone Call, UPI (Nov. 14, 2016).

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                     b. High-Level Encouragement of Contacts through Alternative Channels

        As Russian officials in the United States reached out to the President-Elect and his team, a
number of Russian individuals working in the private sector began their own efforts to make
contact. Petr Aven, a Russian national who heads Alfa-Bank, Russia’s largest commercial bank,
described to the Office interactions with Putin during this time period that might account for the
flurry of Russian activity.976

        Aven told the Office that he is one of approximately 50 wealthy Russian businessmen who
regularly meet with Putin in the Kremlin; these 50 men are often referred to as “oligarchs.”977
Aven told the Office that he met on a quarterly basis with Putin, including in the fourth quarter
(Q4) of 2016, shortly after the U.S. presidential election.978 Aven said that he took these meetings
seriously and understood that any suggestions or critiques that Putin made during these meetings
were implicit directives, and that there would be consequences for Aven if he did not follow
through.979 As was typical, the 2016 Q4 meeting with Putin was preceded by a preparatory meeting
with Putin’s chief of staff, Anton Vaino.980

        According to Aven, at his Q4 2016 one-on-one meeting with Putin,981 Putin raised the
prospect that the United States would impose additional sanctions on Russian interests, including
sanctions against Aven and/or Alfa-Bank.982 Putin suggested that Aven needed to take steps to
protect himself and Alfa-Bank.983 Aven also testified that Putin spoke of the difficulty faced by
the Russian government in getting in touch with the incoming Trump Administration.984
According to Aven, Putin indicated that he did not know with whom formally to speak and
generally did not know the people around the President-Elect.985



          976
                Aven provided information to the Office in an interview and through an attorney proffer,       E  
(b) (3)
          977
                Aven 8/2/18 302, at 7.
          978
                (b) (3)                                                                                        E  
          979
                Aven 8/2/18 302, at 2-3.
          980
            (b) (3)                                                         and interview with the Office,     E  
Aven referred to the high-ranking Russian government officials using numbers (e.g., Official 1, Official 2).
Aven separately confirmed through an attorney proffer that Official 1 was Putin and Official 2 was Putin’s
chief of staff, Vaino. See Affidavit of Ryan Junck (Aug. 2, 2018) (hard copy on file).
          981
           At the time of his Q4 2016 meeting with Putin, Aven was generally aware of the press coverage
about Russian interference in the U.S. election. According to Aven, he did not discuss that topic with Putin
at any point, and Putin did not mention the rationale behind the threat of new sanctions. Aven 8/2/18 302,
at 5-7.
          982
                (b) (3)                                            E  
          983
                (b) (3)                                            E  
          984
                (b) (3)                                            E  
          985
                (b) (3)                                            E  

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       Aven (b) (3)           told Putin he would take steps to protect himself and the Alfa-Bank           E  
shareholders from potential sanctions, and one of those steps would be to try to reach out to the
incoming Administration to establish a line of communication.986 Aven described Putin
responding with skepticism about Aven’s prospect for success.987 According to Aven, although
Putin did not expressly direct him to reach out to the Trump Transition Team, Aven understood
that Putin expected him to try to respond to the concerns he had raised.988 Aven’s efforts are
described in Volume I, Section IV.B.5, infra.

                   2. Kirill Dmitriev’s Transition-Era Outreach to the Incoming Administration

        Aven’s description of his interactions with Putin is consistent with the behavior of Kirill
Dmitriev, a Russian national who heads Russia’s sovereign wealth fund and is closely connected
to Putin. Dmitriev undertook efforts to meet members of the incoming Trump Administration in
the months after the election. Dmitriev asked a close business associate who worked for the United
Arab Emirates (UAE) royal court, George Nader, to introduce him to Trump transition officials,
and Nader eventually arranged a meeting in the Seychelles between Dmitriev and Erik Prince, a
Trump Campaign supporter and an associate of Steve Bannon.989 In addition, the UAE national
security advisor introduced Dmitriev to a hedge fund manager and friend of Jared Kushner, Rick
Gerson, in late November 2016. In December 2016 and January 2017, Dmitriev and Gerson
worked on a proposal for reconciliation between the United States and Russia, which Dmitriev
implied he cleared through Putin. Gerson provided that proposal to Kushner before the
inauguration, and Kushner later gave copies to Bannon and Secretary of State Rex Tillerson.

                   a. Background

        Dmitriev is a Russian national who was appointed CEO of Russia’s sovereign wealth fund,
the Russian Direct Investment Fund (RDIF), when it was founded in 2011.990 Dmitriev reported
directly to Putin and frequently referred to Putin as his “boss.”991

        RDIF has co-invested in various projects with UAE sovereign wealth funds.992 Dmitriev
regularly interacted with Nader, a senior advisor to UAE Crown Prince Mohammed bin Zayed
        986
              (b) (3)                                       E  
        987                                                               E  
              (b) (3)                            Aven 8/2/18 302, at 6.
        988
              Aven 8/2/18 302, at 4-8; (b) (3)                                E  
        989
            Nader provided information to the Office in multiple interviews, all but one of which were
conducted under a proffer agreement, (b) (3)                                                       The
                                                                                                            E  
investigators also interviewed Prince under a proffer agreement. Bannon was interviewed by the Office,
(b) (3)                        under a proffer agreement.
        990
                Kirill Dmitriev Biography, Russian Direct Investment Fund, available at
https://rdif.ru/Eng_person_dmitriev_kirill/. See also Overview, Russian Direct Investment Fund, available
at https://rdif.ru/Eng_About/.
        991
          Gerson 6/15/18 302, at 1. See also, e.g., 12/14/16 Text Message, Dmitriev to Gerson; 1/9/17
Text Message, Dmitriev to Gerson.
        992
              (b) (3)                                                              E  

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and Prince told the Office that he likely showed that image to Bannon.1088 Prince also believed he
provided Bannon with Dmitriev’s contact information.1089 According to Prince, Bannon instructed
Prince not to follow up with Dmitriev, and Prince had the impression that the issue was not a
priority for Bannon.1090 Prince related that Bannon did not appear angry, just relatively
uninterested.1091

       Bannon, by contrast, told the Office that he never discussed with Prince anything regarding
Dmitriev, RDIF, or any meetings with Russian individuals or people associated with Putin.1092
Bannon also stated that had Prince mentioned such a meeting, Bannon would have remembered it,
and Bannon would have objected to such a meeting having taken place.1093

        The conflicting accounts provided by Bannon and Prince could not be independently
clarified by reviewing their communications, because neither one was able to produce any of the
messages they exchanged in the time period surrounding the Seychelles meeting. Prince’s phone
contained no text messages prior to March 2017, though provider records indicate that he and
Bannon exchanged dozens of messages.1094 Prince denied deleting any messages but claimed he
did not know why there were no messages on his device before March 2017.1095 Bannon’s devices
similarly contained no messages in the relevant time period, and Bannon also stated he did not
know why messages did not appear on his device.1096 Bannon told the Office that, during both the
months before and after the Seychelles meeting, he regularly used his personal Blackberry and
personal email for work-related communications (including those with Prince), and he took no
steps to preserve these work communications.1097

                   d. Kirill Dmitriev’s Post-Election Contact with Rick Gerson Regarding U.S.-
                      Russia Relations

       Dmitriev’s contacts during the transition period were not limited to those facilitated by
Nader. In approximately late November 2016, the UAE national security advisor introduced
Dmitriev to Rick Gerson, a friend of Jared Kushner who runs a hedge fund in New York.1098
Gerson stated he had no formal role in the transition and had no involvement in the Trump

        1088
               Prince 5/3/18 302, at 5; 1/16/17 Image on Prince Phone (on file with the Office).
        1089
               Prince 5/3/18 302, at 5.
        1090
               Prince 5/3/18 302, at 5.
        1091
               Prince 5/3/18 302, at 5.
        1092
               Bannon 10/26/18 302, at 10-11.
        1093
               Bannon 10/26/18 302, at 10-11.
        1094
               Call Records of Erik Prince (b) (3)                                                         E  
        1095
               Prince 4/4/18 302, at 6.
        1096
               Bannon 10/26/18 302, at 11; Bannon 2/14/18 302, at 36.
        1097
               Bannon 10/26/18 302, at 11.
        1098
            Gerson 6/5/18 302, at 1, 3; 11/26/16 Text Message, Dmitriev to Gerson; 1/25/17 Text Message,
Dmitriev to Nader.

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Campaign other than occasional casual discussions about the Campaign with Kushner.1099 After
the election, Gerson assisted the transition by arranging meetings for transition officials with
former UK prime minister Tony Blair and a UAE delegation led by Crown Prince Mohammed.1100

        When Dmitriev and Gerson met, they principally discussed potential joint ventures
between Gerson’s hedge fund and RDIF.1101 Dmitriev was interested in improved economic
cooperation between the United States and Russia and asked Gerson who he should meet with in
the incoming Administration who would be helpful towards this goal.1102 Gerson replied that he
would try to figure out the best way to arrange appropriate introductions, but noted that
confidentiality would be required because of the sensitivity of holding such meetings before the
new Administration took power, and before Cabinet nominees had been confirmed by the
Senate.1103 Gerson said he would ask Kushner and Michael Flynn who the “key person or people”
were on the topics of reconciliation with Russia, joint security concerns, and economic matters.1104

        Dmitriev told Gerson that he had been tasked by Putin to develop and execute a
reconciliation plan between the United States and Russia. He noted in a text message to Gerson
that if Russia was “approached with respect and willingness to understand our position, we can
have Major Breakthroughs quickly.”1105 Gerson and Dmitriev exchanged ideas in December 2016
about what such a reconciliation plan would include.1106 Gerson told the Office that the Transition
Team had not asked him to engage in these discussions with Dmitriev, and that he did so on his
own initiative and as a private citizen.1107

       On January 9, 2017, the same day he asked Nader whether meeting Prince would be
worthwhile, Dmitriev sent his biography to Gerson and asked him if he could “share it with Jared
(or somebody else very senior in the team) – so that they know that we are focused from our side
on improving the relationship and my boss asked me to play a key role in that.”1108 Dmitriev also
asked Gerson if he knew Prince, and if Prince was somebody important or worth spending time




        1099
               Gerson 6/5/18 302, at 1.
        1100
               Gerson 6/5/18 302, at 1-2; Kushner 4/11/18 302, at 21.
        1101
           Gerson 6/5/18 302, at 3-4; see, e.g., 12/2/16 Text Messages, Dmitriev & Gerson; 12/14/16 Text
Messages, Dmitriev & Gerson; 1/3/17 Text Message, Gerson to Dmitriev; 12/2/16 Email, Tolokonnikov to
Gerson.
        1102
               Gerson 6/5/18 302, at 3; 12/14/16 Text Message, Dmitriev to Gerson.
        1103
               12/14/16 Text Message, Gerson to Dmitriev.
        1104
               12/14/16 Text Message, Gerson to Dmitriev.
        1105
               12/14/16 Text Messages, Dmitriev & Gerson; Gerson 6/15/18 302, at 1.
        1106
               12/14/16 Text Messages, Dmitriev & Gerson.
        1107
               Gerson 6/15/18 302, at 1.
        1108
               1/9/17 Text Messages, Dmitriev to Gerson; 1/9/17 Text Message, Dmitriev to Nader.

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with.1109 After his trip to the Seychelles, Dmitriev told Gerson that Bannon had asked Prince to
meet with Dmitriev and that the two had had a positive meeting.1110

        On January 16, 2017, Dmitriev consolidated the ideas for U.S.-Russia reconciliation that
he and Gerson had been discussing into a two-page document that listed five main points: (1)
jointly fighting terrorism; (2) jointly engaging in anti-weapons of mass destruction efforts; (3)
developing “win-win” economic and investment initiatives; (4) maintaining an honest, open, and
continual dialogue regarding issues of disagreement; and (5) ensuring proper communication and
trust by “key people” from each country.1111 On January 18, 2017, Gerson gave a copy of the
document to Kushner.1112 Kushner had not heard of Dmitriev at that time.1113 Gerson explained
that Dmitriev was the head of RDIF, and Gerson may have alluded to Dmitriev’s being well
connected.1114 Kushner placed the document in a file and said he would get it to the right
people.1115 Kushner ultimately gave one copy of the document to Bannon and another to Rex
Tillerson; according to Kushner, neither of them followed up with Kushner about it.1116 On
January 19, 2017, Dmitriev sent Nader a copy of the two-page document, telling him that this was
“a view from our side that I discussed in my meeting on the islands and with you and with our
friends. Please share with them – we believe this is a good foundation to start from.”1117

        Gerson informed Dmitriev that he had given the document to Kushner soon after delivering
  1118
it.     On January 26, 2017, Dmitriev wrote to Gerson that his “boss”—an apparent reference to
Putin—was asking if there had been any feedback on the proposal.1119 Dmitriev said, “[w]e do
not want to rush things and move at a comfortable speed. At the same time, my boss asked me to
try to have the key US meetings in the next two weeks if possible.”1120 He informed Gerson that
Putin and President Trump would speak by phone that Saturday, and noted that that information
was “very confidential.”1121

      The same day, Dmitriev wrote to Nader that he had seen his “boss” again yesterday who
had “emphasized that this is a great priority for us and that we need to build this communication

         1109
                Gerson 6/5/18 302, at 4.
         1110
                1/18/17 Text Messages, Dmitriev & Gerson.
         1111
                1/16/17 Text Messages, Dmitriev & Gerson.
         1112
                Gerson 6/5/18 302, at 3; Gerson 6/15/18 302, at 2.
         1113
                Gerson 6/5/18 302, at 3.
         1114
                Gerson 6/5/18 302, at 3; Gerson 6/15/18 302, at 1-2; Kushner 4/11/18 302, at 22.
         1115
                Gerson 6/5/18 302, at 3.
         1116
                Kushner 4/11/18 302, at 32.
         1117
                1/19/17 Text Message, Dmitriev to Nader (11:11:56 a.m.).
         1118
                1/18/17 Text Message, Gerson to Dmitriev; Gerson 6/15/18 302, at 2.
         1119
                1/26/17 Text Message, Dmitriev to Gerson.
         1120
                1/26/17 Text Message, Dmitriev to Gerson.
         1121
                1/26/17 Text Message, Dmitriev to Gerson.

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channel to avoid bureaucracy.”1122 On January 28, 2017, Dmitriev texted Nader that he wanted
“to see if I can confirm to my boss that your friends may use some of the ideas from the 2 pager I
sent you in the telephone call that will happen at 12 EST,”1123 an apparent reference to the call
scheduled between President Trump and Putin. Nader replied, “Definitely paper was so submitted
to Team by Rick and me. They took it seriously!”1124 After the call between President Trump and
Putin occurred, Dmitriev wrote to Nader that “the call went very well. My boss wants me to
continue making some public statements that us [sic] Russia cooperation is good and
important.”1125 Gerson also wrote to Dmitriev to say that the call had gone well, and Dmitriev
replied that the document they had drafted together “played an important role.”1126

       Gerson and Dmitriev appeared to stop communicating with one another in approximately
March 2017, when the investment deal they had been working on together showed no signs of
progressing.1127

                   3. Ambassador Kislyak’s Meeting with Jared Kushner and Michael Flynn in
                      Trump Tower Following the Election

       On November 16, 2016, Catherine Vargas, an executive assistant to Kushner, received a
request for a meeting with Russian Ambassador Sergey Kislyak.1128 That same day, Vargas sent
Kushner an email with the subject, “MISSED CALL: Russian Ambassador to the US, Sergey
Ivanovich Kislyak . . . .”1129 The text of the email read, “RE: setting up a time to meet w/you on
12/1. LMK how to proceed.” Kushner responded in relevant part, “I think I do this one -- confirm
with Dimitri [Simes of CNI] that this is the right guy.”1130 After reaching out to a colleague of
Simes at CNI, Vargas reported back to Kushner that Kislyak was “the best go-to guy for routine
matters in the US,” while Yuri Ushakov, a Russian foreign policy advisor, was the contact for
“more direct/substantial matters.”1131

       Bob Foresman, the UBS investment bank executive who had previously tried to transmit
to candidate Trump an invitation to speak at an economic forum in Russia, see Volume I, Section
IV.A.1.d.ii, supra, may have provided similar information to the Transition Team. According to

        1122
               1/26/17 Text Message, Dmitriev to Nader (10:04:41 p.m.).
        1123
               1/28/17 Text Message, Dmitriev to Nader (11:05:39 a.m.).
        1124
               1/28/17 Text Message, Nader to Dmitriev (11:11:33 a.m.).
        1125
               1/29/17 Text Message, Dmitriev to Nader (11:06:35 a.m.).
        1126
               1/28/17 Text Message, Gerson to Dmitriev; 1/29/17 Text Message, Dmitriev to Gerson.
        1127
               Gerson 6/15/18 302, at 4; 3/21/17 Text Message, Gerson to Dmitriev.
        1128
             Statement of Jared C. Kushner to Congressional Committees (“Kushner Stmt.”), at 6 (7/24/17)
(written statement by Kushner to the Senate Judiciary Committee).
        1129
               NOSC00004356 (11/16/16 Email, Vargas to Kushner (6:44 p.m.)).
        1130
               NOSC00004356 (11/16/16 Email, Kushner to Vargas (9:54 p.m.)).
        1131
           11/17/16 Email, Brown to Simes (10:41 a.m.); Brown 10/13/17 302, at 4; 11/17/16 Email,
Vargas to Kushner (12:31:18).

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Foresman, at the end of an early December 2016 meeting with incoming National Security Advisor
Michael Flynn and his designated deputy (K.T. McFarland) in New York, Flynn asked Foresman
for his thoughts on Kislyak. Foresman had not met Kislyak but told Flynn that, while Kislyak was
an important person, Kislyak did not have a direct line to Putin.1132 Foresman subsequently
traveled to Moscow, inquired of a source he believed to be close to Putin, and heard back from
that source that Ushakov would be the official channel for the incoming U.S. national security
advisor.1133 Foresman acknowledged that Flynn had not asked him to undertake that inquiry in
Russia but told the Office that he nonetheless felt obligated to report the information back to Flynn,
and that he worked to get a face-to-face meeting with Flynn in January 2017 so that he could do
so.1134 Email correspondence suggests that the meeting ultimately went forward,1135 but Flynn has
no recollection of it or of the earlier December meeting.1136 (The investigation did not identify
evidence of Flynn or Kushner meeting with Ushakov after being given his name.1137)

       In the meantime, although he had already formed the impression that Kislyak was not
necessarily the right point of contact,1138 Kushner went forward with the meeting that Kislyak had
requested on November 16. It took place at Trump Tower on November 30, 2016.1139 At
Kushner’s invitation, Flynn also attended; Bannon was invited but did not attend.1140 During the
meeting, which lasted approximately 30 minutes, Kushner expressed a desire on the part of the
incoming Administration to start afresh with U.S.-Russian relations.1141 Kushner also asked
Kislyak to identify the best person (whether Kislyak or someone else) with whom to direct future
discussions—someone who had contact with Putin and the ability to speak for him.1142

         The three men also discussed U.S. policy toward Syria, and Kislyak floated the idea of
having Russian generals brief the Transition Team on the topic using a secure communications
line.1143 After Flynn explained that there was no secure line in the Transition Team offices,




           1132
                  Foresman 10/17/18 302, at 17.
           1133
                  Foresman 10/17/18 302, at 17-18.
           1134
                  Foresman 10/17/18 302, at 18.
           1135
           RMF-SCO-00000015 (1/5/17 Email, Foresman to Atencio & Flaherty); RMF-SCO-00000015
(1/5/17 Email, Flaherty to Foresman & Atencio).
           1136
                  9/26/18 Attorney Proffer from Covington & Burling LLP (reflected in email on file with the
Office).
           1137
                  Vargas 4/4/18 302, at 5.
           1138
                  Kushner 11/1/17 302, at 4.
           1139
                  AKIN_GUMP_BERKOWITZ_0000016-019 (11/29/16 Email, Vargas to Kuznetsov).
           1140
                  Flynn 1/11/18 302, at 2; NOS00004240 (Calendar Invite, Vargas to Kushner & Flynn).
           1141
                  Kushner Stmt. at 6.
           1142
                  Kushner Stmt. at 6; Kushner 4/11/18 302, at 18.
           1143
                  Kushner Stmt. at 7; Kushner 4/11/18 302, at 18; Flynn 1/11/18 302, at 2.

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Kushner asked Kislyak if they could communicate using secure facilities at the Russian
Embassy.1144 Kislyak quickly rejected that idea.1145

                     4. Jared Kushner’s Meeting with Sergey Gorkov

        On December 6, 2016, the Russian Embassy reached out to Kushner’s assistant to set up a
second meeting between Kislyak and Kushner.1146 Kushner declined several proposed meeting
dates, but Kushner’s assistant indicated that Kislyak was very insistent about securing a second
meeting.1147 Kushner told the Office that he did not want to take another meeting because he had
already decided Kislyak was not the right channel for him to communicate with Russia, so he
arranged to have one of his assistants, Avi Berkowitz, meet with Kislyak in his stead.1148 Although
embassy official Sergey Kuznetsov wrote to Berkowitz that Kislyak thought it “important” to
“continue the conversation with Mr. Kushner in person,”1149 Kislyak nonetheless agreed to meet
instead with Berkowitz once it became apparent that Kushner was unlikely to take a meeting.

       Berkowitz met with Kislyak on December 12, 2016, at Trump Tower.1150 The meeting
lasted only a few minutes, during which Kislyak indicated that he wanted Kushner to meet
someone who had a direct line to Putin: Sergey Gorkov, the head of the Russian-government-
owned bank Vnesheconombank (VEB).

        Kushner agreed to meet with Gorkov.1151 The one-on-one meeting took place the next day,
December 13, 2016, at the Colony Capital building in Manhattan, where Kushner had previously
scheduled meetings.1152 VEB was (and is) the subject of Department of Treasury economic
sanctions imposed in response to Russia’s annexation of Crimea.1153 Kushner did not, however,
recall any discussion during his meeting with Gorkov about the sanctions against VEB or sanctions
more generally.1154 Kushner stated in an interview that he did not engage in any preparation for

          1144
                 Kushner 4/11/18 302, at 18.
          1145
                 Kushner 4/11/18 302, at 18.
          1146
                 Kushner Stmt. at 7; NOSC00000123 (12/6/16 Email, Vargas to Kushner (12:11:40 p.m.)).
          1147
                 Kushner 4/11/18 302, at 19; NOSC00000130 (12/12/16 Email, Kushner to Vargas (10:41
p.m.)).
          1148
            Kushner 4/11/18 302, at 19; Kushner Stmt. at 7; DJTFP_SCO_01442290 (12/6/16 Email,
Berkowitz to
             (b) (3), (b) (6), (b) (7)(C), (b) (7)(E)
                                                      E   E   E  &  E  ( 
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          1149
                 DJTFP_SCO_01442290 (12/7/16 Email,                                               to Berkowitz (12:31:39 p.m.)).
                                                       (b) (3), (b) (6), (b) (7)(C), (b) (7)(E)
                                                                                                                                   E   E  & 
          1150
                                                                                                                                   E  ( 
           Berkowitz 1/12/18 302, at 7; AKIN_GUMP_BERKOWITZ_000001-04 (12/12/16 Text
Messages, Berkowitz & 202-701-8532).
          1151
                 Kushner 4/11/18 302, at 19; NOSC00000130-135 (12/12/16 Email, Kushner to Berkowitz).
          1152
                 Kushner 4/11/18 302, at 19; NOSC00000130-135 (12/12/16 Email, Kushner to Berkowitz).
          1153
            Announcement of Treasury Sanctions on Entities Within the Financial Services and Energy
Sectors of Russia, Against Arms or Related Materiel Entities, and those Undermining Ukraine's
Sovereignty, United States Department of the Treasury (Jul. 16, 2014).
          1154
                 Kushner 4/11/18 302, at 20.

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the meeting and that no one on the Transition Team even did a Google search for
Gorkov’s name.1155

         At the start of the meeting, Gorkov presented Kushner with two gifts: a painting and a bag
of soil from the town in Belarus where Kushner’s family originated.1156

        The accounts from Kushner and Gorkov differ as to whether the meeting was diplomatic
or business in nature. Kushner told the Office that the meeting was diplomatic, with Gorkov
expressing disappointment with U.S.-Russia relations under President Obama and hopes for
improved relations with the incoming Administration.1157 According to Kushner, although Gorkov
told Kushner a little bit about his bank and made some statements about the Russian economy, the
two did not discuss Kushner’s companies or private business dealings of any kind.1158 (At the time
of the meeting, Kushner Companies had a debt obligation coming due on the building it owned at
666 Fifth Avenue, and there had been public reporting both about efforts to secure lending on the
property and possible conflicts of interest for Kushner arising out of his company’s borrowing
from foreign lenders.1159)

        In contrast, in a 2017 public statement, VEB suggested Gorkov met with Kushner in
Kushner’s capacity as CEO of Kushner Companies for the purpose of discussing business, rather
than as part of a diplomatic effort. In particular, VEB characterized Gorkov’s meeting with
Kushner as part of a series of “roadshow meetings” with “representatives of major US banks and
business circles,” which included “negotiations” and discussion of the “most promising business
lines and sectors.”1160

        Foresman, the investment bank executive mentioned in Volume I, Sections IV.A.1 and
IV.B.3, supra, told the Office that he met with Gorkov and VEB deputy chairman Nikolay
Tsekhomsky in Moscow just before Gorkov left for New York to meet Kushner.1161 According to
Foresman, Gorkov and Tsekhomsky told him that they were traveling to New York to discuss post-
election issues with U.S. financial institutions, that their trip was sanctioned by Putin, and that they
would be reporting back to Putin upon their return.1162



        1155
           Kushner 4/11/18 302, at 19. Berkowitz, by contrast, stated to the Office that he had googled
Gorkov’s name and told Kushner that Gorkov appeared to be a banker. Berkowitz 1/12/18 302, at 8.
        1156
               Kushner 4/11/18 302, at 19-20.
        1157
               Kushner Stmt. at 8.
        1158
               Kushner Stmt. at 8.
        1159
            See, e.g., Peter Grant, Donald Trump Son-in-Law Jared Kushner Could Face His Own Conflict-
of-Interest Questions, Wall Street Journal (Nov. 29, 2016).
        1160
           Patrick Reevell & Matthew Mosk, Russian Banker Sergey Gorkov Brushes off Questions About
Meeting with Jared Kushner, ABC News (June 1, 2017).
        1161
               Foresman 10/17/18 302, at 14-15.
        1162
               Foresman 10/17/18 302, at 15-16.

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       The investigation did not resolve the apparent conflict in the accounts of Kushner and
Gorkov or determine whether the meeting was diplomatic in nature (as Kushner stated), focused
on business (as VEB’s public statement indicated), or whether it involved some combination of
those matters or other matters. Regardless, the investigation did not identify evidence that Kushner
and Gorkov engaged in any substantive follow-up after the meeting.

        Rather, a few days after the meeting, Gorkov’s assistant texted Kushner’s assistant, “Hi,
please inform your side that the information about the meeting had a very positive response!”1163
Over the following weeks, the two assistants exchanged a handful of additional cordial texts.1164
On February 8, 2017, Gorkov’s assistant texted Kushner’s assistant (Berkowitz) to try to set up
another meeting, and followed up by text at least twice in the days that followed.1165 According
to Berkowitz, he did not respond to the meeting request in light of the press coverage regarding
the Russia investigation, and did not tell Kushner about the meeting request.1166

                  5. Petr Aven’s Outreach Efforts to the Transition Team

       In December 2016, weeks after the one-on-one meeting with Putin described in Volume I,
Section IV.B.1.b, supra, Petr Aven attended what he described as a separate “all-hands” oligarch
meeting between Putin and Russia’s most prominent businessmen.1167 As in Aven’s one-on-one
meeting, a main topic of discussion at the oligarch meeting in December 2016 was the prospect of
forthcoming U.S. economic sanctions.1168

       After the December 2016 all-hands meeting, Aven tried to establish a connection to the
Trump team. Aven instructed Richard Burt to make contact with the incoming Trump
Administration. Burt was on the board of directors for LetterOne (L1), another company headed
by Aven, and had done work for Alfa-Bank.1169 Burt had previously served as U.S. ambassador
to Germany and Assistant Secretary of State for European and Canadian Affairs, and one of his
primary roles with Alfa-Bank and L1 was to facilitate introductions to business contacts in the
United States and other Western countries.1170

        While at a L1 board meeting held in Luxembourg in late December 2016, Aven pulled Burt
aside and told him that he had spoken to someone high in the Russian government who expressed

       1163
             AKIN_GUMP_BERKOWITZ_0000011 (12/19/16 Text Message, Ivanchenko to Berkowitz
(9:56 a.m.)).
       1164
          AKIN_GUMP_BERKOWITZ_0000011-15 (12/19/16 – 2/16/17 Text Messages, Ivanchenko
& Berkowitz).
       1165
             AKIN_GUMP_BERKOWITZ_0000015 (2/8/17 Text Message, Ivanchenko to Berkowitz
(10:41 a.m.)).
       1166
              Berkowitz 3/22/18 302, at 4-5.
       1167
              Aven 8/2/18 302, at 7; (b) (3)                                                             E  
       1168
              (b) (3)                                                                                    E  
       1169
              (b) (3)                                Aven 8/2/18 302, at 6.                              E  
       1170
              (b) (3)                                    Aven 8/2/18 302, at 6; Burt 2/9/18 302, at 2.   E  

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interest in establishing a communications channel between the Kremlin and the Trump Transition
Team.1171 Aven asked for Burt’s help in contacting members of the Transition Team.1172 Although
Burt had been responsible for helping Aven build connections in the past, Burt viewed Aven’s
request as unusual and outside the normal realm of his dealings with Aven.1173

        Burt, who is a member of the board of CNI (discussed at Volume I, Section IV.A.4,
supra),1174 decided to approach CNI president Dimitri Simes for help facilitating Aven’s request,
recalling that Simes had some relationship with Kushner.1175 At the time, Simes was lobbying the
Trump Transition Team, on Burt’s behalf, to appoint Burt U.S. ambassador to Russia.1176

         Burt contacted Simes by telephone and asked if he could arrange a meeting with Kushner
to discuss setting up a high-level communications channel between Putin and the incoming
Administration.1177 Simes told the Office that he declined and stated to Burt that setting up such
a channel was not a good idea in light of the media attention surrounding Russian influence in the
U.S. presidential election.1178 According to Simes, he understood that Burt was seeking a secret
channel, and Simes did not want CNI to be seen as an intermediary between the Russian
government and the incoming Administration.1179 Based on what Simes had read in the media, he
stated that he already had concerns that Trump’s business connections could be exploited by
Russia, and Simes said that he did not want CNI to have any involvement or apparent involvement
in facilitating any connection.1180

         In an email dated December 22, 2016, Burt recounted for Aven his conversation with
Simes:

         Through a trusted third party, I have reached out to the very influential person I mentioned
         in Luxembourg concerning Project A. There is an interest and an understanding for the
         need to establish such a channel. But the individual emphasized that at this moment, with
         so much intense interest in the Congress and the media over the question of cyber-hacking
         (and who ordered what), Project A was too explosive to discuss. The individual agreed to
         discuss it again after the New Year. I trust the individual’s instincts on this.



         1171
                Burt 2/9/18 302, at 2; (b) (3)                                                          E  
         1172
                (b) (3)                                                                                 E  
         1173
                Burt 2/9/18 302, at 4.
         1174
                Burt 2/9/18 302, at 5.
         1175
                Burt 2/9/18 302, at 3.
         1176
                Burt 2/9/18 302, at 3.
         1177
                Burt 2/9/18 302, at 3; Simes 3/27/18 302, at 4.
         1178
                Burt 2/9/18 302, at 3; Simes 3/27/18 302, at 4.
         1179
                Simes 3/27/18 302, at 5.
         1180
                Simes 3/27/18 302, at 5.

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       If this is unclear or you would like to discuss, don’t hesitate to call.1181

According to Burt, the “very influential person” referenced in his email was Simes, and the
reference to a “trusted third party” was a fabrication, as no such third party existed. “Project A”
was a term that Burt created for Aven’s effort to help establish a communications channel between
Russia and the Trump team, which he used in light of the sensitivities surrounding what Aven was
requesting, especially in light of the recent attention to Russia’s influence in the U.S. presidential
election.1182 According to Burt, his report that there was “interest” in a communications channel
reflected Simes’s views, not necessarily those of the Transition Team, and in any event, Burt
acknowledged that he added some “hype” to that sentence to make it sound like there was more
interest from the Transition Team than may have actually existed.1183

        Aven replied to Burt’s email on the same day, saying “Thank you. All clear.”1184
According to Aven, this statement indicated that he did not want the outreach to continue.1185 Burt
spoke to Aven some time thereafter about his attempt to make contact with the Trump team,
explaining to Aven that the current environment made it impossible, (b) (3)                              E  
                      .1186 Burt did not recall discussing Aven’s request with Simes again, nor did
he recall speaking to anyone else about the request.1187

       In the first quarter of 2017, Aven met again with Putin and other Russian officials.1188 At
that meeting, Putin asked about Aven’s attempt to build relations with the Trump Administration,
and Aven recounted his lack of success.1189 (b) (3)                                                      E  
        .1190 Putin continued to inquire about Aven’s efforts to connect to the Trump
Administration in several subsequent quarterly meetings.1191

        Aven also told Putin’s chief of staff that he had been subpoenaed by the FBI.1192 As part
of that conversation, he reported that he had been asked by the FBI about whether he had worked
to create a back channel between the Russian government and the Trump Administration.1193

       1181
              12/22/16 Email, Burt to Aven (7:23 p.m.).
       1182
              Burt 2/9/18 302, at 3.
       1183
              Burt 2/9/18 302, at 3-4.
       1184
              12/22/16 Email, Aven to Burt (4:58:22 p.m.).
       1185
              Aven 8/2/18 302, at 7.
       1186
              (b) (3)                                                                                    E  
       1187
              Burt 2/9/18 302, at 3-4.
       1188
              (b) (3)                                                                                    E  
       1189
              (b) (3)                               Aven 8/2/18 302, at 7.                               E  
       1190
              (b) (3)                                                                                    E  
       1191
              (b) (3)                                                                                    E  
       1192
              Aven 8/2/18 302, at 8.
       1193
              Aven 8/2/18 302, at 8; (b) (3)                                                             E  

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        According to Flynn, the Transition Team regarded the vote as a significant issue and
wanted to support Israel by opposing the resolution.1211 On December 22, 2016, multiple members
of the Transition Team, as well as President-Elect Trump, communicated with foreign government
officials to determine their views on the resolution and to rally support to delay the vote or defeat
the resolution.1212 Kushner led the effort for the Transition Team; Flynn was responsible for the
Russian government.1213 Minutes after an early morning phone call with Kushner on December
22, Flynn called Kislyak.1214 According to Flynn, he informed Kislyak about the vote and the
Transition Team’s opposition to the resolution, and requested that Russia vote against or delay the
resolution.1215 Later that day, President-Elect Trump spoke with Egyptian President Abdel Fattah
al-Sisi about the vote.1216 Ultimately, Egypt postponed the vote.1217

         On December 23, 2016, Malaysia, New Zealand, Senegal, and Venezuela resubmitted the
resolution.1218 Throughout the day, members of the Transition Team continued to talk with foreign
leaders about the resolution, with Flynn continuing to lead the outreach with the Russian
government through Kislyak.1219 When Flynn again spoke with Kislyak, Kislyak informed Flynn
that if the resolution came to a vote, Russia would not vote against it.1220 The resolution later
passed 14-0, with the United States abstaining.1221

                   b. U.S. Sanctions Against Russia

       Flynn was also the Transition Team member who spoke with the Russian government when
the Obama Administration imposed sanctions and other measures against Russia in response to
Russia’s interference in the 2016 presidential election. On December 28, 2016, then-President
Obama signed Executive Order 13757, which took effect at 12:01 a.m. the following day and


        1211
               Flynn 11/16/17 302, at 12; Flynn 11/17/17 302, at 2.
        1212
               Flynn 11/16/17 302, at 12-14; Flynn 11/17/17 302, at 2.
        1213
           Flynn 11/16/17 302, at 12-14; Flynn 11/17/17 302, at 2; Kushner 11/1/17 302, at 3; 12/22/16           E  
Email, Kushner to Flynn; 12/22/16 Email, McFarland to (b) (6), (b) (7)(C)               et al.                   E  & 
        1214
               Flynn 11/16/17 302, at 13; Call Records of Michael T. Flynn (b) (3)                               E  
        1215
            Statement of Offense ¶ 3(d), United States v. Michael T. Flynn, No. 1:17-cr-232 (D.D.C. Dec.
1, 2017), Doc. 4 (“Flynn Statement of Offense”); Flynn 11/16/17 302, at 12-13.
        1216
               Flynn 11/17/17 302, at 2; Flynn 11/16/17 302, at 13.
        1217
               U.N. Vote on Israeli Settlement Postponed, “Potentially Indefinitely”, Reuters (Dec. 22, 2016).
        1218
          Somini Sengupta & Rick Gladstone, Rebuffing Israel, U.S. Allows Censure Over Settlements,
New York Times (Dec. 23, 2016).
        1219
               Flynn 11/16/17 302, at 12-14; Kushner 11/1/17 302, at 3; 12/23/16 Email, Flynn to Kushner et
al.
        1220
               Flynn Statement of Offense ¶ 3(g).
        1221
            Israel’s Settlements Have No Legal Validity, Constitute Flagrant Violation of International
Law, Security Council Reaffirms, 7853rd Meeting (PM), United Nations Security Council (Dec. 23, 2016).

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imposed sanctions on nine Russian individuals and entities.1222 On December 29, 2016, the Obama
Administration also expelled 35 Russian government officials and closed two Russian
government-owned compounds in the United States.1223

        During the rollout of the sanctions, President-Elect Trump and multiple Transition Team
senior officials, including McFarland, Steve Bannon, and Reince Priebus, were staying at the Mar-
a-Lago club in Palm Beach, Florida. Flynn was on vacation in the Dominican Republic,1224 but
was in daily contact with McFarland.1225

       The Transition Team and President-Elect Trump were concerned that these sanctions
would harm the United States’s relationship with Russia.1226 Although the details and timing of
sanctions were unknown on December 28, 2016, the media began reporting that retaliatory
measures from the Obama Administration against Russia were forthcoming.1227 When asked about
imposing sanctions on Russia for its alleged interference in the 2016 presidential election,
President-Elect Trump told the media, “I think we ought to get on with our lives.”1228

       Russia initiated the outreach to the Transition Team. On the evening of December 28,
2016, Kislyak texted Flynn, “can you kindly call me back at your convenience.”1229 Flynn did not
respond to the text message that evening. Someone from the Russian Embassy also called Flynn
the next morning, at 10:38 a.m., but they did not talk.1230

       The sanctions were announced publicly on December 29, 2016.1231 At 1:53 p.m. that day,
McFarland began exchanging emails with multiple Transition Team members and advisors about
the impact the sanctions would have on the incoming Administration.1232 At 2:07 p.m., a Transition
Team member texted Flynn a link to a New York Times article about the sanctions.1233 At 2:29


       1222
           Taking Additional Steps to Address the National Emergency With Respect to Significant
Malicious Cyber-Enabled Activities, The White House, Office of the Press Secretary (Dec. 29, 2016).
       1223
          Statement by the President on Actions in Response to Russian Malicious Cyber Activity and
Harassment, The White House, Office of the Press Secretary (Dec. 29, 2016).
       1224
              Flynn 11/16/17 302, at 14; McFarland 12/22/17 302, at 3-8; Bannon 2/12/18 302, at 5.
       1225
              Flynn 11/17/17 302, at 5; Flynn 1/19/18 302, at 1; McFarland 11/22/17 302, at 3-9.
       1226
              Flynn 11/17/17 302, at 3.
       1227
         Christine Wang, US to announce new sanctions against Russia in response to election hacking,
CNBC (Dec. 28, 2016).
       1228
          John Wagner, Trump on alleged election interference by Russia: “Get on with our lives”,
Washington Post (Dec. 29, 2016).
       1229
              SF000006 (12/28/16 Text Message, Kislyak to Flynn).
       1230
              Call Records of Michael T. Flynn (b) (3)                                                  E  
       1231
              Flynn 11/17/17 302, at 2-3; McFarland 12/22/17 302, at 4-5.
       1232
              12/29/16 Email, McFarland to O’Brien et al.; 12/29/16 Email, McFarland to Flynn et al.
       1233
              SF000001 (12/29/16 Text Message, Flaherty to Flynn).

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p.m., McFarland called Flynn, but they did not talk.1234 Shortly thereafter, McFarland and Bannon
discussed the sanctions.1235 According to McFarland, Bannon remarked that the sanctions would
hurt their ability to have good relations with Russia, and that Russian escalation would make things
more difficult.1236 McFarland believed she told Bannon that Flynn was scheduled to talk to Kislyak
later that night.1237 McFarland also believed she may have discussed the sanctions with Priebus,
and likewise told him that Flynn was scheduled to talk to Kislyak that night.1238 At 3:14 p.m.,
Flynn texted a Transition Team member who was assisting McFarland, “Time for a call???”1239
The Transition Team member responded that McFarland was on the phone with Tom Bossert, a
Transition Team senior official, to which Flynn responded, “Tit for tat w Russia not good. Russian
AMBO reaching out to me today.”1240

        Flynn recalled that he chose not to communicate with Kislyak about the sanctions until he
had heard from the team at Mar-a-Lago.1241 He first spoke with Michael Ledeen,1242 a Transition
Team member who advised on foreign policy and national security matters, for 20 minutes.1243
Flynn then spoke with McFarland for almost 20 minutes to discuss what, if anything, to
communicate to Kislyak about the sanctions.1244 On that call, McFarland and Flynn discussed the
sanctions, including their potential impact on the incoming Trump Administration’s foreign policy
goals.1245 McFarland and Flynn also discussed that Transition Team members in Mar-a-Lago did
not want Russia to escalate the situation.1246 They both understood that Flynn would relay a
message to Kislyak in hopes of making sure the situation would not get out of hand.1247




          1234
                 Call Records of K.T. McFarland (b) (3)                                                          E  
          1235
                 McFarland 12/22/17 302, at 5-6.
          1236
                 McFarland 12/22/17 302, at 5-6.
          1237
                 McFarland 12/22/17 302, at 6.
          1238
                 McFarland 12/22/17 302, at 6.
          1239
                 SF000001 (12/29/16 Text Message, Flynn to Flaherty).
          1240
                 SF000001 (12/29/16 Text Message, Flynn to Flaherty).
          1241
                 Flynn 11/20/17 302, at 3.
          1242
            Michael Ledeen is married to Barbara Ledeen, the Senate staffer whose 2016 efforts to locate
Hillary Clinton’s missing emails are described in Volume I, Section III.D.2, supra.
          1243
                 Flynn 11/17/17 302, at 3; Call Records of Michael Ledeen (b) (3)                                E  
          1244
                 Flynn 11/17/17 302, at 3-4; Flynn Statement of Offense ¶ 3(c); Call Records of K.T. McFarland
(b) (3)                               Call Records of Michael T. Flynn (b) (3)                                   E  
          1245
                 Flynn 11/17/17 302, at 3-4
          1246
                 Flynn 11/17/17 302, at 3-4; Flynn Statement of Offense ¶ 3(c); McFarland 12/22/17 302, at 6-
7.
          1247
                 Flynn 11/17/17 302, at 4; McFarland 12/22/17 302, at 6-7.

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       Immediately after speaking with McFarland, Flynn called and spoke with Kislyak.1248
Flynn discussed multiple topics with Kislyak, including the sanctions, scheduling a video
teleconference between President-Elect Trump and Putin, an upcoming terrorism conference, and
Russia’s views about the Middle East.1249 With respect to the sanctions, Flynn requested that
Russia not escalate the situation, not get into a “tit for tat,” and only respond to the sanctions in a
reciprocal manner.1250

        Multiple Transition Team members were aware that Flynn was speaking with Kislyak that
day. In addition to her conversations with Bannon and Reince Priebus, at 4:43 p.m., McFarland
sent an email to Transition Team members about the sanctions, informing the group that “Gen
[F]lynn is talking to russian ambassador this evening.”1251 Less than an hour later, McFarland
briefed President-Elect Trump. Bannon, Priebus, Sean Spicer, and other Transition Team members
were present.1252 During the briefing, President-Elect Trump asked McFarland if the Russians did
“it,” meaning the intrusions intended to influence the presidential election.1253 McFarland said
yes, and President-Elect Trump expressed doubt that it was the Russians.1254 McFarland also
discussed potential Russian responses to the sanctions, and said Russia’s response would be an
indicator of what the Russians wanted going forward.1255 President-Elect Trump opined that the
sanctions provided him with leverage to use with the Russians.1256 McFarland recalled that at the
end of the meeting, someone may have mentioned to President-Elect Trump that Flynn was
speaking to the Russian ambassador that evening.1257

        After the briefing, Flynn and McFarland spoke over the phone.1258 Flynn reported on the
substance of his call with Kislyak, including their discussion of the sanctions.1259 According to
McFarland, Flynn mentioned that the Russian response to the sanctions was not going to be
escalatory because they wanted a good relationship with the incoming Administration.1260
McFarland also gave Flynn a summary of her recent briefing with President-Elect Trump.1261
       1248
              Flynn Statement of Offense ¶ 3(d).
       1249
              Flynn 11/17/17 302, at 3-4; Flynn Statement of Offense ¶ 3(c); 12/30/16 Email, Flynn to
McFarland.
       1250
              Flynn 11/17/17 302, at 1; Flynn Statement of Offense ¶ 3(d).
       1251
              12/29/16 Email, McFarland to Flynn et al.
       1252
              12/29/16 Email, Westerhout to Flaherty; McFarland 12/22/17 302, at 7.
       1253
              McFarland 12/22/17 302, at 7.
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              McFarland 12/22/17 302, at 7.
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              McFarland 12/22/17 302, at 7.
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              McFarland 12/22/17 302, at 7.
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              McFarland 12/22/17 302, at 7.
       1258
              McFarland 12/22/17 302, at 7.
       1259
              Flynn 11/17/17 302, at 4; Flynn Statement of Offense ¶ 3(e).
       1260
              McFarland 12/22/17 302, at 8.
       1261
              McFarland 12/22/17 302, at 8.

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        The next day, December 30, 2016, Russian Foreign Minister Sergey Lavrov remarked that
Russia would respond in kind to the sanctions.1262 Putin superseded that comment two hours later,
releasing a statement that Russia would not take retaliatory measures in response to the sanctions
at that time.1263 Hours later President-Elect Trump tweeted, “Great move on delay (by V.
Putin).”1264 Shortly thereafter, Flynn sent a text message to McFarland summarizing his call with
Kislyak from the day before, which she emailed to Kushner, Bannon, Priebus, and other Transition
Team members.1265 The text message and email did not include sanctions as one of the topics
discussed with Kislyak.1266 Flynn told the Office that he did not document his discussion of
sanctions because it could be perceived as getting in the way of the Obama Administration’s
foreign policy.1267

        On December 31, 2016, Kislyak called Flynn and told him the request had been received
at the highest levels and that Russia had chosen not to retaliate to the sanctions in response to the
request.1268 Two hours later, Flynn spoke with McFarland and relayed his conversation with
Kislyak.1269 According to McFarland, Flynn remarked that the Russians wanted a better
relationship and that the relationship was back on track.1270 Flynn also told McFarland that he
believed his phone call had made a difference.1271 McFarland recalled congratulating Flynn in
response.1272 Flynn spoke with other Transition Team members that day, but does not recall
whether they discussed the sanctions.1273 Flynn recalled discussing the sanctions with Bannon the
next day and that Bannon appeared to know about Flynn’s conversation with Kislyak.1274 Bannon,



        1262
            Comment by Foreign Minister Sergey Lavrov on recent US sanctions and the expulsion of
Russian diplomats, Moscow, December 20, 2016, The Ministry of Foreign Affairs of the Russian Federation
(Dec. 30, 2016 (5:32 a.m.)).
        1263
            Statement of the President of the Russian Federation, Kremlin, Office of the President (Dec.
30, 2016 (7:15 a.m.)).
        1264
               @realDonaldTrump 12/30/16 (11:41 a.m.) Tweet.
        1265
               12/30/16 Email, Flynn to McFarland; 12/30/16 Email, McFarland to Kushner et al.
        1266
               12/30/16 Email, McFarland to Kushner et al.
        1267
               Flynn 11/17/17 302, at 4.
        1268
           Call Records of Michael T. Flynn (b) (3)                             Flynn 11/17/17 302, at 1;   E  
Flynn 1/19/17 302, at 3; Flynn Statement of Offense ¶ 3(g).
        1269
           Call Records of Michael T. Flynn (b) (3)                             Flynn 11/17/17 302, at 5;   E  
Flynn 1/19/17 302, at 3; McFarland 12/22/17 302, at 10.
        1270
               McFarland 12/22/17 302, at 10.
        1271
               McFarland 12/22/17 302, at 10.
        1272
               McFarland 12/22/17 302, at 10.
        1273
               Flynn 11/17/17 302, at 5-6.
        1274
            Flynn 11/21/17 302, at 1; Flynn 11/20/17 302, at 3; Flynn 1/19/17 302, at 5; Flynn Statement
of Offense ¶ 3(h).

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for his part, recalled meeting with Flynn that day, but said that he did not remember discussing
sanctions with him.1275

       Additional information about Flynn’s sanctions-related discussions with Kislyak, and the
handling of those discussions by the Transition Team and the Trump Administration, is provided
in Volume II of this report.

                                               ***
        In sum, the investigation established multiple links between Trump Campaign officials and
individuals tied to the Russian government. Those links included Russian offers of assistance to
the Campaign. In some instances, the Campaign was receptive to the offer, while in other instances
the Campaign officials shied away. Ultimately, the investigation did not establish that the
Campaign coordinated or conspired with the Russian government in its election-interference
activities.




       1275
              Bannon 2/12/18 302, at 9.

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        Although members of the IRA had contact with individuals affiliated with the Trump
Campaign, the indictment does not charge any Trump Campaign official or any other U.S. person
with participating in the conspiracy. That is because the investigation did not identify evidence
that any U.S. person who coordinated or communicated with the IRA knew that he or she was
speaking with Russian nationals engaged in the criminal conspiracy. The Office therefore
determined that such persons did not have the knowledge or criminal purpose required to charge
them in the conspiracy to defraud the United States (Count One) or in the separate count alleging
a wire- and bank-fraud conspiracy involving the IRA and two individual Russian nationals (Count
Two).

        The Office did, however, charge one U.S. national for his role in supplying false or stolen
bank account numbers that allowed the IRA conspirators to access U.S. online payment systems
by circumventing those systems’ security features. On February 12, 2018, Richard Pinedo pleaded
guilty, pursuant to a single-count information, to identity fraud, in violation of 18 U.S.C.
§ 1028(a)(7) and (b)(1)(D). Plea Agreement, United States v. Richard Pinedo, No. 1:18-cr-24
(D.D.C. Feb. 12, 2018), Doc. 10. The investigation did not establish that Pinedo was aware of the
identity of the IRA members who purchased bank account numbers from him. Pinedo’s sales of
account numbers enabled the IRA members to anonymously access a financial network through
which they transacted with U.S. persons and companies. See Gov’t Sent. Mem. at 3, United States
v. Richard Pinedo, No. 1:18-cr-24 (D.D.C. Sept. 26, 2018), Doc. 24. On October 10, 2018, Pinedo
was sentenced to six months of imprisonment, to be followed by six months of home confinement,
and was ordered to complete 100 hours of community service.

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               1. Section 1030 Computer-Intrusion Conspiracy

               a. Background

       On July 13, 2018, a federal grand jury in the District of Columbia returned an indictment
charging Russian military intelligence officers from the GRU with conspiring to hack into various
U.S. computers used by the Clinton Campaign, DNC, DCCC, and other U.S. persons, in violation
of 18 U.S.C. §§ 1030 and 371 (Count One); committing identity theft and conspiring to commit
money laundering in furtherance of that hacking conspiracy, in violation of 18 U.S.C. §§ 1028A
and 1956(h) (Counts Two through Ten); and a separate conspiracy to hack into the computers of
U.S. persons and entities responsible for the administration of the 2016 U.S. election, in violation
of 18 U.S.C. §§ 1030 and 371 (Count Eleven). Netyksho Indictment.1277 As of this writing, all 12
defendants remain at large.

        The Netyksho indictment alleges that the defendants conspired with one another and with
others to hack into the computers of U.S. persons and entities involved in the 2016 U.S. presidential
election, steal documents from those computers, and stage releases of the stolen documents to
interfere in the election. Netyksho Indictment ¶ 2. The indictment also describes how, in staging

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           The Office provided a more detailed explanation of the charging decision in this case in
meetings with the Office of the Acting Attorney General before the indictment.

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(1897) (“An agreement between two or more persons to defraud a person of his rights by the forms
of law, or to obtain an object forbidden by law.”).

         For that reason, this Office’s focus in resolving the question of joint criminal liability was
on conspiracy as defined in federal law, not the commonly discussed term “collusion.” The Office
considered in particular whether contacts between Trump Campaign officials and Russia-linked
individuals could trigger liability for the crime of conspiracy—either under statutes that have their
own conspiracy language (e.g., 18 U.S.C. §§ 1349, 1951(a)), or under the general conspiracy
statute (18 U.S.C. § 371). The investigation did not establish that the contacts described in Volume
I, Section IV, supra, amounted to an agreement to commit any substantive violation of federal
criminal law—including foreign-influence and campaign-finance laws, both of which are
discussed further below. The Office therefore did not charge any individual associated with the
Trump Campaign with conspiracy to commit a federal offense arising from Russia contacts, either
under a specific statute or under Section 371’s offenses clause.

        The Office also did not charge any campaign official or associate with a conspiracy under
Section 371’s defraud clause. That clause criminalizes participating in an agreement to obstruct a
lawful function of the U.S. government or its agencies through deceitful or dishonest means. See
Dennis v. United States, 384 U.S. 855, 861 (1966); Hammerschmidt v. United States, 265 U.S.
182, 188 (1924); see also United States v. Concord Mgmt. & Consulting LLC, 347 F. Supp. 3d 38,
46 (D.D.C. 2018). The investigation did not establish any agreement among Campaign officials—
or between such officials and Russia-linked individuals—to interfere with or obstruct a lawful
function of a government agency during the campaign or transition period. And, as discussed in
Volume I, Section V.A, supra, the investigation did not identify evidence that any Campaign
official or associate knowingly and intentionally participated in the conspiracy to defraud that the
Office charged, namely, the active-measures conspiracy described in Volume I, Section II, supra.
Accordingly, the Office did not charge any Campaign associate or other U.S. person with
conspiracy to defraud the United States based on the Russia-related contacts described in Section
IV above.

               2. Potential Coordination: Foreign Agent Statutes (FARA and 18 U.S.C. § 951)

        The Office next assessed the potential liability of Campaign-affiliated individuals under
federal statutes regulating actions on behalf of, or work done for, a foreign government.

               a. Governing Law

        Under 18 U.S.C. § 951, it is generally illegal to act in the United States as an agent of a
foreign government without providing notice to the Attorney General. Although the defendant
must act on behalf of a foreign government (as opposed to other kinds of foreign entities), the acts
need not involve espionage; rather, acts of any type suffice for liability. See United States v.
Duran, 596 F.3d 1283, 1293-94 (11th Cir. 2010); United States v. Latchin, 554 F.3d 709, 715 (7th
Cir. 2009); United States v. Dumeisi, 424 F.3d 566, 581 (7th Cir. 2005). An “agent of a foreign
government” is an “individual” who “agrees to operate” in the United States “subject to the
direction or control of a foreign government or official.” 18 U.S.C. § 951(d).



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        The crime defined by Section 951 is complete upon knowingly acting in the United States
as an unregistered foreign-government agent. 18 U.S.C. § 951(a). The statute does not require
willfulness, and knowledge of the notification requirement is not an element of the offense. United
States v. Campa, 529 F.3d 980, 998-99 (11th Cir. 2008); Duran, 596 F.3d at 1291-94; Dumeisi,
424 F.3d at 581.

        The Foreign Agents Registration Act (FARA) generally makes it illegal to act as an agent
of a foreign principal by engaging in certain (largely political) activities in the United States
without registering with the Attorney General. 22 U.S.C. §§ 611-621. The triggering agency
relationship must be with a foreign principal or “a person any of whose activities are directly or
indirectly supervised, directed, controlled, financed, or subsidized in whole or in major part by a
foreign principal.” 22 U.S.C. § 611(c)(1). That includes a foreign government or political party
and various foreign individuals and entities. 22 U.S.C. § 611(b). A covered relationship exists if
a person “acts as an agent, representative, employee, or servant” or “in any other capacity at the
order, request, or under the [foreign principal’s] direction or control.” 22 U.S.C. § 611(c)(1). It
is sufficient if the person “agrees, consents, assumes or purports to act as, or who is or holds
himself out to be, whether or not pursuant to contractual relationship, an agent of a foreign
principal.” 22 U.S.C. § 611(c)(2).

        The triggering activity is that the agent “directly or through any other person” in the United
States (1) engages in “political activities for or in the interests of [the] foreign principal,” which
includes attempts to influence federal officials or the public; (2) acts as “public relations counsel,
publicity agent, information-service employee or political consultant for or in the interests of such
foreign principal”; (3) “solicits, collects, disburses, or dispenses contributions, loans, money, or
other things of value for or in the interest of such foreign principal”; or (4) “represents the interests
of such foreign principal” before any federal agency or official. 22 U.S.C. § 611(c)(1).

       It is a crime to engage in a “[w]illful violation of any provision of the Act or any regulation
thereunder.” 22 U.S.C. § 618(a)(1). It is also a crime willfully to make false statements or
omissions of material facts in FARA registration statements or supplements. 22 U.S.C.
§ 618(a)(2). Most violations have a maximum penalty of five years of imprisonment and a $10,000
fine. 22 U.S.C. § 618.

                b. Application

        The investigation uncovered extensive evidence that Paul Manafort’s and Richard Gates’s
pre-campaign work for the government of Ukraine violated FARA. Manafort and Gates were
charged for that conduct and admitted to it when they pleaded guilty to superseding criminal
informations in the District of Columbia prosecution.1280 The evidence underlying those charges
is not addressed in this report because it was discussed in public court documents and in a separate
        1280
             Gates Superseding Criminal Information; Waiver of Indictment, United States v. Richard W.
Gates III, 1:17-cr-201 (D.D.C. Feb. 23, 2018), Doc. 203; Waiver of Trial by Jury, United States v. Richard
W. Gates III, 1:17-cr-201 (D.D.C. Feb. 23, 2018), Doc. 204; Gates Plea Agreement; Statement of Offense,
United States v. Richard W. Gates III, 1:17-cr-201 (D.D.C. Feb. 23, 2018), Doc. 206; Plea Agreement,
United States v. Paul J. Manafort, Jr., 1:17-cr-201 (D.D.C. Sept. 14, 2018), Doc. 422; Statement of Offense,
United States v. Paul J. Manafort, Jr., 1:17-cr-201 (D.D.C. Sept. 14, 2018), Doc. 423.

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Tower (b) (7)(A), (b) (7)(B)                           —constituted prosecutable violations of
the campaign-finance laws. The Office determined that the evidence was not sufficient to charge
either incident as a criminal violation.

                a. Overview Of Governing Law

         “[T]he United States has a compelling interest . . . in limiting the participation of foreign
citizens in activities of democratic self-government, and in thereby preventing foreign influence
over the U.S. political process.” Bluman v. FEC, 800 F. Supp. 2d 281, 288 (D.D.C. 2011)
(Kavanaugh, J., for three-judge court), aff’d, 565 U.S. 1104 (2012). To that end, federal campaign-
finance law broadly prohibits foreign nationals from making contributions, donations,
expenditures, or other disbursements in connection with federal, state, or local candidate elections,
and prohibits anyone from soliciting, accepting, or receiving such contributions or donations. As
relevant here, foreign nationals may not make—and no one may “solicit, accept, or receive” from
them—“a contribution or donation of money or other thing of value” or “an express or implied
promise to make a contribution or donation, in connection with a Federal, State, or local election.”
52 U.S.C. § 30121(a)(1)(A), (a)(2).1283 The term “contribution,” which is used throughout the
campaign-finance law, “includes” “any gift, subscription, loan, advance, or deposit of money or
anything of value made by any person for the purpose of influencing any election for Federal
office.” 52 U.S.C. § 30101(8)(A)(i). It excludes, among other things, “the value of [volunteer]
services.” 52 U.S.C. § 30101(8)(B)(i).

       Foreign nationals are also barred from making “an expenditure, independent expenditure,
or disbursement for an electioneering communication.” 52 U.S.C. § 30121(a)(1)(C). The term
“expenditure” “includes” “any purchase, payment, distribution, loan, advance, deposit, or gift of
money or anything of value, made by any person for the purpose of influencing any election for
Federal office.” 52 U.S.C. § 30101(9)(A)(i). It excludes, among other things, news stories and
non-partisan get-out-the-vote activities. 52 U.S.C. § 30101(9)(B)(i)-(ii). An “independent
expenditure” is an expenditure “expressly advocating the election or defeat of a clearly identified
candidate” and made independently of the campaign. 52 U.S.C. § 30101(17). An “electioneering
communication” is a broadcast communication that “refers to a clearly identified candidate for
Federal office” and is made within specified time periods and targeted at the relevant electorate.
52 U.S.C. § 30104(f)(3).

       The statute defines “foreign national” by reference to FARA and the Immigration and
Nationality Act, with minor modification. 52 U.S.C. § 30121(b) (cross-referencing 22 U.S.C.
§ 611(b)(1)-(3) and 8 U.S.C. § 1101(a)(20), (22)). That definition yields five, sometimes-
overlapping categories of foreign nationals, which include all of the individuals and entities
relevant for present purposes—namely, foreign governments and political parties, individuals



        1283
            Campaign-finance law also places financial limits on contributions, 52 U.S.C. § 30116(a), and
prohibits contributions from corporations, banks, and labor unions, 52 U.S.C. § 30118(a); see Citizens
United v. FEC, 558 U.S. 310, 320 (2010). Because the conduct that the Office investigated involved
possible electoral activity by foreign nationals, the foreign-contributions ban is the most readily applicable
provision.

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outside of the U.S. who are not legal permanent residents, and certain non-U.S. entities located
outside of the U.S.

       A “knowing[] and willful[]” violation involving an aggregate of $25,000 or more in a
calendar year is a felony. 52 U.S.C. § 30109(d)(1)(A)(i); see Bluman, 800 F. Supp. 2d at 292
(noting that a willful violation will require some “proof of the defendant’s knowledge of the law”);
United States v. Danielczyk, 917 F. Supp. 2d 573, 577 (E.D. Va. 2013) (applying willfulness
standard drawn from Bryan v. United States, 524 U.S. 184, 191-92 (1998)); see also Wagner v.
FEC, 793 F.3d 1, 19 n.23 (D.C. Cir. 2015) (en banc) (same). A “knowing[] and willful[]” violation
involving an aggregate of $2,000 or more in a calendar year, but less than $25,000, is a
misdemeanor. 52 U.S.C. § 30109(d)(1)(A)(ii).

                       b. Application to June 9 Trump Tower Meeting

       The Office considered whether to charge Trump Campaign officials with crimes in
connection with the June 9 meeting described in Volume I, Section IV.A.5, supra. The Office
concluded that, in light of the government’s substantial burden of proof on issues of intent
(“knowing” and “willful”), and the difficulty of establishing the value of the offered information,
criminal charges would not meet the Justice Manual standard that “the admissible evidence will
probably be sufficient to obtain and sustain a conviction.” Justice Manual § 9-27.220.

         In brief, the key facts are that, on June 3, 2016, Robert Goldstone emailed Donald Trump
Jr., to pass along from Emin and Aras Agalarov an “offer” from Russia’s “Crown prosecutor” to
“the Trump campaign” of “official documents and information that would incriminate Hillary and
her dealings with Russia and would be very useful to [Trump Jr.’s] father.” The email described
this as “very high level and sensitive information” that is “part of Russia and its government’s
support to Mr. Trump-helped along by Aras and Emin.” Trump Jr. responded: “if it’s what you
say I love it especially later in the summer.” Trump Jr. and Emin Agalarov had follow-up
conversations and, within days, scheduled a meeting with Russian representatives that was
attended by Trump Jr., Manafort, and Kushner. The communications setting up the meeting and
the attendance by high-level Campaign representatives support an inference that the Campaign
anticipated receiving derogatory documents and information from official Russian sources that
could assist candidate Trump’s electoral prospects.

        This series of events could implicate the federal election-law ban on contributions and
donations by foreign nationals, 52 U.S.C. § 30121(a)(1)(A). Specifically, Goldstone passed along
an offer purportedly from a Russian government official to provide “official documents and
information” to the Trump Campaign for the purposes of influencing the presidential election.
Trump Jr. appears to have accepted that offer and to have arranged a meeting to receive those
materials. Documentary evidence in the form of email chains supports the inference that Kushner
and Manafort were aware of that purpose and attended the June 9 meeting anticipating the receipt
of helpful information to the Campaign from Russian sources.

       The Office considered whether this evidence would establish a conspiracy to violate the
foreign contributions ban, in violation of 18 U.S.C. § 371; the solicitation of an illegal foreign-
source contribution; or the acceptance or receipt of “an express or implied promise to make a

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[foreign-source] contribution,” both in violation of 52 U.S.C. § 30121(a)(1)(A), (a)(2). There are
reasonable arguments that the offered information would constitute a “thing of value” within the
meaning of these provisions, but the Office determined that the government would not be likely to
obtain and sustain a conviction for two other reasons: first, the Office did not obtain admissible
evidence likely to meet the government’s burden to prove beyond a reasonable doubt that these
individuals acted “willfully,” i.e., with general knowledge of the illegality of their conduct; and,
second, the government would likely encounter difficulty in proving beyond a reasonable doubt
that the value of the promised information exceeded the threshold for a criminal violation, see 52
U.S.C. § 30109(d)(1)(A)(i).

                   i. Thing-of-Value Element

        A threshold legal question is whether providing to a campaign “documents and
information” of the type involved here would constitute a prohibited campaign contribution. The
foreign contribution ban is not limited to contributions of money. It expressly prohibits “a
contribution or donation of money or other thing of value.” 52 U.S.C. § 30121(a)(1)(A), (a)(2)
(emphasis added). And the term “contribution” is defined throughout the campaign-finance laws
to “include[]” “any gift, subscription, loan, advance, or deposit of money or anything of value.”
52 U.S.C. § 30101(8)(A)(i) (emphasis added).

        The phrases “thing of value” and “anything of value” are broad and inclusive enough to
encompass at least some forms of valuable information. Throughout the United States Code, these
phrases serve as “term[s] of art” that are construed “broad[ly].” United States v. Nilsen, 967 F.2d
539, 542 (11th Cir. 1992) (per curiam) (“thing of value” includes “both tangibles and intangibles”);
see also, e.g., 18 U.S.C. §§ 201(b)(1), 666(a)(2) (bribery statutes); id. § 641 (theft of government
property). For example, the term “thing of value” encompasses law enforcement reports that
would reveal the identity of informants, United States v. Girard, 601 F.2d 69, 71 (2d Cir. 1979);
classified materials, United States v. Fowler, 932 F.2d 306, 310 (4th Cir. 1991); confidential
information about a competitive bid, United States v. Matzkin, 14 F.3d 1014, 1020 (4th Cir. 1994);
secret grand jury information, United States v. Jeter, 775 F.2d 670, 680 (6th Cir. 1985); and
information about a witness’s whereabouts, United States v. Sheker, 618 F.2d 607, 609 (9th Cir.
1980) (per curiam). And in the public corruption context, “‘thing of value’ is defined broadly to
include the value which the defendant subjectively attaches to the items received.” United States
v. Renzi, 769 F.3d 731, 744 (9th Cir. 2014) (internal quotation marks omitted).

        Federal Election Commission (FEC) regulations recognize the value to a campaign of at
least some forms of information, stating that the term “anything of value” includes “the provision
of any goods or services without charge,” such as “membership lists” and “mailing lists.” 11
C.F.R. § 100.52(d)(1). The FEC has concluded that the phrase includes a state-by-state list of
activists. See Citizens for Responsibility and Ethics in Washington v. FEC, 475 F.3d 337, 338
(D.C. Cir. 2007) (describing the FEC’s findings). Likewise, polling data provided to a campaign
constitutes a “contribution.” FEC Advisory Opinion 1990-12 (Strub), 1990 WL 153454 (citing 11
C.F.R. § 106.4(b)). And in the specific context of the foreign-contributions ban, the FEC has
concluded that “election materials used in previous Canadian campaigns,” including “flyers,
advertisements, door hangers, tri-folds, signs, and other printed material,” constitute “anything of



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value,” even though “the value of these materials may be nominal or difficult to ascertain.” FEC
Advisory Opinion 2007-22 (Hurysz), 2007 WL 5172375, at *5.

        These authorities would support the view that candidate-related opposition research given
to a campaign for the purpose of influencing an election could constitute a contribution to which
the foreign-source ban could apply. A campaign can be assisted not only by the provision of funds,
but also by the provision of derogatory information about an opponent. Political campaigns
frequently conduct and pay for opposition research. A foreign entity that engaged in such research
and provided resulting information to a campaign could exert a greater effect on an election, and
a greater tendency to ingratiate the donor to the candidate, than a gift of money or tangible things
of value. At the same time, no judicial decision has treated the voluntary provision of
uncompensated opposition research or similar information as a thing of value that could amount
to a contribution under campaign-finance law. Such an interpretation could have implications
beyond the foreign-source ban, see 52 U.S.C. § 30116(a) (imposing monetary limits on campaign
contributions), and raise First Amendment questions. Those questions could be especially difficult
where the information consisted simply of the recounting of historically accurate facts. It is
uncertain how courts would resolve those issues.

                   ii. Willfulness

        Even assuming that the promised “documents and information that would incriminate
Hillary” constitute a “thing of value” under campaign-finance law, the government would
encounter other challenges in seeking to obtain and sustain a conviction. Most significantly, the
government has not obtained admissible evidence that is likely to establish the scienter requirement
beyond a reasonable doubt. To prove that a defendant acted “knowingly and willfully,” the
government would have to show that the defendant had general knowledge that his conduct was
unlawful. U.S. Department of Justice, Federal Prosecution of Election Offenses 123 (8th ed. Dec.
2017) (“Election Offenses”); see Bluman, 800 F. Supp. 2d at 292 (noting that a willful violation
requires “proof of the defendant’s knowledge of the law”); Danielczyk, 917 F. Supp. 2d at 577
(“knowledge of general unlawfulness”). “This standard creates an elevated scienter element
requiring, at the very least, that application of the law to the facts in question be fairly clear. When
there is substantial doubt concerning whether the law applies to the facts of a particular matter, the
offender is more likely to have an intent defense.” Election Offenses 123.

         On the facts here, the government would unlikely be able to prove beyond a reasonable
doubt that the June 9 meeting participants had general knowledge that their conduct was unlawful.
The investigation has not developed evidence that the participants in the meeting were familiar
with the foreign-contribution ban or the application of federal law to the relevant factual context.
The government does not have strong evidence of surreptitious behavior or efforts at concealment
at the time of the June 9 meeting. While the government has evidence of later efforts to prevent
disclosure of the nature of the June 9 meeting that could circumstantially provide support for a
showing of scienter, see Volume II, Section II.G, infra, that concealment occurred more than a
year later, involved individuals who did not attend the June 9 meeting, and may reflect an intention
to avoid political consequences rather than any prior knowledge of illegality. Additionally, in light
of the unresolved legal questions about whether giving “documents and information” of the sort
offered here constitutes a campaign contribution, Trump Jr. could mount a factual defense that he

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(D.C. Cir. 1993); United States v. Dale, 991 F.2d 819, 832-33 & n.22 (D.C. Cir. 1993). For that
false statement to qualify as “material,” it must have a natural tendency to influence, or be capable
of influencing, a discrete decision or any other function of the agency to which it is addressed. See
United States v. Gaudin, 515 U.S. 506, 509 (1995); United States v. Moore, 612 F.3d 698, 701
(D.C. Cir. 2010).

        Perjury. Under the federal perjury statutes, it is a crime for a witness testifying under oath
before a grand jury to knowingly make any false material declaration. See 18 U.S.C. § 1623. The
government must prove four elements beyond a reasonable doubt to obtain a conviction under
Section 1623(a): the defendant testified under oath before a federal grand jury; the defendant’s
testimony was false in one or more respects; the false testimony concerned matters that were
material to the grand jury investigation; and the false testimony was knowingly given. United
States v. Bridges, 717 F.2d 1444, 1449 n.30 (D.C. Cir. 1983). The general perjury statute, 18
U.S.C. § 1621, also applies to grand jury testimony and has similar elements, except that it requires
that the witness have acted willfully and that the government satisfy “strict common-law
requirements for establishing falsity.” See Dunn v. United States, 442 U.S. 100, 106 & n.6 (1979)
(explaining “the two-witness rule” and the corroboration that it demands).

       Obstruction of Justice. Three basic elements are common to the obstruction statutes
pertinent to this Office’s charging decisions: an obstructive act; some form of nexus between the
obstructive act and an official proceeding; and criminal (i.e., corrupt) intent. A detailed discussion
of those elements, and the law governing obstruction of justice more generally, is included in
Volume II of the report.

               b. Application to Certain Individuals

                   i. George Papadopoulos

        Investigators approached Papadopoulos for an interview based on his role as a foreign
policy advisor to the Trump Campaign and his suggestion to a foreign government representative
that Russia had indicated that it could assist the Campaign through the anonymous release of
information damaging to candidate Clinton. On January 27, 2017, Papadopoulos agreed to be
interviewed by FBI agents, who informed him that the interview was part of the investigation into
potential Russian government interference in the 2016 presidential election.

        During the interview, Papadopoulos lied about the timing, extent, and nature of his
communications with Joseph Mifsud, Olga Polonskaya, and Ivan Timofeev. With respect to
timing, Papadopoulos acknowledged that he had met Mifsud and that Mifsud told him the Russians
had “dirt” on Clinton in the form of “thousands of emails.” But Papadopoulos stated multiple
times that those communications occurred before he joined the Trump Campaign and that it was a
“very strange coincidence” to be told of the “dirt” before he started working for the Campaign.
This account was false. Papadopoulos met Mifsud for the first time on approximately March 14,
2016, after Papadopoulos had already learned he would be a foreign policy advisor for the
Campaign. Mifsud showed interest in Papadopoulos only after learning of his role on the
Campaign. And Mifsud told Papadopoulos about the Russians possessing “dirt” on candidate
Clinton in late April 2016, more than a month after Papadopoulos had joined the Campaign and

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been publicly announced by candidate Trump. Statement of Offense ¶¶ 25-26, United States v.
George Papadopoulos, No. 1:17-cr-182 (D.D.C. Oct. 5, 2017), Doc. 19 (“Papadopoulos Statement
of Offense”).

       Papadopoulos also made false statements in an effort to minimize the extent and
importance of his communications with Mifsud. For example, Papadopoulos stated that
“[Mifsud]’s a nothing,” that he thought Mifsud was “just a guy talk[ing] up connections or
something,” and that he believed Mifsud was “BS’ing to be completely honest with you.” In fact,
however, Papadopoulos understood Mifsud to have substantial connections to high-level Russian
government officials and that Mifsud spoke with some of those officials in Moscow before telling
Papadopoulos about the “dirt.” Papadopoulos also engaged in extensive communications over a
period of months with Mifsud about foreign policy issues for the Campaign, including efforts to
arrange a “history making” meeting between the Campaign and Russian government officials. In
addition, Papadopoulos failed to inform investigators that Mifsud had introduced him to Timofeev,
the Russian national who Papadopoulos understood to be connected to the Russian Ministry of
Foreign Affairs, despite being asked if he had met with Russian nationals or “[a]nyone with a
Russian accent” during the campaign. Papadopoulos Statement of Offense ¶¶ 27-29.

        Papadopoulos also falsely claimed that he met Polonskaya before he joined the Campaign,
and falsely told the FBI that he had “no” relationship at all with her. He stated that the extent of
their communications was her sending emails—“Just, ‘Hi, how are you?’ That’s it.” In truth,
however, Papadopoulos met Polonskaya on March 24, 2016, after he had joined the Campaign; he
believed that she had connections to high-level Russian government officials and could help him
arrange a potential foreign policy trip to Russia. During the campaign he emailed and spoke with
her over Skype on numerous occasions about the potential foreign policy trip to Russia.
Papadopoulos Statement of Offense ¶¶ 30-31.

        Papadopoulos’s false statements in January 2017 impeded the FBI’s investigation into
Russian interference in the 2016 presidential election. Most immediately, those statements
hindered investigators’ ability to effectively question Mifsud when he was interviewed in the lobby
of a Washington, D.C. hotel on February 10, 2017. See Gov’t Sent. Mem. at 6, United States v.
George Papadopoulos, No. 1:17-cr-182 (D.D.C. Aug. 18, 2017), Doc. 44. During that interview,
Mifsud admitted to knowing Papadopoulos and to having introduced him to Polonskaya and
Timofeev. But Mifsud denied that he had advance knowledge that Russia was in possession of
emails damaging to candidate Clinton, stating that he and Papadopoulos had discussed
cybersecurity and hacking as a larger issue and that Papadopoulos must have misunderstood their
conversation. Mifsud also falsely stated that he had not seen Papadopoulos since the meeting at
which Mifsud introduced him to Polonskaya, even though emails, text messages, and other
information show that Mifsud met with Papadopoulos on at least two other occasions—April 12
and April 26, 2016. In addition, Mifsud omitted that he had drafted (or edited) the follow-up
message that Polonskaya sent to Papadopoulos following the initial meeting and that, as reflected
in the language of that email chain (“Baby, thank you!”), Mifsud may have been involved in a
personal relationship with Polonskaya at the time. The false information and omissions in
Papadopoulos’s January 2017 interview undermined investigators’ ability to challenge Mifsud
when he made these inaccurate statements.



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        Second, Flynn made false statements about calls he had previously made to representatives
of Russia and other countries regarding a resolution submitted by Egypt to the United Nations
Security Council on December 21, 2016. Specifically, Flynn stated that he only asked the
countries’ positions on how they would vote on the resolution and that he did not request that any
of the countries take any particular action on the resolution. That statement was false. On
December 22, 2016, Flynn called Kislyak, informed him of the incoming Trump Administration’s
opposition to the resolution, and requested that Russia vote against or delay the resolution. Flynn
also falsely stated that Kislyak never described Russia’s response to his December 22 request
regarding the resolution. Kislyak in fact told Flynn in a conversation on December 23, 2016, that
Russia would not vote against the resolution if it came to a vote. See Flynn Statement of Offense
¶ 4.

       Flynn made these false statements to the FBI at a time when he was serving as National
Security Advisor and when the FBI had an open investigation into Russian interference in the 2016
presidential election, including the nature of any links between the Trump Campaign and Russia.
Flynn’s false statements and omissions impeded and otherwise had a material impact on that
ongoing investigation. Flynn Statement of Offense ¶¶ 1-2. They also came shortly before Flynn
made separate submissions to the Department of Justice, pursuant to FARA, that also contained
materially false statements and omissions. Id. ¶ 5. Based on the totality of that conduct, the Office
decided to charge Flynn with making false statements to the FBI, in violation of 18 U.S.C.
§ 1001(a). On December 1, 2017, and pursuant to a plea agreement, Flynn pleaded guilty to that
charge and also admitted his false statements to the Department in his FARA filing. See id.; Plea
Agreement, United States v. Michael T. Flynn, No. 1:17-cr-232 (D.D.C. Dec. 1, 2017), Doc. 3.
Flynn is awaiting sentencing.

                   iv. Michael Cohen

        Michael Cohen was the executive vice president and special counsel to the Trump
Organization when Trump was president of the Trump Organization. Information ¶ 1, United
States v. Cohen, No. 1:18-cr-850 (S.D.N.Y. Nov. 29, 2018), Doc. 2 (“Cohen Information”). From
the fall of 2015 through approximately June 2016, Cohen was involved in a project to build a
Trump-branded tower and adjoining development in Moscow. The project was known as Trump
Tower Moscow.

        In 2017, Cohen was called to testify before the House Permanent Select Committee on
Intelligence (HPSCI) and the Senate Select Committee on Intelligence (SSCI), both of which were
investigating Russian interference in the 2016 presidential election and possible links between
Russia and the presidential campaigns. In late August 2017, in advance of his testimony, Cohen
caused a two-page statement to be sent to SSCI and HPSCI addressing Trump Tower Moscow.
Cohen Information ¶¶ 2-3. The letter contained three representations relevant here. First, Cohen
stated that the Trump Moscow project had ended in January 2016 and that he had briefed candidate
Trump on the project only three times before making the unilateral decision to terminate it.
Second, Cohen represented that he never agreed to travel to Russia in connection with the project
and never considered asking Trump to travel for the project. Third, Cohen stated that he did not
recall any Russian government contact about the project, including any response to an email that

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foreign policy speech at the Mayflower Hotel in Washington, D.C., in April 2016, and that it is
possible that they met briefly at that reception.

        The Office considered whether, in light of these interactions, Sessions committed perjury
before, or made false statements to, Congress in connection with his confirmation as Attorney
General. In January 2017 testimony during his confirmation hearing, Sessions stated in response
to a question about Trump Campaign communications with the Russian government that he had
“been called a surrogate at a time or two in that campaign and I didn’t have – did not have
communications with the Russians.” In written responses submitted on January 17, 2017, Sessions
answered “[n]o” to a question asking whether he had “been in contact with anyone connected to
any part of the Russian government about the 2016 election, either before or after election day.”
And, in a March 2017 supplement to his testimony, Sessions identified two of the campaign-period
contacts with Ambassador Kislyak noted above, which had been reported in the media following
the January 2017 confirmation hearing. Sessions stated in the supplemental response that he did
“not recall any discussions with the Russian Ambassador, or any other representatives of the
Russian government, regarding the political campaign on these occasions or any other occasion.”

        Although the investigation established that Sessions interacted with Kislyak on the
occasions described above and that Kislyak mentioned the presidential campaign on at least one
occasion, the evidence is not sufficient to prove that Sessions gave knowingly false answers to
Russia-related questions in light of the wording and context of those questions. With respect to
Sessions’s statements that he did “not recall any discussions with the Russian Ambassador . . .
regarding the political campaign” and he had not been in contact with any Russian official “about
the 2016 election,” the evidence concerning the nature of Sessions’s interactions with Kislyak
makes it plausible that Sessions did not recall discussing the campaign with Kislyak at the time of
his statements. Similarly, while Sessions stated in his January 2017 oral testimony that he “did
not have communications with Russians,” he did so in response to a question that had linked such
communications to an alleged “continuing exchange of information” between the Trump
Campaign and Russian government intermediaries. Sessions later explained to the Senate and to
the Office that he understood the question as narrowly calling for disclosure of interactions with
Russians that involved the exchange of campaign information, as distinguished from more routine
contacts with Russian nationals. Given the context in which the question was asked, that
understanding is plausible.

        Accordingly, the Office concluded that the evidence was insufficient to prove that Sessions
was willfully untruthful in his answers and thus insufficient to obtain or sustain a conviction for
perjury or false statements. Consistent with the Principles of Federal Prosecution, the Office
therefore determined not to pursue charges against Sessions and informed his counsel of that
decision in March 2018.

                   vii. Others Interviewed During the Investigation

        The Office considered whether, during the course of the investigation, other individuals
interviewed either omitted material information or provided information determined to be false.
Applying the Principles of Federal Prosecution, the Office did not seek criminal charges against
any individuals other than those listed above. In some instances, that decision was due to

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